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       UNITED STATES DISTRICT COURT OF MARYLAND
                   SOUTHERN DIVISION

--------------------------x
UNITED STATES OF AMERICA :
           Plaintiff      :
                          :
                          :
vs                        :Criminal Action:RWT-04-0235
                          :
                          :
PAULETTE MARTIN, et al    :
             Defendants.  :
--------------------------x


                             Friday, August 4, 2006
                             Greenbelt, Maryland

      The above-entitled action came on for a Jury
Trial Proceeding before the HONORABLE ROGER W. TITUS,
United States District Judge, in courtroom 4C,
commencing at 8:53 a.m.

      THIS TRANSCRIPT REPRESENTS THE PRODUCT
      OF AN OFFICIAL REPORTER, ENGAGED BY
      THE COURT, WHO HAS PERSONALLY CERTIFIED
      THAT IT REPRESENTS THE PROCEEDINGS AS RECORDED
      AND REQUESTED.

      APPEARANCES:

      On behalf of the Plaintiff:

      DEBORAH JOHNSTON, Esquire
      BONNIE GREENBERG, Esquire

      On behalf of the Defendants:

      MICHAEL MONTEMARANO, Esquire
      ANTHONY MARTIN, Esquire
      MARC HALL, Esquire
      TIMOTHY MITCHELL, Esquire
      PETER WARD, Esquire
      EDWARD SUSSMAN, Esquire
      HARRY MCKNETT, Esquire

Tracy Rae Dunlap, RPR, CRR                        (301) 344-3912
Official Court Reporter




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        MR. WARD:    Your Honor?

        THE COURT:     Mr. Ward.

        MR. WARD:    I was also going to say, I am going

to prepare over the weekend and submit a multiple -- I

mean a lesser-included offense.

        THE COURT:     A what?

        MR. WARD:    Lesser-included instruction.

        THE COURT:     Mr. Ward, I've been asking for that

for days and days and days.          I've got to give my

instructions next week.

        MR. WARD:    I will e-mail that to Mr. Krinsky on

Saturday.

        THE COURT:     All right.     I mean, the train is,

you know, pretty much leaving the station, but I'll do

the best I can.

        Now, are there preliminary matters we need to

address this morning before we begin this morning at

9:00?

        MR. MCKNETT:     Your Honor, one matter would be

the presence of my client.         I haven't seen her this

morning.

        THE COURT:     Oh, I didn't notice that.          Okay.

        MR. MCKNETT:     And my witness as well.          I assume

they're together.

        THE COURT:     Oh, all right.       I didn't know she's




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not here.    Well, we won't do anything until gets here,

will we?    Are there any preliminary matters other than

those relating to Ms. Ali.

      MR. MONTEMARANO:        Yes, Your Honor.       Mr. Martin

and I was wondering was the Court's pleasure to

actually break for lunch or just take a couple of

extended breaks?

      THE COURT:      If I'm going to go all the way to

4:00, I think I'm going to have to take a 45-minute

lunch in there.     I don't want to starve them to death.

I'm going to take breaks that really are 15 minutes

and lunch that really is 45 minutes, and have people

really out of here at four.

      MR. MONTEMARANO:        This is the first day we were

going to stop at 4:00.

      THE COURT:      I think for the sake of humanity,

people need to have sustenance and so forth.              As of

right now, my anticipation remains that at the very

minimum, all testimony and my instructions will be

concluded by the close of business Tuesday.              So that

Wednesday would be argument day.

      MS. JOHNSTON:       Your Honor, I don't think we can

finish arguments in one day.

      THE COURT:      Ms. Johnston, we're going to finish

arguments in one day.       This case is not one that I




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think merits more than one day of argument.              I think,

frankly, this jury is going to get completely

befuddled if they have more than one day of argument.

I think we're going to have to figure out how to make

it work in one day.

      MR. MCKNETT:      Your Honor, I understand the

Court's concern, but being the last guy.

      MS. JOHNSTON:       I would be the last person.

      MS. GREENBERG:       The last gal.

      THE COURT:      Well, you're the last guy.

      MR. SUSSMAN:      I'll go last, Ms. Johnston, just

to help you out.

      THE COURT:      Look, I've done a lot of closing

arguments in my lifetime in cases just as long and

ugly as this one.      I really think that it's in

everybody's best interest to try to figure out how to

be succinct, very adequate and thorough, but

efficient, and get it done.         I don't see how it should

take more than one day.

      MR. SUSSMAN:      The only thing, if I can weigh in

on that.   Given the number of talking heads that the

jury is going to have to face, if we can get a ground

rule in terms of how much time before we get a break,

because if there's no breaks, you know you can only

listen to a bunch of lawyers --




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      THE COURT:      I'm usually going to take a break

between each speaker, and it may not be a long break.

It will be a brief break.        I think Ms. Ali and her

husband are now entering the courtroom.            It will be a

brief break, but you know we will have the government

give its initial argument, have a break, and then one

of the defense attorneys.        So -- but, you know, talk

amongst yourselves.

      I really want to fit this into a budget of one

full day, and then the jury comes back the next

morning and begins their deliberations.            I think

that's a reasonable approach.         I don't think there's

any need to burden these jurors with more than one

full day of argument.       I think we're going to lose

them if you spend much more than that.

      MR. MARTIN:      You don't think they're lost

already?

      MR. MONTEMARANO:        Court's indulgence.        Can I

have a moment to speak with Ms. Johnston?

      THE COURT:      Yes, certainly.

      MR. MCKNETT:      Your Honor, Ms. Ali would like to

use the restroom before we get started.

      THE COURT:      Okay.

      MS. GREENBERG:       Judge, as a housekeeping matter,

one thing I thought might be helpful with closing




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arguments, if the Court won't mind, because there's so

many questions on the verdict form, so that the jurors

can follow along, if each of them could have a copy.

      THE COURT:      I intend to distribute to the jurors

every single one a copy of the verdict form.              As a

matter of fact, I'm going to give it to them during my

instructions so they can look at it.

      MS. GREENBERG:       If Your Honor could also give

them a clean copy, so they can take notes on theirs

and a clean one.

      THE COURT:      There will be one in pristine

condition that the foreman will have and keep and

every single one will have one to play with as they

see fit, including the foreman, because I really think

with a verdict form as long and complex as this one,

they really want to start looking at it while I'm

talking.

      I intend to also give them -- I don't want to

give them one set for every one.          I will give them

several sets of the instructions clean.            They won't

get them until the next day because until I've

actually delivered them, I don't know what they look

like, and there may be things I fix as I go, and I

will give them to them as read.

      I'm also going to warn them that, please, don't




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ask me for transcripts.         Tracy asked me to ask that.

We just can't do it.

       MR. SUSSMAN:      Judge, since we got a minute here.

Do you have any thought, once the jury goes out, what

we're -- where we're supposed to be or what we're

supposed to do?      I mean, it gets a little --

       THE COURT:      Well, you know, everybody in this

room has probably got a different viewpoint of how

long it's going to take to reach a verdict and we're

probably all wrong, but what I usually do is ask that

you be within a half hour of the courthouse, if you

can.   I know some of -- many of you are from more than

a half an hour away.        I'll think about it.        Maybe for

the first day, you could go back to your office, but I

need to know exactly how to get a hold of you.

       Nobody should disappear on me.            You should be

reachable by phone -- cell phone, but you know, if we

get a note, I don't want to have to wait hours to be

able to do a note.       If we have a verdict, I want to

have you here promptly, and remember, this verdict is

going to take a long time to receive.             Just to read

that -- I mean, Bea is probably going to die going

through that verdict form.

       MR. SUSSMAN:      With regard to administerial

things, one thing that might work, and I don't know if




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we could have a designated hitter to be here and sort

of be the point man to sort of disseminate something

about a note or to gather the kind of the community's

sentiment as to what -- how to respond.

      THE COURT:      Well, if I get a note, I'm going to

make copies of the note for every counsel and provide

it to them and we will discuss how to respond.              I

don't think I can operate on less than all attorneys

when dealing with a note.

      MR. SUSSMAN:      I didn't mean that, but in terms

of one person actually being here and other people

putting their input through phone.

      THE COURT:      Well, if persons are here or near

the courthouse and they get here, they will get a copy

of the note upon arrival.

      Bea, is the jury ready?

      THE CLERK:      Yes.

      MR. MCKNETT:      Your Honor, before we start that.

I realize I think to say it's Mr. Krinsky's last day.

      THE COURT:      It is indeed -- no, no, a week from

today is his last day.

      MR. MCKNETT:      Oh, okay.

      THE COURT:      We haven't got rid of him yet.

      MR. MCKNETT:      I don't think we could do without

him at that stage.




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         THE COURT:     He's been extraordinary.        This is

one of my interns' last days, but not David's last

day.

         MR. MCKNETT:     Impose upon the Court one last

request.    Well, maybe not one last request.            One more

request.    When Mr. Garner is finished, could I have a

very brief break, two or three minutes, just to

reorganize myself.

         THE COURT:     It will be really two or three

minutes.    I don't want to have the defendants taken

out.

         MR. MCKNETT:     It might be an appropriate time

for a break anyway, but if not, at least a couple of

minutes to shuffle things around.

         THE COURT:     Any other preliminary matters?

         MS. GREENBERG:        Your Honor, could we get a copy

of that note from yesterday?

         THE COURT:     Yes.     We'll file that note and we'll

deal with that note next week.          The note is probably

moot.    I don't know that we're going to need to get to

the third alternate to have three remaining

alternates.    So I don't intend to leapfrog him over

the others unless circumstances compel that.

         Ready for the jury?        Bring him them in.      Nine

sharp.




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        Counsel, on Tuesday, I have followup with the

surgeon at 8:00t.      I don't see why we can't start at

9:30.

               (Jury returns at 9:05 a.m.)

        THE COURT:    Good morning, ladies and gentlemen.

While you're getting settled into your chairs, I

wanted to review with you some scheduling matters.                As

I said yesterday, I'm going to try to get you out of

here by 4:00 today, if not earlier, depending on the

suitable breaks and the testimony.           I'm going to try

to get as much testimony as I can by having one break

this morning, maybe a 45-minute lunch rather than an

hour and 15 minute lunch, and another 15 minute break,

and we will get you out of here so you don't have to

get killed on the roads at 5 p.m. around here.

        We won't be sitting on Monday.          On Tuesday, I

have a brief followup visit to my surgeon, who will

tell me I'm doing fine, at 8 o'clock, but we should be

able to start at 9:30 on Tuesday.           You will know more

later in the day about how we're doing on completing

all the testimony, but I anticipate that all defense

witnesses also be finished today.           There may be some

prosecution rebuttal witnesses.          I don't know that

until the defense has concluded its case.

        If we don't finish the entirety of the testimony




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today, we will finish it on Tuesday.            I'm very

comfortable.     I will be giving you my instructions.

I'm very comfortable I will be able to get that done

on Tuesday.    They are reasonably lengthy, so it will

take some time to do that.         I have to have about five

glasses of water up here to get through it, but we'll

get that done.

       I'm anticipating that there will be fairly

lengthy closing arguments because this has been a long

trial and the attorneys need to talk to you and tell

you what they think about the evidence and each one of

them needs to talk to you individually because you

have to make very careful, individual assessments in

this case, and that is going to be the better part of

a day to do that.

       So my best prediction now -- I can't guarantee

anything, as you know, because highways can get jammed

up and other things can happen, is that you will start

deliberating probably about Thursday.            That's my best

estimate I can give you right now.

       So with that, Mr. McKnett, you may resume.

       MR. MCKNETT:      Thank you, Your Honor.

       (Witness resumes the stand.)

                 FURTHER DIRECT EXAMINATION

       BY MR. MCKNETT:




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Q.      Good morning, Mr. Garner.

A.      Good morning.

Q.      Mr. Garner, I want to direct your attention to

the early morning hours of June 1st, the year 2004.

Do you recall where you were at that time?

A.      Yes.   I was in my apartment, 620 Sheridan

Street, Apartment 301.

Q.      Had you slept there the night before?

A.      Yes, I slept there the night before.

Q.      Your wife was there with you?

A.      She was.

Q.      What time did you arrive that morning?

A.      Essentially, we have a phone alarm.            The phone

rings, so it rang at 6:30.         My normal morning protocol

is to get up, survey the dresser because I have my

cologne and certain other items that I use to go in

and shave, I got up around 6:35, went into the

bathroom, took a shower, and I had -- I began to put

shaving cream on my head and face, which was about

6:45.                Approximately around that time, I was

startled to hear what I felt was a very tremendous

clanging sound in the hallway.          It almost sounded as

though an anchor had dropped from a battleship up

against the elevator.       Approximately 10, 15 seconds

afterwards --




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Q.       Excuse me a second.      The elevator?      Where is the

elevator --

A.       The elevator is about five feet away from the

end of the apartment.       My apartment was stationed

here.     The elevator was right here.         So I heard the

sound, couldn't figure out what it was.             And then I

would say about ten seconds later, I heard what

sounded like some type of solid cylindrical object

intrude upon the sanctity of my door.            And once the

door had been intruded upon, there was a certain

reverberation that was taking place, and I couldn't

figure out what had transpired.          I went to the door --

Q.       You say intruded upon?       Do you mean it came

through door?

A.       No.   It hit the door, and for me, at that time

of morning, it's almost as though your privacy was

being attacked.

         I went to the door, looked out and said, who is

it?     And the gentleman says, the police.

Q.       Did you look out by opening the door?

A.       I looked through the keyhole -- I mean the

eyehole, and I looked through the eyehole and they

said the police.      So, I opened the door.         I had a

towel wrapped around me and shaving cream on my head

and my face.     I shave my head and my face every




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morning, and the gentleman said may I speak to LaNora?

       So when he said that, I assumed that somebody

must have been hurt or what have you, and I said just

a moment and I closed the door.          As I started to walk

away, the gentleman put his arm in the door, knocked

the door open.     He and, I think, two to three other

police officers walked into the apartment.              I went

back to get my wife.       I said the police are here.

       When I got there, the -- when I got her, she

came out and they indicated to her that she was under

arrest, and so we said why is she under arrest?               She

was in her pajamas.       One officer said -- she said,

well, can I change?       One officer said no, you're going

to have to go the way you are.          There was a female

officer there that said no, let her change.

       So, she walked her back, changed clothes, and

they took her out.       It had to be before 7 o'clock.             In

the meantime, I kept asking the officer, but before

she went, the officer asked her, may we search your

apartment?    And she said, no.        Then he turned to me

and said, may we search your apartment?             Your wife

said, no.    May we search your apartment?           I said, no.

I said, do you are have a search warrant?             He said,

no.    There are certain technicalities, and I didn't

understand that.      I mean, either you have a search




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warrant or you don't have a search warrant.              So, she

-- they took her out.

Q.      Excuse me.    Do you know any of the names of the

officers?

A.      I didn't know -- I don't know any of the names.

This gentleman appeared to be the lead officer because

the others were responding to him.

Q.      The woman -- the person who took your wife out,

was it a man or a woman?

A.      It was a female.      They handcuffed her and they

took her out.     This is around seven o'clock.           About --

I kept asking questions, exactly what are you looking

for?    He says, I can't give you that information.                So

I said well, I have to go to work.           I'm due at work at

8:30.    I'm leaving.     He said no, wait a minute.          I

have to make a phone call.

        So he said he was making a phone call to the US

Attorney's Office to get some clarification.              He gets

the call back.     He says, no, you cannot leave.            You

have to stay here.       I said, am I under arrest?          No,

but you cannot leave.       Then, you know, I asked the

officer, well can I contact my lawyer?             No, you cannot

contact your lawyer.       So, I'm saying I don't

understand exactly what is transpiring here.              I'm not

under arrest, you won't tell me exactly what you're




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looking for, you're in my house without a search

warrant.   What is going on?

       MS. JOHNSTON:      Your Honor, objection.         May we

approach the bench, please?

               (At the bar of the Court.)

       MS. JOHNSTON:      All of this is irrelevant.           It

goes to the search of the apartment.            I would ask the

Court to limit his testimony at this time.              His

conversation with the police officers is hearsay.

It's not relevant to anything here.

       I would also ask the Court to instruct the jury

now at the end of this portion of his testimony that

the Court has determined that the search of that

apartment was lawful.

       MR. MCKNETT:      Your Honor, if Ms. Johnston would

be a little more patient, my witness will testify that

the police did eventually come with a valid search

warrant.

       THE COURT:     Well, get to that point.

       MR. MCKNETT:      I will.

       MS. JOHNSTON:      All of this testimony here is

doing nothing but --

       THE COURT:     I understand.

       MS. JOHNSTON:      -- reflecting negativity on the

police department.




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       THE COURT:     I'm not going to put up with much

more of this.     They did eventually come back with a

warrant.   Because this is a valid search.

       MR. MCKNETT:      I'm not challenging the search

warrant.   I'm explaining what happened that morning.

It's relevant.     It's critically relevant the time

involved because of the issues I raised yesterday.

       THE COURT:     I will give you that latitude.

       MS. JOHNSTON:      I would ask that the Court

instruct the jury --

       THE COURT:     Let's get to the point.

       MS. JOHNSTON:      I think it's necessary now,

because of the detail he's gone into about how they

banged on his door and how he was this and that, and

how his wife had to be allowed to get clothes on, all

of that is irrelevant.

       THE COURT:     I will tell the jury this testimony

is being admitted for background testimony, but the

search question has been ruled on by the Court.

       MR. MCKNETT:      Again, for the record, I object to

any such instruction because he will testify --

       THE COURT:     I think to avoid confusion, that I

will instruct.

       MR. MONTEMARANO:       With all due respect, the

Court is only compounding the two because, if the




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defense had been aware, Mr. McKnett had been aware of

the nature of the testimony that Officer Corporal

Sergeant Muldoon, the male, provided, I think it would

have forced this Court to give Mr. McKnett to request

a Franks hearing because the officer claimed he lied.

               There is no other way around it.            We've

got documentation either that he can or he can't tell

time.   It's your choice, Your Honor.           So with all due

respect, if you're going to have to instruct that,

which you're going to have to add things, and I

therefore would submit no instruction.

        THE COURT:     What with -- like what ?

        MR. MONTEMARANO:      If you're going to instruct

that this search was okay at this point, as opposed to

in the closing of the evidence, I think, then, we

should be permitted to craft some sort of addendum to

that relating to the dissembling by Officer Muldoon.

        MR. MCKNETT:     Your Honor, I also intend to ask

him, what did the officers do while they were in the

apartment waiting for the valid search warrant?               I

think that's relevant to Officer Muldoon's testimony

to his credibility.

        THE COURT:     All right.     I will give an

instruction.

                     (Back in open court.)




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       THE COURT:     Ladies and gentlemen, the testimony

that you've been hearing, and maybe a few more

questions you may hear, is being admitted for your

information to -- for your assessment of the

credibility of the testimony of Officer Muldoon.                It

is not, however, testimony that goes to the question

of the lawfulness of the search that was conducted at

this apartment.

       It was conducted pursuant to a search warrant

and the Court has ruled that the search was a valid

search and that the evidence obtained during the

search may be admitted.        This information may be

considered by you in assessing the credibility of the

testimony of Officer Muldoon.

       You may resume, Mr. McKnett.

       BY MR. MCKNETT:

Q.     Mr. Garner, after your wife was taken out of the

apartment, you said that was at or slightly before 7

o'clock?

A.     About 7 o'clock.

Q.     Then who then remained in the apartment?

A.     There was were approximately -- I think there

were four officers that came in.           The lead officer

indicated there was a technicality with the search

warrant and was sending one of the officers back to




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this courthouse to get a valid search warrant.               So

that gentleman left.       About 15, 20 minutes later --

Q.     Excuse me.     The question was how many -- who was

in the apartment after your wife was taken out?

A.     Three police officers.

Q.     And yourself?

A.     And myself, yes.

Q.     Thank you.     Continue that.

A.     About 15 minutes later, another team came in.                  I

think approximately three people, and they were ready

to begin the search, and the lead officer said no, we

cannot begin the search because we -- there's a

technicality.     So they left and went to another

location.

       Approximately -- during the meantime, two of the

officers went into the back where I could not see them

in the bedroom and in the computer room and TV room

and stayed there for about a half an hour.              They came

back around 7:30, and I was discussing with an officer

that was seated in the living room with me making sure

that I could not move around the apartment unless I

had approval.

       The gentleman -- I indicated to the gentleman

that I needed to call work and to notify my school

that I would not be in.        So, he used his cell phone.




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I could not use my cell phone nor could I use the

house phones to make the call.          He used his phone -- I

gave him the telephone number of my school, and he

called the school.       I indicated if the assistant

principal or principal was in so I could notify them

that I simply -- I had a family emergency and I

wouldn't be in.

Q.      Excuse me, Mr. Garner, let me interrupt for a

second.

A.      Right.

Q.      When you were having the conversation with the

officer about calling the school, in what room of the

apartment were you in?

A.      I was in the living room.         That's pretty much

where I stayed the entire time.

Q.      You say officers went to the back of the

apartment?

A.      Went to the back of the apartment.

Q.      what rooms are in the back of the apartment?

A.      There's the bedroom where we sleep, and then

there's a room -- a computer room/TV room --

entertainment room, which is really a bedroom that's

been changed or transitioned into where we do our

work.     The computers are there, the computers were set

up for us to primarily do our school work and that




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kind of thing.      I was -- I write, and I also was

taking graduate classes and my graduate papers and

everything were on those computers.

Q.       Mr. Garner, I want to show you a picture.             It's

been marked as Government Exhibit P-1B.             I have a

black and white version.        The color version has been

presented previously.

A.       Okay.    That's the entrance into the hallway.

Q.       There appears to be a doorway here.           Is that a

doorway?

A.        There's a doorway where you see the African

items.     That's the doorway to a walk-in closet.

Q.       Here?

A.       Right.

Q.       Now, is this a doorway over here where my pencil

is pointing?

A.       Where your pencil is pointing is the area

leading to the hallway walking down to the bathroom

and the two bedrooms.

Q.       The two bedrooms being the one that you and your

wife slept in?

A.       Yes the living/bedroom and then the bedroom that

housed the TV and computers.

Q.       I'm showing you what's been marked as P-1F.             Do

you recognize this?




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A.      Yes.    That's the computer room/TV room.

Q.      Mr. Garner, I want to show you a hand-drawn

sketch and ask you --

        MR. MCKNETT:     I haven't marked this, Your Honor.

I'll mark it as Ali Exhibit whatever number I have.

Whenever Ms. Merez returns, she can tell me what

number that is, I believe.         Ms. Johnston is reviewing

it.

        THE WITNESS:     Sure.

        BY MR. MCKNETT:

Q.      You recognize this sketch?

A.      Yes, that's one that I made an attempt at to

give the layout of the apartment.

Q.      It doesn't quite fit on the screen.            Let me turn

it this way.     What does this represent down here in

the lower left-hand corner?

A.      Let's see.     I think you need to turn it around.

Q.      Tell me where to stop.

A.      Okay.    Turn it around again.        That's pretty

good.   As you see the hallway --

Q.      Here?

A.      Hallway with that indicating seven feet, and

then where the upper right-hand corner has wall,

that's the entrance into the apartment.

Q.      This area here?




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A.       Right.    That's the entrance into the apartment.

There's a narrow, maybe three-feet-wide hallway that

as you enter the door, you walk down.            As you walk

down, there's a walk-in closet.          If you make a left,

you walk into the dining area.

Q.       Can you hold on just a second?

A.       Sure.

Q.       I'm showing you what's been marked as P-1B.

A.       Right.    This is the hallway as you walk in.

Q.       So this would be this door?

A.       Right.

Q.       It would be like this?

A.       Switch it around.     Right.     Rotate it.     Okay.

Right.    This is the wall.

Q.       You're pointing on the screen we can't see.

A.       Okay.

Q.       This is the wall here?

A.       Right.

Q.       You would come in the door?

A.       Right.

Q.       And then you would hit the walk-in closet?

A.       You would hit the walk-in closet, yes, sir.

Q.       And this doorway here you identified as what?

A.       That's not a doorway.       This is a wall -- section

of a wall.       As you pass this particular wall --




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Q.     This wall?

A.     Right.     And make a left, you're walking into the

dining area.     And if you make a sharp right, then

you're walking down the hallway to the bathroom and

the two bedrooms.

Q.     And just to orient us a little bit, you had

indicated here was a living room?

A.     Right.     The living room was to the right of the

dining area.

Q.     And then you identified this room, which is

marked at about 17x9.       Am I reading that?

A.     Yes, that's not 17.        That's 12x9.

Q.     12x9?

A.     Right.

Q.     That was the bedroom that was converted into the

office area?

A.     The office area, yes, sir.

Q.     And then back here is the bedroom?

A.     Bedroom, yes, sir.

Q.     Where and your wife slept?

A.     Right.

Q.     Over in this corner would be the dining area?

A.     Dining area.

Q.     Is this the kitchen, this area?

A.     Yes.     If you see the little doorway between the




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-- see, I have the door to the kitchen.

Q.     Right here?

A.     Right there.

Q.     And then there's this area here?

A.     Right.    It's very narrow.        It's, like, 4x10 in

terms of the kitchen.

Q.     That's the kitchen area?

A.     That's kitchen area, yes, sir.

       MR. MCKNETT:      Ms. Merez, what was my next

exhibit number, if you recall?

       THE CLERK:     Four.

       BY MR. MCKNETT:

Q.     Back to the narrative, Mr. Garner.            You were in

the living room area here?

A.     Yes.

Q.     Being detained in this area?

A.     Detained in the area.         I contacted -- I --

Q.     Then the other two officers went back way?

A.     Right.    They used a hallway, the ten-foot

hallway, and they walked back to the bedroom.

Q.     You don't know where they went, do you?

A.     Well, no, no.      There the gentleman said he was

going back to the bedroom, and then one went into the

-- also, they went into the second room.

Q.     Mr. Garner, try not to tell us what other people




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told you.

A.     Okay.

Q.     This area over here, what area is this?

A.     That's the closet.        There was a metal pullout

closet that housed my clothes, yes.

Q.     And back here?

A.     Back there was also a closet -- well, it's a

pantry room.     There's a closet and also a linen closet

and then the bathroom.

Q.     And then all the way in the back is the

bathroom?

A.     Bathroom, yes.

Q.     So you were out here and the other two officers

went back in this area?

A.     Back in that area, yes.

Q.     Then what happened?

A.     Like I said, approximately 7:30, I asked the

officer if I could call the school.            The principal and

vice principal had not arrived, and I indicated I

needed to call them later.         So approximately 7:45, I

called.     The principal had not arrived -- the vice

principal had, and I left word with the vice principal

that I was going to be -- I wouldn't be coming in,

that I had a family emergency.          So she said try to

call back after, like, eight o'clock to see if you can




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contact the principal.

Q.       How long were you detained in this area?

         MS. JOHNSTON:     Objection, relevance.

         THE COURT:     Sustained.

         MR. MCKNETT:     Your Honor, I'll move on.

         BY MR. MCKNETT:

Q.       Do you recall the time when officers arrived

with the valid search warrant?

A.       Oh, the valid search warrant did not get there

until close to 12 o'clock.         They had received the

call, I think, somewhere after 11:00, and the reason I

can be fairly specific with the time --

         MS. JOHNSTON:     Objection as to his reasons for.

         MR. MCKNETT:     It goes to his credibility, Your

Honor.

         THE COURT:     Overruled.

         THE WITNESS:     There was a clock -- I was sitting

in the living room.       They kept me in the living room

pretty much for this entire period.            I was able to

look on the wall unit and there was a clock that we

had, so I could tell the time that was taking place.

The search warrant did not come into the apartment

with an officer until after 12 o'clock.             I think he

received a call sometime between 11:00 and 11:30, in

which he said I have the search warrant; I'm on my




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way.

Q.     Before that call, how many officers were in your

apartment?

       MS. JOHNSTON:      Objection, relevance

       THE COURT:     Sustained.

       BY MR. MCKNETT:

Q.     How many officers went down this -- before the

call about the search warrant, how many officers

proceeded down the hallway toward the bedroom and the

office?

       MS. JOHNSTON:      Objection.      Relevance.

       THE COURT:     Sustained.

       BY MR. MCKNETT:

Q.     You testified that officers did go toward that

back area.

A.     Yes, they did.

       MS. JOHNSTON:      Objection.      Asked and answered

       THE COURT:     Sustained.

       BY MR. MCKNETT:

Q.     Were you able to see what those officers did

while they were back there?

       MS. JOHNSTON:      Objection, relevance.

       THE COURT:     Overruled.

       BY MR. MCKNETT:

Q.     You can answer.




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A.     I walked down.      I asked the one officer if I

could go to the restroom.         I went to the restroom and

as I was walking down the hall, the door to both rooms

were closed.

Q.     Had they been closed when you answered the door?

A.     No.   All doors were open, but they were closed

when I went down to the restroom.           I went to the

restroom, I came back and asked the officer why are

those doors closed.

Q.     Do not tell us what he said.           Did he respond?

       MS. JOHNSTON:      Objection.      Relevance.

       THE COURT:     Sustained.

       BY MR. MCKNETT:

Q.     Did you do anything after the officer responded

to your question?

       MS. JOHNSTON:      Objection.

       Relevance as to what this man did.

       THE COURT:     Overruled.

       THE WITNESS:      I continually asked the officer --

went back and talked to one officer.            The officer came

out for approximately five minutes and then went back.

He stayed back there, oh, I would say until about 10

o'clock, and then he came out and he told me your wife

has a drug problem.

       MS. JOHNSTON:      Objection.




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       THE COURT:     Sustained.

       BY MR. MCKNETT:

Q.     You cannot say what anybody told you.

A.     Oh, okay.

Q.     What happened after the officer arrived with the

valid search warrant?

A.     Well, they began -- well, prior to that,

officers were -- approximately nine officers had been

in and out of the apartment.          They had gone in the

kitchen; they had gone into the closet.

       MS. JOHNSTON:      Objection.      Nonresponsive to the

question.

       THE COURT:     Sustained.

       THE WITNESS:      Would you repeat the question,

please?

       BY MR. MCKNETT:

Q.     What happened after the officer arrived with the

valid search warrant?

A.     They began a search, but --

       MS. JOHNSTON:      Objection.

       THE COURT:     Overruled.

       THE WITNESS:      But a search had already begun

prior to the search warrant coming into the apartment.

       MS. JOHNSTON:      Objection.

       THE COURT:     Sustained.




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       MS. JOHNSTON:      Move to strike.

       THE COURT:     Disregard the last.

       MR. MCKNETT:      May we approach on that?

       THE COURT:     Yes.

                 (At the bar of the Court.)

       MR. MCKNETT:      Your Honor, it can just go to the

credibility of Officer Muldoon.          He testified that no

search was carried out prior to the arrival of the

valid search warrant.        This witness contradicts that

and he was present in the apartment at the time.

       MS. JOHNSTON:      It's immaterial as to when the

search warrant happened, Your Honor.            It was a lawful

search conducted at the residence.

       MR. MARTIN:      It goes to credibility.

       MS. JOHNSTON:      Not only that, Your Honor, but

he's already testified that they received a call

before the search warrant.         They would have gotten a

call saying that the search warrant had been signed,

to commence the search so he's adding confusion to the

jury, misleading the jury in terms of something that's

irrelevant.

       THE COURT:     Do you know the time of the issuance

of the valid warrant?

       MR. MCKNETT:      10:21.

       MS. JOHNSTON:      I'm sure it's on the search




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warrant.

       MR. MCKNETT:      It is.    I can check, Your Honor.

I visit back there.

       THE COURT:     A search in the search of this case

has already been ruled to be lawful.            The evidence is

before the jury already, and I don't want to turn this

into -- incorrectly into a suppression.

       MR. MCKNETT:      I'm not going to do that, Your

Honor, but the officer testified very clearly that no

search was carried out.        No effort to search was

carried out before the search warrant arrived.

       THE COURT:     I will let you have one more

question.    You can ask him what, if anything, did they

do before the search warrant arrived physically in the

apartment.    I don't want a long speech from him.

       MS. JOHNSTON:      The problem with that question,

Your Honor, is it's not a question of when the search

warrant arrived, because they were authorized to

search once the search warrant arrives and it doesn't

have to arrive and counsel has indicated it arrived

sometime after 10:00, and the --

       MR. MCKNETT:      The issue is to the credibility,

and he testified that no search was met.

       MR. MONTEMARANO:       An officer who attempted to

implicate this witness and Ms. Ali, trying to tidy up




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an apartment when she wasn't there, and he was sitting

still and told not to move.

        MR. MARTIN:     I might add, Your Honor, even if he

didn't specifically see the officers searching the

bedrooms, the fact that they closed the door, a

reasonable inference can be drawn that that's exactly

what they were doing.       They were searching.

        THE COURT:     So what?

        MR. MARTIN:     It goes to credibility, that's so

what.

        MS. JOHNSTON:     Credibility about what?

        MR. MARTIN:     All of the officer's testimony.            If

he's lying about one aspect that's important, he could

be held to have lied about everything.

        MR. MCKNETT:     I moved past that part.         I'm only

asking this gentleman what he personally saw.

        THE COURT:     If you know the search warrant was

issued as 10:21 and that as of 10:21, a search would

be properly conducted, even if the owner wasn't

physically present, you ought to focus your question

on at or after 1:21.

        MR. MCKNETT:     That isn't the issue.         The issue

is the credibility of the officer who testified that

no search warrant started until the search warrant

arrived.   They could have started before that, but




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this officer denied it.        It's a credibility issue.

       THE COURT:     I will let you ask him what happened

before the warrant arrived.         I don't want to use wrong

speech because we're not going to have this jury

confused.

       MS. JOHNSTON:      Your Honor, could we phrase it in

terms of after the call he got?

       THE COURT:     Ask it both ways.        Make sure that

your question -- if you're all in agreement, that the

search warrant was issued as of 10:21 a.m.

       MR. MCKNETT:      I think it was 10:20 something.

       THE COURT:     Take a look at it, if you've got it.

Take a look at it.       Make sure your questions are

grouped into two categories; one is what happened at

or after 10:21, and at or after they arrived.               I want

to make sure they don't get confused, if there was an

invalid search.

       MR. MCKNETT:      I'll ask what did they do between

the time the officers got the call and between the

time the warrant arrived.         Would that --

       THE COURT:     Depends what time that call was, if

he got the call at 10:22.

       MR. MCKNETT:      If he knows.

       MS. JOHNSTON:      The issue would be what they did

before they got the call that the warrant was issued,




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not after.

                     (Back in open court.)

       BY MR. MCKNETT:

Q.     Mr. Garner, I think you said there came a time

-- you're talking about the lead officer?

A.     The lead officer, right.

Q.     Every time you say "the officer"?

A.     Primarily, I'm talking about the lead officer.

There were a couple of officers that sat in the living

room with me and we had -- you know, we had light

banter.     One officer knew my former wife.          He had

attended her retirement --

Q.     Mr. Garner, you say there came a time when the

lead officer received a call about the valid search

warrant?

A.     Yes, sir.

Q.     Do you recall what time that was?

A.     That was somewhere between 11:00 and 11:30.

Q.     Did the officers do anything after that call was

received?

A.     Yes.    They began searching the apartment.

Q.     When did the valid warrant actually arrive?

A.     After 12 o'clock.

Q.     What parts of the apartment were you able to

observe while the search was being conducted?




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A.      Well, prior to the initial search, I heard the

closets.    Because they were metal closets, you could

hear them opening.       I had a number of papers and

things in one room.       You could hear people actually

going through the papers, so I heard that prior to ten

o'clock.

        Once they got a call that they had the search

warrant in hand and they were beginning, people were

in the hallway, they were throwing my clothes out of

the closet into the floor, people went into the closet

area.

Q.      Which closet are you referring to?

A.      This is the walk-in closet.

Q.      That would be the closet perhaps?

A.      Right.   As you can see --

Q.      I'm showing the witness what is marked

previously as --

A.      Right.   That was a walk-in closet.

Q.      Mr. Garner, slow down a little bit.

A.      Okay.

Q.      Let me finish the question before you start.

A.      Sure.

Q.      It's hard for the stenographer to write down

when we're both talking.        This is the walk-in closet

you said?




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A.       Yes, it is.

Q.       What did you observe the officers doing in the

walk-in closet?

A.       I couldn't observe.      I was sitting on the sofa.

You could just see clothes flying out of the closet

into the dining room area.

Q.       This is the sofa here?

A.       Yes, that was the sofa.

Q.       And the walk-in closet is over here?

A.       Yes, sir.

Q.       Okay.   Continue, please.

         MS. JOHNSTON:     Objection.

         MR. MCKNETT:     I interrupted his answer, Your

Honor.

         THE COURT:     Objection to what?

         MS. JOHNSTON:     I'm objecting the witness said he

couldn't observe what they were doing.

         MR. MCKNETT:     No, he said he couldn't observe

the closet.

         BY MR. MCKNETT:

Q.       What did you observe in the area of the closet?

A.       I saw clothes flying out of the closet into the

dining room area.       They were throwing it up in the

air.     They took all the clothes, just threw it

haphazardly.     Comments were made, think of it as early




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spring cleaning.

Q.       Are these the clothes you're referring to?

A.       Yes.

Q.       Picture B-1C?

A.       Yes.

Q.       What, if anything else, did they remove from the

closet?

A.       They found a suitcase, and the lady officer

started yelling and screaming, I found it.              I found

it.

Q.       Hold on just a second.

A.       Sure.

Q.       Showing you what's been previously marked as Ali

No. 1.    I'll set it out here on the floor.            Do you

recognize this?

A.       Yes.     That's one of the suitcases that they

found.

Q.       You say one of the suitcases?

A.       Well, that's the suitcase that they said they

found.

Q.       Could you see the suitcase?

A.       No.     No.   They brought the suitcase out and laid

it on the floor.

Q.       Could you see what they were doing with the

suitcase?




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A.      No.   They asked if I had a key, and I said no,

that wasn't my suitcase.        I didn't have a key.         Then

they looked on the suitcase and they found -- they

found that the suitcase owner's name was Paulette

Martin.

Q.      I want to interrupt your narrative, just for a

second, and talk about this suitcase.            When had that

suitcase been brought into your apartment?

A.      Approximately when Paula moved from her house.

She went to --

Q.      Which house are you referring to?

A.      This is the -- see, I don't know what the

address was, but the house that she owned and she sold

the house, I guess, in 2002, early 2003.

Q.      Is this the house that she lived in when you

first met her?

A.      Yes, that's the house that she lived in when I

first met her.

Q.      When, again, did she sell that house, to the

best of your recollection?

A.      It was either the end of 2002 or early part of

2003.

Q.      What happened at this time with regard to this

suitcase?

A.      She had moved to or was staying at another




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friend's house, and we got a call one evening saying

that she had some important papers and valuables in

suitcases and wanted to know if we would hold them

until she moved into her new house.            She was

purchasing a new house and my wife asked me if it was

okay and I said, fine.

         And we rolled over, she handed me the suitcases

saying she did not feel comfortable in the location

where she was staying, and we simply took the

suitcases to the house, put them in the closet

underneath the clothes that you saw.

Q.       Where were the suitcase -- where did you put the

suitcase with regard to these clothes?

A.       Well, straight ahead, there was one suitcase and

on the side there was one suitcase.

Q.       They were behind the clothes?

A.       Yes, sir.

Q.       You mentioned two suitcases.         Did they both look

like this?

A.       As I recall, I think so.

Q.       After you put the suitcases in the closet, what

if anything, did you do with them?

A.       They just stayed there.       They were there for two

years.    Every now and then, Ms. Martin would say could

she come by and say she needed to get some papers or




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something like that.       That was over a two- or

three-year period, I had even forgotten that they were

there.

Q.       Did your wife do anything with these suitcases

while they were in there?

A.       No.   Ms. Martin had the keys.        They were Ms.

Martin's property.       There was no issue for us in terms

of looking at the suitcase.

Q.       Did you ever see what was in the suitcases?

A.       No, I did not.

Q.       When Ms. Martin came over to take things out of

the suitcases that you describe, did you have an

opportunity to observe?

A.       No.   Ms. Martin would come into the living room.

I would bring the suitcases out to her and I would go

back into my TV room.

Q.       What would happen with the suitcases then?

A.       Whatever papers and that she was looking for,

she would get them, and you know, say she's finished

and she would leave.

Q.       Did you ever see her carry things out after

visiting the suitcases?

A.       You know, she may have had an attache case or a

small kettle thing, but no, you know, I didn't pay any

attention to what she was carrying out.




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Q.     When she finished with the suitcases, who closed

them up?

A.     She closed them up.

Q.     Who locked them?

A.     She locked them.

       MS. JOHNSTON:      Objection.

       How would he know if he were in the TV room?

       BY MR. MCKNETT:

Q.     Did you close them up?

A.     No, I did not.

Q.     Did you lock them?

A.     No.     I had to assume that she locked them.

Q.     Can't assume.

A.     Okay.

Q.     After Ms. Martin was finished with the

suitcases, did you see them again?

A.     Did I see them again?         I think the last time I

--

Q.     Let me rephrase that question.           On these

occasions when Ms. Martin came to your apartment in

which you brought the suitcases out to her and then

left and went back to do whatever you were doing, when

she was finished with the suitcases on that occasion

-- on those occasions, what did you do next?

A.     I would pick the suitcases up and take them and




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put them back underneath the clothes.

Q.     When you picked them up and put them back

underneath the clothes, were the suitcases already

closed?

A.     I mean, the suitcases were closed, right.               I

can't assume that they were locked because I never

tried to see if they were locked.

Q.     That happened maybe two or three times?

A.     Approximately two or three times, yes, sir.

Q.     Let's come back now June 1st, 2004.             Describe

how the officer -- a female officer, you said, found

the suitcase in the closet?

A.     Right.

Q.     Or found the suitcases in the closet.             Did this

officer bring both suitcases out?

A.     I don't know.      I couldn't see what she did.             She

just yelled, I found it.        The next thing I know, they

were asking me did I have a key.           I said, no.      Someone

had something that they could pry the suitcases open,

they pried the suitcases open.          Someone indicated to

me, look at all of these digital scales.             Why would

anyone need this many digital scales.

       Well, I remember -- I can't say what they said,

but would they need all those digital scales.               Then

they found, I think, some book safes and they pried




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that open with a screwdriver, or something popped it

up open and said, look.        That's when they raised, I

think a freezer bag that was full of money and raised

that up in the air, and that's the only reason I could

tell what they saw.

Q.     You just called it a freezer bag.            What did it

look like?

A.     It's a large freezer bag.

Q.     Ziploc bag?

A.     Ziploc bag.

Q.     Clear plastic.

A.     Clear plastic.

Q.     At this time, could you see what was in the bag?

A.     Well, they raised it high so they could see, and

the officer indicated -- evidently they had located

some IRS problems that I was having and the officer

said if I had this amount of money --

       MS. JOHNSTON:      Objection.

       THE WITNESS:      I would take care of my --

       MR. MCKNETT:      You can't tell what you say the

officer said.

       BY MR. MCKNETT:

Q.     What kind of problem?

       MS. JOHNSTON:      Objection.      Relevance.

       MR. MCKNETT:      He described --




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        BY MR. MCKNETT:

Q.      He said -- I couldn't quite make out what you

said.

A.      I had a Internal Revenue Service problem.

        MS. JOHNSTON:     Objection and move to strike.

        THE COURT:     Sustained.

        Disregard the last comment.

        MR. MCKNETT:     Your Honor, I can establish

relevance at the bench, if the Court would prefer.

        THE COURT:     Come to the bench.

                 (At the bar of the Court.)

        MR. MCKNETT:     Your Honor, yesterday and also

when he first testified, Sergeant Sakala opined that a

particular call on -- I can't think of the exact date

-- a call in which Ms. Ali said to Ms. Martin, did you

get, and Ms. Martin responded yes, I got it.              He

opined that that was a drug-related conversation.

        I played the conversation for him in testing his

opinion in which Ms. Ali, the day before that

conversation, asked Ms. Martin to go pick up a

certified letter from the IRS, the Internal Revenue

Service, that had been addressed to Mr. Garner but was

returned by the mailman because no one was there to

sign for it.     This is a reference to that IRS problem.

        MS. JOHNSTON:     I don't know what his comments on




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June 1st, 2004, or what paperwork he had in his office

June 1st, 2004, relevant to that.

         THE COURT:     What does it have to do in terms of

--

         MR. MCKNETT:     It establishes that he, in fact,

did have a problem with the IRS, that the conversation

preceding the one that the detective was a

drug-related conversation actually related to Mr.

Garner's problems with the IRS.

         THE COURT:     Why don't you ask him about his

problems with the IRS?

         MS. JOHNSTON:     Separate and apart of the search.



         THE COURT:     Not as part of the search.

         MR. MCKNETT:     He got there before I did, Your

Honor.    I still think it's a relative comment.

         THE COURT:     I think we're going into a long, you

know, description of how unhappy he was about the

search.

         MR. MCKNETT:     As the Court may be able to tell,

Mr. Garner is hard to reign in from time to time.

         THE COURT:     Yes.   Reign him in.      I think the

problems about with the IRS should be in a separate

part of his testimony, which would be consistent with

what you've described, but move on in this subject.




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       MR. MCKNETT:      I'll do that, Your Honor.

                (Back in open court.)

       BY MR. MCKNETT:

Q.     Mr. Garner, let's go back to the suitcase for

just a second.     After the officer held up the bag, the

freezer bag, what then happened with regard to the

suitcase?

A.     There were a number of officers that came

running from the back.        They all gathered around the

suitcase and they seemed to be very pleased.              They

were smiling.     They were patting one another on the

shoulders.

       MS. JOHNSTON:      Objection.      Relevance.

       THE COURT:     Sustained.

       THE WITNESS:      And they seemed satisfied.

       BY MR. MCKNETT:

Q.     These were the officers you described as coming

from the back.     These were the officers who had gone

back into the bedroom and the office?

A.     Right.

       MS. JOHNSTON:      Objection.      Relevance.

       THE COURT:     Sustained.

       MS. JOHNSTON:      Move the strike.

       MR. MCKNETT:      Your Honor, the relevance would be

my next question.




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       THE COURT:     Do your last question.         I'll decide

whether to strike or not.

       BY MR. MCKNETT:

Q.     Did you observe them as they came from the back

of the apartment?

A.     Yes.   They came, they had things in their hands

and that kind of thing.

Q.     The question was just did you observe them?

A.     Yes, I did.

Q.     When you observed them, did you observe anything

in their hands?

A.     Yes.   They had papers, they had pouches and

whatever they were going through and searching for

evidence, whatever was in their hands at the time they

just came running out.

Q.     What -- after that, after the suitcase incident,

what happened next?

A.     They went back and continued their search.

       MR. MCKNETT:      Your Honor, can I retrieve the

suitcase?

       THE COURT:     You may.

       BY MR. MCKNETT:

Q.     Did there come a time when the officers left

your apartment?

A.     Yes.   They left sometime after 1 o'clock, about




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1:23, something like that.

Q.     Did they take things with them when they left

the apartment?

A.     Well, the problem is they took things with them.

I couldn't see what they were taking or if they were

bringing something in.        I couldn't see any of that.

Q.     I'm sorry, Mr. Garner.         I'm not sure what you

meant by that answer.

A.     Well, people were coming in and out, coming in

and out of the closet, going in and out of the

bedrooms, coming in and out of the kitchen.              They went

through the freezer, they left the food out on the

counter, they went through the refrigerators, they

left the food in the sink.         Nobody even attempted to

put it back.     Clothes in the bedroom were lined up

from the floor to the ceiling.

       MS. JOHNSTON:      Objection, Your Honor.

Relevance.

       THE COURT:     Sustained.      Just stay within the

scope of the question you're asked, please.

       THE WITNESS:      Sure.

       BY MR. MCKNETT:

Q.     Did you see anyone removing items from your

apartment at the conclusion of the search?

A.     I didn't see anything leave the apartment.               What




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happened was the lead officer came --

       MS. JOHNSTON:        Objection.

       MR. MCKNETT:      He's explaining his answer.

       THE COURT:     Oh.

       BY MR. MCKNETT:

Q.     Is there a reason why you didn't see anything

leave the apartment?

A.     They forced me to sit on the sofa.            If you can

tell by the schematic of the apartment, you come down

the hall and turn and go down the hallway, you cannot

see people leaving with any objects in their hand.                So

I cannot swear that they took anything out the

apartment.    I did not see it.

       What I did -- what did occur is the gentleman,

the lead officer, had a sheet which he itemized the

things that he said he was taking out of the

apartment.    They never showed me all of the things

that they were taking out of the apartment.              So I have

no way of verifying what they took or didn't take.

Q.     Mr. Garner, after the search was completed and

the officers left the apartment, did you have occasion

to inspect your apartment?

       MS. JOHNSTON:        Objection, relevance.

       THE COURT:     What's the relevance?

       MR. MCKNETT:      The location of certain items,




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Your Honor, after the search compared to where they

were before the search.

       THE COURT:     Overruled, but don't go much

farther.

       MS. JOHNSTON:      Objection.

       THE WITNESS:      Essentially, I inspected the

apartment.    The apartment looked like a hurricane had

hit it.

       MR. MCKNETT:      Mr. Garner.

       MS. JOHNSTON:      Objection.

       THE COURT:     Sustained.

       Disregard the last comment.

       BY MR. MCKNETT:

Q.     Did you have an opportunity to inspect your

apartment after the search was completed?

       MS. JOHNSTON:      Objection.      Relevance.

       THE WITNESS:      I inspected the apartment, yes.

       BY MR. MCKNETT:

Q.     I want to draw your attention to your bedroom

area --

A.     Yes.

Q.     -- after the search.        That was the bedroom in

which you slept the night before?

A.     Yes.

Q.     And it was the bedroom in which your wife was




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sleeping before the officers arrived at the apartment;

correct?

A.     Yes, sir.

Q.     Mr. Garner, I want to show you -- did that

bedroom have a -- you've indicated on the sketch that

there were a bed, I believe.

A.     Yes, there was a king-size bed, a long dresser,

and two end tables and a lounge chair.

Q.     This is the sketch again, and back here is the

bedroom.   You've indicated the bed.

A.     Yeah, the bed.      You see the long drawer they

were -- by the bed, there were two end tables.

Q.     Excuse me.     This is the dresser, right?

A.     Right.

Q.     And were there end tables or bedside tables?

A.     Bedside tables, right.

Q.     Were there one on each side?

A.     One on each side.

Q.     If I draw one --

A.     Right.

Q.     -- approximately there?

A.     Right.

Q.     And then another over here?

A.     Right.

Q.     Approximately here?




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A.       Right.

Q.       Which side of the bed did you sleep on?

A.       I slept on -- if you're looking at the --

Q.       Was it the side where my pencil is?

A.       Yes, the side where your pencil is.

Q.       I will put an H here for husband, and your wife

slept on this side?

A.       Yes, sir.

Q.       What, if anything, was on the top of the night

stand on her side of the bed?

A.       There were some books and a -- books and a night

light.     There was a lamp, a night lamp.

Q.       Was there anywhere in your bedroom a jewelry

chest, two drawer?

A.        Yes, a jewelry chest was alongside of a wall,

which would have been perpendicular to the night

table.     There was a -- if you look at the night stand

on her side, there was a long closet.

Q.       A closet here?

A.       Right about there.      You can draw a closet that

would come down past the night stand.            Okay.      Come on

down some more.      Okay.    Down some more.       Okay.     And

then you can draw a little entrance area into the

bedroom.

Q.       Here?




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A.     Okay.    And then the night table was right here

along the entrance --

Q.     Here?

A.     -- I mean the jewelry chest.

Q.     That was here?

A.     Yes, sir.

Q.     Excuse me drawing.        I want to put jewelry chest,

JC for jewelry chest here.

       When you arose that morning, was the jewelry

chest open or closed?

A.     It was closed.

Q.     I'm going to show you a picture that's been

marked as Government Exhibit P-1H.           Can you recognize

what's in this picture?        Focus your attention up on

this area up here.

A.     Sure.

Q.     Does this look familiar to you?

A.     The -- I mean, the chest looks familiar.

Q.     What does the chest look like to you?

A.     It looks like there's some foreign substances in

it.

Q.     No, the chest.

A.     The chest is a wood, a red cherry wood chest.

Q.     Where was this chest?         Was this chest in your

bedroom?




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A.       Yes, the chest is in the bedroom.

Q.       Where in the bedroom?

A.       Just where you just drew the jewelry chest.

Q.       Is that it?     Is this the jewelry chest?

A.       Yes.

Q.       Ms. Johnston has been kind enough to provide me

with the color picture, perhaps it would help.               Ignore

these portions for now.        I'm focusing right on this

chest.    Is this the jewelry chest you're talking

about?

A.       Yes, it is.

Q.       Was this the condition -- this looks -- appears

to be the drawer that was taken out of this space in

the jewelry chest.       Does it look like that to you?

A.       Yes, it does.

Q.       Is that the way the door was when you woke up on

the morning of June 1st, 2004?

A.       No, it was not.

Q.       Where was the drawer?

A.       The drawer was inside of the jewelry chest.

Q.       How do you know that?

A.       Getting up, and you walk past the -- I had to

walk past the jewelry chest to go into the hallway and

then to go into the bathroom to take my shower.

Q.       Again, Ms. Johnston has been kind enough to give




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me the color photos, so I will show you them.               I will

show you what's been marked Government's Exhibit P-1.

Do you recognize that piece of furniture?

A.       Yes.   That seems to be one of the night tables

next to the bed.

Q.       Were they identical night tables?

A.       Yes, they were.

Q.       Do you recognize the items that are in the night

table?

A.       Yes, I do recognize.

Q.       How do you recognize them?

A.       Well, the items in the night table or just the

night table?

Q.       Well, let me start with the night table.            Do you

recognize that?

A.       Yes, I recognize the night table.

Q.       Can you tell from this picture on whose side of

the bed this night table was located?

A.       It looks like my wife's.       I mean, I have a lot

of papers and cuff links and things on the top drawer

of my night table.       She generally had some papers or

books or things in her night table, phone books and

such.    And from time to time, she would have me go and

retrieve phone books and things from the night stand.

Q.       From the top of the night stand?




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A.       From -- from the top drawer.

Q.       Do you recognize the items that are in this

drawer?

A.       It looks like a straw that's bent.          It looks

like a -- some type of decorative napkin, and it looks

like a -- some type of jewelry box or something.

Well, a watch or a bracelet or something may have

been.

Q.       You said you had occasion to go into this

drawer?

A.       Yes.    I mean there was nothing --

Q.       Excuse me, yes or no.

A.       Yes.

Q.       The last time you looked in this drawer, when

was that?

A.       Oh, a day or two prior.

Q.       Was this the way the drawer looked the last

time?

A.       No.    There was books and things in the drawer.

Q.       Do you recognize this jewelry box as something

that had been in the drawer the last time you looked

in it?

A.       Yes.

Q.       Was the jewelry box opened or closed the last

time you saw it?




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A.     I think it was open.        There wasn't anything in

it, so I just assumed it may have been a bracelet or

something that she had purchased.

Q.     Mr. Garner, I'm showing you now what's been

marked as Government's Exhibit P-1, and I think it's a

J; P-1J.     Do you see that?

A.     Okay.

Q.     Do you recognize what's in this picture?

A.     Yes, that's the bathroom.          Can see it's a very

small bathroom.

Q.     I want to see if I can zoom in on this and ask

you about some of the items in the bathroom.              Do you

see this shelf?

A.     Yes.

Q.     That appears that there's two shelves here,

maybe three.

A.     Yeah.    As I recall, there were three shelves.

Generally, there's the lower shelf.

Q.     Excuse me.     Let me ask you about the shelves one

at a time.

A.     Okay.

Q.     There were items on this shelf.            There's a blue

case of some sort, and then some other items in an

open case.     Do you see that?

A.     Yes, I do.




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Q.       What are those items?

A.       Primarily they were bath items that you get at

bath and whatever the bath stores are.             Lotions, bath

oil, that kind of thing.

Q.       Whose items were they?

A.       Those were primarily my wife's.

Q.       On this shelf above that, there were other

items.     Do you see them?

A.       Yes.   That appears to be my brown shaving bag,

which I kept my shaving things in.

Q.       This here?

A.       Yes.

Q.       Is this the bag you're talking about?

A.       Yes.

Q.       And these are your shaving items in there?

A.       Yes.

Q.       Mr. Garner, do you use drugs?

A.       No, I do not.

Q.       Does anybody store drugs in your brown shaving

bag?

A.       No.

Q.       Mr. Garner, I want to show you just a couple of

pictures real quick.       This is Government's Exhibit

P-1.     Do you recognize the building there in that

picture?




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A.       Yes, that's the outside of the apartment

building that we were living, 620 Sheridan Street.

Q.      Can you see your apartment?

A.      No.     It's on the other side.

Q.      And then one more, if I may, Ms. Johnston.              This

is P-1A.      Recognize that?

A.      Yes.     That's the entranceway into the apartment

complex.

Q.      Mr. Garner, what time was it, if you recall,

when the officers left your apartment?

A.      They left after -- about 1:00, 1:30, quarter of

2:00.   I was then able to get phone calls once they

left.   Sam Williams, who's like a brother to me,

called and --

        MS. JOHNSTON:     Objection, Your Honor.

        BY MR. MCKNETT:

Q.      Don't say what was said.

A.      Sure.

Q.      Mr. Garner, did there come a time when you

discovered that your wife, LaNora, was using drugs?

A.      Only after she was arrested.

Q.      Did you have any occasion or reason to believe

prior to her arrest that she was using drugs?

A.      None.     None whatsoever.     We would get up in the

morning, we would go to work every day, we were




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working two jobs, sometimes three.           I was with her

essentially all the time.         I began to backtrack and

try to figure out when she could possibly be using any

drugs, and the only time that I could come up with was

when I went to sleep.

       I worked, you know, 12, 14, 16 hours almost

every day, was working on a novel, was also taking

classes and such.      So when I went to sleep, I slept

very soundly for three, four, five hours.             During that

time, I can't speak to what was taking place, but

never in my presence did I see her use drugs or

purchase drugs in any way, and no one that came to our

house participated in anything like that.

Q.     Did you have any -- when you were present at

your apartment, did any people come to your apartment,

stay five minutes, talk to your wife and leave?

A.     No.    No.   Anyone that came to the apartment was

always welcome.      Generally, when they would come over,

because I loved to cook, we would sit around, have

dinner, discuss whatever the topics were for the day

were, looked at sporting events.           So when people came

over, they generally stayed for a while.

Q.     Other than the contents of that blue suitcase

that we talked about a few minutes ago --

A.     Yes.




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Q.      -- did you have any scales in your apartment?

A.      No.   Well, there was a scale -- there was a -- a

weight scale.       I mean, we were conscious of our

weight, so that was the only scale that was in the

apartment.

Q.      No small electronic scales?

A.      No small electronic scales, no.

Q.      Did you have any triple beam balance scales?

A.      No.

Q.      Are you familiar with those?

A.      I'm not familiar with them, but I'm aware of

them.

Q.      Did you even have a kitchen scale for measuring

ingredients?

A.      No.   I did that really more by cup and such.

Q.      Did you have any large quantities of baggies in

your apartment?       Plastic baggies, Ziploc baggies?

A.      No.

Q.      Did you have any quantities of very small, maybe

1" by 1" square plastic baggies?

A.      No.

Q.      Did you have any -- do you know what Manite is?

A.      No, I don't.

Q.      Didn't have any Manite; did you?

A.      No.   No.




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         MR. MCKNETT:     I have no further questions, Your

Honor.    Thank you, Mr. Garner.

         THE WITNESS:     Thank you.

         MR. MCKNETT:     I think Ms. Johnston may have a

few questions for you.

         MS. JOHNSTON:     I don't know if any other counsel

have questions before we start.

         THE COURT:     Any defense counsel have questions?

         MR. HALL:    I do, Your Honor.       Very briefly.

         THE COURT:     All right.

                        CROSS-EXAMINATION

         BY MR. HALL:

Q.       Mr. Garner, yesterday you were shown a chart

that had photographs of a number of people on it; do

you recall that?

A.       Sure.   Yes, I do.

Q.       You identified as one of the individuals that

you knew on that chart my client, Reece Whiting.

A.       Yes.

Q.       Do you recall that?      You indicated you had seen

him at Ms. Martin's house on a number of occasions; is

that correct?

A.       Correct.

Q.       And on those occasions you saw him, did you ever

see him with any quantity of drugs?




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A.     No, I did not.

       MR. HALL:     Thank you.

       MR. WARD:     I have a few questions.

                       CROSS-EXAMINATION

       BY MR. WARD:

Q.     Mr. Garner, you said you had seen my client,

Lavon Dobie, at the house --

A.     Yes.

Q.     -- on a number of occasions.

A.     Yes.

Q.     Did you ever see her with jewelry she was

showing to people for sale?

A.     Yes.

Q.     Did you ever see her buy any drugs from anybody

in the apartment?

A.     No, I did not.

       MR. WARD:     I have nothing else.         Thank you, sir.

                       CROSS-EXAMINATION

       BY MR. MONTEMARANO:

Q.     Good morning, Mr. Garner.          How are you?

A.     Okay.

Q.     We've never spoken before with; have we?

A.     No, we have not.

Q.     And at no time did Mr. McKnett ever tell you

what kind of questions I might ask you?




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A.     No.

Q.     Or suggest how you should answer them?

A.     No.

Q.     My name is Michael Montemarano.            I represent

Paulette Martin.

A.     Okay.

Q.     You mentioned having bought some clothing from

Ms. Martin.

A.     Yes.

Q.     Cash and carry business?

A.     Pretty much cash and carry, but we had a running

account with Ms. Martin.        Ms. Martin had a number of

catalogs that I could browse through in terms of

shoes, belts, that type of thing.           And she early on

she showed me her license to sell clothes, her

business ID, so anything that I saw, she could order

at wholesale prices and essentially the prices that we

were getting in terms of clothes were wholesale, but

because of the very tight budget that we were

operating on and pretty much my wife and I were using

our second job to purchase clothes and to travel, so

Ms. Martin would have a running account and every

payday we would take X number of dollars by and pay on

the account.

Q.     You mentioned at some point Ms. Martin became




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interested in concert promotion; do you remember that?

A.     Yes.

Q.     You had mentioned there was somebody in North

Carolina?

A.     Yes, which is like brother to me, Gilbert

Williams.     I had contacted Mr. Williams and indicated

that Ms. Martin was looking for someone to represent

her in terms of promoting and assisting in the

production of concerts.        She was dissatisfied with the

people that she was currently working with and we were

able to set up a dialogue that took place between Ms.

Martin and Mr. Williams.

Q.     Were you aware if that dialogue involved any

particular act or acts?

A.     Yes.    Three concerts took place.          There were

father and son, Eddie and Gerald Levert.

Q.     That's L E V E R T; right?

A.     L E V E R T, right.        Eddie is one of the primary

singers for the O'Jays.        His son, Gerald, has a

tremendous reputation following, and the concerts did

take place.

Q.     You had mentioned at some point Ms. Martin had

discussed the need for an entertainment attorney with

you?

A.     I had indicated to her that I thought it was




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important that she get an entertainment attorney, that

they were much more well versed to dotting the Is and

crossing the Ts than I was, that I would assist her in

any way that I could, but she needed to put her own

team in place.

Q.       You had mentioned one who taught at Howard?

A.       Right.   She -- as far as I can recall, she did

make contact with that person and they began to

discuss the possibility of him representing her and

began to set out what costs would be and et cetera, et

cetera.

Q.       Do you recall the name of that attorney?

A.       Not offhand.     Not offhand.

Q.       If I suggested a name to you, might that refresh

your recollection?

A.       It would.

Q.       Spencer Boyer?

A.       Yes, that's the name.

         MR. MONTEMARANO:     No other questions, Your

Honor.    Thank you.

         THE COURT:     Any other defense counsel?

         All right.     Government, you may proceed.

                        CROSS-EXAMINATION

         BY MS. JOHNSTON:

Q.       Good morning, Mr. Garner.        How are you?




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A.     Good morning.      I'm fine.

Q.     As Mr. Montemarano had asked you, we haven't had

an opportunity to converse or discuss your testimony;

is that correct?

A.     That's correct.

Q.     We have seen each other in the hall, I think,

and exchanged pleasantries at one point; is that fair

to say?

A.     That's true.

Q.     Mr. Garner, you talked quite a bit yesterday

about Ms. Martin's concert business.            Do you recall

that or her promotion business?

A.     Yes, I do.

Q.     You indicated, I think at one point, that you

were interested in helping Ms. Martin meet some of her

goals; is that correct?

A.     That's correct.

Q.     And that these calls occurred, it would be fair

to say, during 2004, prior to her arrest.

A.     Right.    As I recall there was a two- or

three-month period prior to that there wasn't, you

know, discussions about the concert business per se.

She had indicated a love of fashion, and productions

with fashion, and she has always had, since I've known

her, a love of music, so you know, that grew out of




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that.

Q.      All right.    Mr. Garner, if you could try to

stick with the questions that I've asked you.               It

might help us speed things a along a little bit.

A.      Okay.   I thought it was.

Q.      The two to three months, that would have been

during the time that we intercepted some of your

conversations; is that correct?

A.       Evidently.     Right.    I'm not sure when you

started the phone surveillance.

Q.      Assuming it was in early March of 2004, and

continued through May of 2004, that would have been

the time period when you were trying to assist Ms.

Martin with making sure she was getting in touch with

the right people and wasn't getting conned in some of

those contacts --

A.      Based on what I read yesterday, the dates were

in March and April, so that would appear to be

correct.

Q.      In fact, it was your opinion that Ms. Martin and

Mr. Goodwin had -- were possibly being conned or

getting --

A.      Well, it was apparent to me that she was serious

about this endeavor, and when she gave me the

paperwork, I thought that people were taking




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advantage, yes.

Q.     And indeed, at that point in time, were you

aware of how much money she had invested with Ron Hood

and the others?

A.     I had heard figures that she had -- she and

Goodwin had invested X number of dollars.

Q.     What was that X number of dollars that you heard

that they had invested with Ron Hood?

A.     I think it was $50,000, but I never saw a

cashier's check.      I never saw money wired, so that

would be hearsay.

Q.     Okay.    Well, I appreciate now that you

recognized hearsay, sir, but --

A.     I'm a fast learner.

Q.     I'm glad to hear that.         It would have been Ms.

Martin who told you that she invested $50,000; is that

correct?

A.     My concern is that it's hearsay.            If I can't

indicate what an officer tells me, I don't understand

how I can say what Ms. Martin is telling me.

Q.     Mr. Garner, I think the attorneys will object if

they believe the question I'm asking you is improper.

A.     Okay, sure.

Q.     And the judge will rule.

A.     Okay.




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Q.     Let me ask you the question again.            It was Ms.

Martin who had told you that she had invested $50,000;

is that correct?

A.     Yes, she did.

Q.     Did Mr. Goodwin also put in $50,000?

A.     Not to my knowledge.        I understand that it was a

joint venture.

Q.     Okay.    So it was a joint venture, but the total

amount was just Ms. Martin's $50,000; is that correct?

A.     If it was a joint venture, my understanding is

that they both put money up.

Q.     But the total amount was $50,000?

A.     That's my understanding.

Q.     That was put up with Mr. Hood to do that Aretha

Franklin concert; isn't that correct?

A.     That's my understanding.

Q.     That concert was never held; is that correct?

A.     My understanding was that Ms. Franklin became

ill, could not carry on, and there was negotiation

with Ms. Franklin's agent in terms of returning the

money that was put up.        I don't know how that was

resolved.

Q.     You don't know if that money ever came back?

A.     No, I do not.

Q.     And then you were trying to put Ms. Martin in




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touch or did, in fact, put her in touch with Gil

Williams?

A.       Yes, I did.

Q.       That would have been subsequent to the problems

with the Aretha Franklin concert?

A.       Yes, it was.

Q.       So sometime either in April or May certainly

before June 1st of 2004?

A.       Right.     My understanding was April, early May,

right.

Q.       When you put her in contact with Mr. Williams --

A.       Right.

Q.       -- are you aware the fact that she invested with

him approximately $120,000 or thereabouts?

A.       Yes.     I thought it was $125,000 that was

invested, yes.

Q.       That would have been invested in late April,

early May; is that correct?

A.       I'm not sure when the money was wired.            I'm not

sure then, but I know there was discussions before

that in order to get Gerald and Eddie Levert, money

had to be sent to Mr. Williams, put in an account.                My

understanding was that it did take place, and

evidently it did because the concerts did take place.

Q.       And those concerts took place after June 1st of




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2004; is that correct?

A.     Yes, it took place in 2005.

Q.     In 2005?

A.     Right.

Q.     So those concerts that she invested that money

in in April or May of 2004 didn't occur until 2005; is

that correct?

A.     That's my understanding.

Q.     In fact, dates hadn't even been set during April

or May for the holding of those concerts; isn't that

correct?

A.      My understanding, once again, and at that time,

I was on the periphery.        Clearly the arrest of Ms.

Martin on June 1st cut off all communication, so I was

left out of the loop, so I'm not sure exactly what the

issues were, but my understanding was that once he was

able to get additional backers to put the concert on,

the concerts took place.

Q.     So it was in its very preliminary stages in

April and May of 2004; correct?

A.     Right.     Preliminary stages where investments had

to be made, where money had to be put up-front in

order to secure the artist; correct, yes.

Q.     At that point in time, there hadn't been any

dates set for those concerts; is that correct?




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A.       That is my understanding.

Q.       If there hadn't been any dates set, there

wouldn't have been any tickets available during April

and May for those concerts; correct?

A.       Well, I don't know how you determine the

tickets.     The only tickets that I had knowledge of was

the Aretha Franklin tickets.

Q.       That that concert was cancelled?

A.       That concert was cancelled, yes.

Q.       That concert was scheduled in Kansas City?

A.       Kansas City, yes.     I think that was scheduled

for June -- June or July of 2004.

Q.       So it was cancelled well in advance of those

dates?

A.       Well, people buy tickets well in advance to

shows now.

Q.       Mr. Garner, did I ask you any questions about

tickets for the Aretha Franklin show?

A.       You asked me about tickets, and I was just

trying to clarify what I thought you were leading to.

Q.       All right.   No, my question to you was in terms

of the concerts Gil Williams was working on that

occurred in 2005.      My question to you was --

A.       In 2004, there were no tickets to my knowledge.

Q.       There were no tickets, there were no dates?




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A.       No dates, right.

Q.       And indeed, were you aware of the fact that a

seizure warrant was executed to attach the

120-some-odd thousand dollars that Ms. Martin paid

because that money was drug proceeds?

         MR. MCKNETT:     Objection, Your Honor, scope.

         THE COURT:     Overrule.

         THE WITNESS:     My understanding was that Mr.

Williams had discussions with federal agents.

         MS. JOHNSTON:     Objection as to Mr. Williams'

discussion.

         BY MS. JOHNSTON:

Q.       My question simply is --

A.       No, I cannot answer that then.         I have no

knowledge.

Q.       You had no knowledge -- did Ms. Martin ever tell

you that the money she was giving to Gil Williams came

from her drug activities?

A.       No.   I didn't know Ms. Martin was involved in

drug activity.     That's --

Q.       You also indicated yesterday that Ms. Martin was

-- I believe you described her as a woman of limited

means.    Do you recall that testimony?

A.       I don't think I ever said limited means.            I

don't think -- I think if you played my testimony




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back, you would never hear me say limited means.                Not

in regards to Ms. Martin.         I don't think you heard

that.   I did?    Please play it back for me.

Q.      Mr. Garner, there's no recordings in this

courtroom.    There's a --

        MR. MONTEMARANO:      Objection, Your Honor, she's

arguing with the witness.

        MS. JOHNSTON:     Well, Your Honor, I would ask,

then, during the recess, for the court reporter to go

back over Mr. Garner's testimony yesterday afternoon

and determine what he said in terms of Ms. Martin's

resources.

        MR. MARTIN:     Your Honor, I would object to that.

I think that's a waste of time.          The jury's

recollection rules.

        THE COURT:    Overruled.

        BY MS. JOHNSTON:

Q.      You also indicated you had been to Paulette's

School of Performing Arts; is that correct?

A.      Yes, I went there a couple of times, looked at

the facility, saw that it had possibilities and

indicated to her that I saw no reason why her dance

studio could not work -- her dance program could not

work in her studio.

Q.      There were problems with it working because it




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wasn't up to standards for a dance studio; is that

correct?

A.      I didn't think so.       I made certain

recommendations, gave her an indication of

approximately how much it would cost to bring it up to

what my standards were.

Q.      Did you see the lawn mowers and appliances that

were being stored in on the dance floor?

A.      When I was there, I didn't see any such thing.

Q.      Did you see the boxes and crates full of

crackers that were being stored there as well?

A.      I didn't see that, no.

Q.      Didn't see any clothing in the store -- strike

that.

        She didn't follow through on your

recommendations and turn it into a functioning dance

studio; is that correct?

A.      Essentially, we made contact with three or four

dancers that I had recommended.          They had indicated

what the cost would be for supervising or directing or

operating a dance program out of that.             Ms. Martin did

not think that the costs was -- that the cost was

prohibitive.     Now, I may have said prohibitive, but

not limited.     So as a result of prohibitive costs, she

decided not to go in that direction.




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Q.      Now, if I could --

A.      Excuse me.     May I get some water, please?

Q.      Absolutely.

        MR. WARD:     I got it.

        MS. JOHNSTON:     Thank you, Mr. Ward.

        MR. WARD:     Absolutely.     Want some?

        MS. JOHNSTON:     No, I have some.        Thank you.

        THE WITNESS:     Yes.

        BY MS. JOHNSTON:

Q.      So, Ms. Martin had decided that it wasn't worth

--

A.      She said it was prohibitive, and I accepted

that.

Q.      In terms of making it a functioning studio?

A.      Yeah, at that time, right.

Q.      At that time, would have been when, Mr. Garner?

A.      I'm sorry, I didn't hear you.

Q.      You said at that time would have referred to

when?

A.      This was taking place around the same time.              It

appeared that Ms. Martin had a creative streak and she

wanted to expand the facility and interest that she

had in, and the dance studio was one of the things

that came up in discussion.

Q.      When you say at the same time, you're talking




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about March-April 2004?

A.     Yeah, I think the dance studio even came up a

little earlier, I think sometime in January.              January

or February.

Q.     Late '99 or early --

A.     No, this is 2003-2004.

Q.     Late 2003, early 2004, would that be a fair time

frame for when she discussed making the dance studio

functional?

A.     Yes.

Q.     Now, so that I'm clear, you testified yesterday

that Ms. Martin was a woman of limited resources and

you're saying that's not what you said; is that

correct.

       MR. MONTEMARANO:       Objection, asked and answered.

       THE WITNESS:      I answered that.       I simply don't

recall saying anything, and in terms of Ms. Martin, I

would not say that she was a woman of limited

resources, especially at that particular time.               She

had sold her house, she had sold it and made a profit

of two, $300,000.      So I mean, there was liquid

capital.

       BY MS. JOHNSTON:

Q.     But I used -- earlier when I asked that

question, I used the words limited means.             I want to




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make sure you're telling us that you didn't say

yesterday that Ms. Martin was a woman of limited

resources.

A.     I had no way of knowing.         I never looked at her

checkbook, never asked her what her net worth was,

never asked her what she was financially capable of

undertaking.     She would come and say this is something

that she wanted to explore.         I would work out a

financial sheet for her, cost analysis, present it to

her, and she decided up or down.

Q.     That would have been about the dance studio and

about the concerts?

A.     Yes.

Q.     In 2004; correct?

A.     Right.

Q.     You also mentioned Harvey Starr Washington.

A.     Yes, Mr. Washington.

Q.     You've known him since the early 90s; is that

correct?

A.     Yes.

Q.     Indeed, I think yesterday you testified Ms.

Martin had been involved in three of his shows; is

that correct?

A.     Yes.

Q.     And that the -- do you recall the dates of those




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shows?

A.       I just know that it was, you know -- I went to

three shows that Ms. Martin provided the tickets for,

and that was 2000 -- I would say 2001, 2002, 2003.

Q.       Would it be safe to say -- do you recall the

last show being a tribute to Ms. Martin?

A.       It was a lavish tribute to Ms. Martin, yes.

Q.       That would have been the last one that you

attended?

A.       That would have been the last one that I went

to.

Q.       And the last one that you got tickets from Ms.

Martin to; is that correct?

A.       Yes.

Q.       Now, Mr. Garner, if I understand your testimony,

you don't have any involvement with drugs; is that

correct?

A.       N, o I don't.

Q.       In fact, you have a strong dislike for people

involved with drugs, users or sellers of drugs; is

that correct?

A.       Well, I understand people have weaknesses in

terms of using, and if it's considered a medical

illness, then I don't have any aversion to that.

People need to be helped.         In terms of selling drugs,




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I do have an aversion to it.

Q.     Do you recall testifying yesterday that you had

a family experience that really made you strongly

opposed to --

A.     Yes.

Q.     -- drugs?

A.     Right.

Q.     Those drugs would include, marijuana -- any

drug, cocaine, heroin?

A.     Any drug that has an adverse effect on the

development of an individual, yes.

Q.     Certainly, Ms. Ali would not then -- was aware

of your feelings; isn't that correct?

A.     That's true.

Q.     And Ms. Ali certainly then would have done

everything in her means to hide from you her

involvement with drugs; is that correct?

A.     Yes.

Q.     You weren't working in her school during 1999 or

-- was it 1999 when you started in the school system?

A.     I started in the school system, but I also --

that's not true.      I did work with Ms. Ali for three

years in the after-care program, so I did work with

her extensively while she was in school.

Q.     But you didn't work with her during normal




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business hours?

A.     Not after 1999, no.

Q.     In fact, as you told us, she would drop you off

to your school, go to her school, and then pick you up

at your after-care location?

       MR. MCKNETT:      Objection, Your Honor.         May we

approach?

       MS. JOHNSTON:      Is that correct?

       THE WITNESS:      That's correct

                 (At the bar of the Court.)

       MR. MCKNETT:      Your Honor, I object to this

entire line of questioning.         Ms. Johnston, without any

factual basis at all, is trying to raise an inference

in the mind of this jury that my client was involved

in drug activity at the school where she worked.

There was absolutely no basis for that, even that line

of questioning, let alone that assumption.

       MS. JOHNSTON:      Mr. Garner said she didn't get

any drugs in front of him.         He never saw her use drugs

or buy drugs.     I need to show she had an opportunity

to do it at other places at other times without him

being present.

       THE COURT:     That's the purpose of the question.

       MR. MCKNETT:      Your Honor, it's simply unfair.

It's -- it would incite the jury.




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       THE COURT:     I will permit it for the purpose

that she just indicated.

       MR. MCKNETT:      What was the purpose?

       MS. JOHNSTON:      The purpose is to show she had

other opportunities to sell and to buy drugs.

       MR. MCKNETT:      Your Honor, the entire line of

questioning is improper because there is no basis for

it.   All the evidence shows is that in the evenings,

my client, from time to time, bought drugs from Ms.

Martin.   In the evenings, not during school days, no

drugs involving a school at all.           There is not an iota

to support any inference or any line of questioning

that my client was involved in any drug activity.

       MS. JOHNSTON:      Your Honor, I have a few more

questions.    I'm not going to focus in on the school.

The fact that it was a school, I want to show that

there were students at other times to use drugs and --

       THE COURT:     I think you should move on from the

school.

       MR. MCKNETT:      Not the school, Your Honor.

       MS. JOHNSTON:      She may have been doing drugs

with other teachers.       There is at least one other

person who worked in the school system whom I believe

she knew who purchased drugs at Ms. Martin's house.

       MR. MCKNETT:      There is absolutely no evidence of




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that.     I would like a proffer.

        MS. JOHNSTON:     I don't know that I need to give

a proffer in terms of that.         I think I am entitled to

ask this witness.

        THE COURT:    The objection is overruled.           I

cautioned counsel.

        MS. JOHNSTON:     Absolutely.

                     (Back in open court.)

        BY MS. JOHNSTON:

Q.      Mr. Garner, I believe you testified yesterday

that generally you would leave the house at 7:45, Ms.

Ali would drop you off at school, go to her school and

her after-care, and not pick you up until about 7:00.

A.      Seven o'clock, yes.

Q.      Then you would return home with her?

A.      Right.

Q.      You don't know what she was doing throughout

that time?

A.      We would talk throughout the day.           We have cell

phones.     Lunchtime.    If I had any issues -- she's a

computer technology teacher.          If I needed answers,

since I integrated technology in my classroom, I could

call her.     I could get software, she resolved a lot of

my software problems over the telephone, computer

problems, so I was in contact with her three, four,




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five times every day.

Q.       The last thing she was going to tell you that

she just picked up drugs from somebody or that she

just gave drugs to someone or that she just used

drugs?

A.       You're making a comment.       I can't respond to

that.

Q.       My question is, the last thing she would tell

you, who is so strongly against drugs, is that she was

using, purchasing, or distributing cocaine; is that

correct?

         THE WITNESS:    I simply can't answer that.

         MR. MCKNETT:    Overruled.

         BY MS. JOHNSTON:

Q.       You testified a lot about that search warrant

being executed; is that correct?

A.       Yes.   I was being detained.       He didn't have a

valid search warrant.       He said there was

technicalities with the search warrant.             He sent

someone out to get a search warrant.            So, how else was

I to take that?

Q.       Mr. Garner, the agents did recover this suitcase

in your residence; isn't that correct?

A.       That's my understanding.

Q.       And this suitcase that was loaded with $127,000




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of United States currency came out of your residence

in the closet where your clothes were, hidden in the

back; isn't that correct?

A.     Ma'am, that suitcase was given to me to hold for

another person.      I did not know what the contents were

of that suitcase.      I'm not in the habit -- I had no

reason to suspect that there was $127,000 in that

suitcase.

       I think all of us have had experiences where

friends say, could you hold something?             I'm moving.

They don't go rummaging through the other people's

personal effects.      I did not do that.        I was as

surprised as the agents were when they popped open the

suitcase and found money in the suitcase.

Q.     In fact, this is a suitcase that was found in

your residence in the closet that Ms. Martin had

stored there; is that correct?

A.     That's correct.

Q.     And it's a suitcase that the agents didn't come

bring into your house, it was in your house when they

got there?

A.     Yes, it was.

Q.     It's not a question of the agents, during that

time, they were there bringing this suitcase in and

planting it in your house?




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A.     Correct.

Q.     And it's your testimony that this suitcase was

there for two years?

A.     Two years.

Q.     And in addition to that, the agents also

recovered other items from your house; isn't that

correct?

A.     They took things out.         Once again, there was a

list that they left.       I cannot swear to what they -- I

cannot swear to what they took out.

Q.     If I can have the next miscellaneous number.

       When the search warrant arrived at the scene,

you saw a copy of the search warrant; is that correct?

A.      After 12 o'clock, yes.

       MR. MCKNETT:      May I see the exhibit, please?

       MS. JOHNSTON:      Certainly, Mr. McKnett.

       MR. MCKNETT:      No objection, Your Honor.

       BY MS. JOHNSTON:

Q.     Let me show you what's been mark as

Miscellaneous Exhibit 56.

       Do you recognize that as being the search

warrant that they gave you a copy of?

A.     They didn't give me a copy.          They showed it to

me.

       MR. MONTEMARANO:       Objection.




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       Your Honor, could we be heard at the bench?

       THE WITNESS:      They did not give me a copy.

       THE COURT:     Come to the bench.

                 (At the bar of the Court.)

       MR. MONTEMARANO:       Pursuant to the local rule, it

would seem that Ms. Johnston is seeking to admit this.

If she wants to show it to the witness for purposes of

identification, that's one thing.           I don't think

there's any reason to have the search warrant and the

appended affidavit admitted.          Perhaps the Return, but

I am concerned because I've not seen this             that there

may be inadmissible hearsay contained in it, and for

that reason I think it would be --

       MS. JOHNSTON:      If I could interrupt.         I don't

have the affidavit attached here, Mr. Montemarano.                It

is the search warrant with the attachment that is

referenced in here, and the Return.            I am more than

happy to take out the attachment and just use the

search warrant.

       MR. MONTEMARANO:       The attachment is already in

evidence, isn't it?

       MS. JOHNSTON:      Not that I know of.        At any rate

--

       THE COURT:     Well, if it does not have the

affidavits --




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       MR. MONTEMARANO:       I just want to be clear.

       THE COURT:     -- your objections are well

articulated but they are not well-founded.

       MR. MONTEMARANO:       That is the thing.        With all

due respect to Mr. McKnett whom I trust implicitly,

it's not his responsibility to protect Ms. Martin.

       Thank you, Your Honor.

       MS. JOHNSTON:      The objection is?

       THE COURT:     Overruled.

                     (Back in open court.)

       MR. MONTEMARANO:       For the record, Your Honor,

Ms. Martin would withdraw this objection after that

clarification.

       MR. WARD:     Ms. Dobie would concur, Your Honor.

       BY MS. JOHNSTON:

Q.     This appears to be the search warrant that he

showed you while you were there?

       Referencing your correct apartment number?

A.      Correct apartment number, yes.

Q.     And the date and time it was signed is on there?

A.     I mean, it's reflected on there.            Right.

Q.     It has Judge Connelly's signature; is that

correct?

A.     I assume that's his signature.

Q.     And then the last page there has a copy of




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what's known -- called the Return at the top.

        Is that the document you received copies of?

A.      Yeah, they did leave this.         Right.

Q.      It lists the items that were taken.

A.      That's two personal computers.          One laptop.

Documents, that's generic.         I don't know what that

was.    Suspected cocaine.      Once again, I don't know

what that was.     I didn't see any cocaine.

Q.      This was the document where they gave you a list

-- listed the items that they had taken; isn't that

correct?

A.      Well, you know --

Q.      Is that --

A.      -- the U. S. government -- excuse me, ma'am.

I'm looking at this.       U. S. currency on the document I

have, it said approximately $129,000.            I don't see

that.    The document he left me specifically stated how

much they approximated.        So, this is not the document

that they left with me, okay?          That is not the

document.

Q.      Okay.   In terms of the apartment.          You lived     at

620 Sheridan Street, that apartment building for how

many years?

A.      Four years, I think.

Q.      And on June 1st, you were living in Apartment




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301; is that correct?

A.     That's correct.

Q.     How long had you been living in Apartment 301?

A.     Living -- let's see.        What year was that?

Q.     This was June 1st of 2000.

A.     Since 2000.      The year 2000.      May of 2000.

Q.     Okay.     Where had you lived before -- what

apartment had you lived in before that?

A.     I had lived in 415, I think.

Q.     Do you know whether or not your wife continued

to maintain her driver's license with the old

apartment number on it?

A.     No.     She made that change.

Q.     Apartment 415 is in the same building; is that

correct?

A.     That is in the same building.

Q.     One floor up; is that correct?

A.     One floor up, yes.

Q.     So there's no disagreement whatsoever that that

suitcase came out of your apartment.

A.     No.

Q.     And that it was being stored there before the

police got there.

A.     Right.

Q.     Can I have Ali 7 and Ali 8 and the drug exhibits




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that go with them, please?

        Now I want to show you what's been marked and

introduced into evidence as Drugs 32 and stipulated to

as being cocaine.      Do you see that exhibit there?

A.      I do see an exhibit, yes.

Q.      That was not your cocaine from your house; is

that correct?

A.      I have no way of knowing.         I did not see any

cocaine in my house.       I had not discovered any

cocaine.   If there was cocaine there, I cannot vouch

where the cocaine came from.

Q.      Is this your cocaine, Mr. Garner?

A.      No, it is not.

Q.      Okay.   That was my question.

A.      Okay.

Q.      Let me show you Ali 7, these plastic baggies.

Okay.   Were these your plastic baggies?

A.      No, they were not.

Q.      Other than you and your wife, did anyone else

live or stay in your apartment for any period of time?

A.       We had people that would come in and spend

weekends and that.

Q.      In your discussions with your wife, she admitted

to you that these were her drugs; isn't that correct?

A.      No, she did not.      We never discussed that.




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Q.     You never asked her?

A.     No, I did not.

Q.     It was after her arrest she told you she used

cocaine; is that correct?

       MR. MCKNETT:      Objection, Your Honor.

       THE WITNESS:      That's husband and wife --

       MR. MCKNETT:      Objection.

       MR. MARTIN:      Objection.

       THE COURT:     Approach the bench.

                 (At the bar of the Court.)

       THE COURT:     What's the basis for your objection?

       MR. MCKNETT:      Your Honor, first of all, it's

post-arrest.     Second of all, it's a conversation with

the husband.

       THE COURT:     I can't hear you.

       MR. MCKNETT:      First of all, it was post-arrest

which was, I think, significant.           The second thing is

there is a husband-wife spousal privilege that my

client can invoke, and I would do that at this point.

       THE COURT:     You elicited from him on direct

examination drug use after -- that           he learned of drug

use after her arrest.

       MR. MCKNETT:      But not from her.

       THE COURT:     You elicited in that question --

       MR. MCKNETT:      No.   She's accused of it.         I




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specifically didn't ask anything that she told him.                   I

asked, did you learn after her arrest about drug

involvement and he said yes, but I didn't ask -- he

can find out from anybody.         He could find out from

reading the documents.

        MR. MONTEMARANO:       If I can consult with Mr.

McKnett for a moment.

        THE COURT:     Yeah.

        MR. MCKNETT:     In any event, Your Honor, I think

more importantly these are admissions that may or may

not have been made after the arrest and the

investigation was over.        They're not part of this

case.    What a wife may have told her husband is not

relevant to the government's case.

        MS. JOHNSTON:     First of all, I think it would be

highly relevant if Ms. Ali made statements to him

concerning her drug use.        I'm not sure if Mr. Garner

said, in response to Mr. McKnett's question, whether

or not he found out from his wife, so I can back up

and ask him if that's how he learned about her drug

use.    If so, then I think I'm entitled to ask him what

she said.    That would be an admission of her

involvement in the crime.         I don't think now that is

privileged information.

        MR. MCKNETT:     Your Honor, that would not be




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enough to waive the privilege.

       THE COURT:     Why is this not covered by the

spousal privilege?

       MS. JOHNSTON:      If he testified on direct, I

learned after my wife's arrest she used drugs.               If I

ask him the question, how did you learn that and he

says, from his wife, then I think it's waived, because

he testified on direct examination, I learned about

her drug use.     If it came from his wife, then his

testimony on -- his direct testimony would have been a

waiver of that privilege because he said, I learned

about her drug use.       If it's from his wife in that

statement "I learned about the drug use" would be a

waiver of the privilege in terms of that conversation

about her drug use.

       MR. MCKNETT:      Ms. Johnston overlooks the fact

that it's my client's privilege to invoke, not this

client's privilege to waive.          My client -- my

questions did not waive any privilege, and I do not

now waive any privilege that my client has.

       MS. JOHNSTON:      She called him -- she called him

to the stand to testify, so if he says, in response to

Mr. McKnett's question, did there come a time when you

learned your wife had a drug problem and he said, I

learned -- I did learn my wife had a drug problem,




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then by his question -- by Mr. McKnett's question, the

wife has waived the privilege, if that answer was

something he learned from a statement she made.

        MR. MCKNETT:     Ms. Johnston, because -- should

have objected to my question at that point if she had

a problem with the question.

        THE COURT:     Why would she have an objection to

that?

        MR. MCKNETT:     That's not the main issue.          The

main issue is, Your Honor, anything my client may have

told her husband is covered by the spousal privilege.

The privilege exists for my client.

        THE COURT:     I want to take a look at some law on

this.   Why don't you move on to other areas?

        MR. MCKNETT:     Well, Ms. Johnston has to.          It's

her witness right now.

        THE COURT:     I understand.

        MS. JOHNSTON:     Your Honor, may I at least lay

the foundation for the argument I've just made in

terms of you testified on --

        THE COURT:     Why don't you ask him -

        MS. JOHNSTON:     -- how did he know.

        THE COURT:     Do you recall -- did you testify at

the end of your direct examination that after the

arrest, with regard to that, your wife had, I guess,




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some problem with drugs?         Are you now telling me what

the information was that led you to that conclusion?

I want to know where the information came from.                Was

it from your spouse?        Was it from the police?         Where

did you get that?       And then we stop.

       MS. JOHNSTON:       Right.

       MR. MCKNETT:      Your Honor, if I had asked that

question and he says it's my spouse, then the

privilege has been violated.

       THE COURT:      We will ask that question out of the

presence of the jury --

       MR. MCKNETT:      That's fine.

       THE COURT:      -- when we take the recess.

       MS. JOHNSTON:       What question?

       THE COURT:      Why don't we do this?         We will take

the morning recess.       We will tell the jury to come

back at five minutes after 11.           They will march out,

you can ask the question, and then I will take a look

at the law.

                     (Back in open court.)

       THE COURT:      Ladies and gentlemen of the jury, we

will take a recess until five minutes after 11.

       Counsel, remain behind.

                     (Jury excused at 10:49 a.m.)

       THE COURT:      Ms. Johnston, you may proceed.




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       Mr. Garner, please be seated.

       BY MS. JOHNSTON:

Q.     Mr. Garner, you testified at the end of your

direct examination that after your wife was arrested,

you learned that she had a drug problem; is that

correct?

A.     No.    What I said was, the police officer came

into the room approximately 10 o'clock and said, your

wife appears to have a drug problem.            Didn't you see

the cocaine on the top of the dresser?             There was no

cocaine on top of the dresser in the bedroom when I

got up that morning.        That's what I said.

       MS. JOHNSTON:       Your Honor, I think we have a

problem here, because Mr. McKnett asked him at the end

of his direct examination whether he, subsequent to

her arrest, learned she had a drug problem and his

response was yes.

       MR. MONTEMARANO:        He's started to give the very

same answer the officer said, and Ms. Johnston

objected.

       MR. MCKNETT:      That's true.

       THE COURT:      Well, ask another followup question

or two, Ms. Johnston.

       BY MS. JOHNSTON:

Q.     After your wife was arrested, have you had




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discussions with her concerning her having a cocaine

problem?

A.     My understanding is that any conversations I had

with my wife is a very privileged conversation.

       THE COURT:      All you have to answer is yes or no.

You did or didn't have a conversation.             I don't want

-- you do not need to, at this time, give any

testimony about what your wife may have told you.

       THE WITNESS:      Yes.

       THE COURT:      The answer was?

       THE WITNESS:      Yes.

       THE COURT:      Did you have a conversation with

her?   And the answer is yes; is that right?

       THE WITNESS:      Yes.

       MS. JOHNSTON:       Those were after her arrest.

       THE WITNESS:      Not right after her arrest.

       THE COURT:      Sometime after her arrest.

       THE WITNESS:      Sometime after the arrest.

       MS. JOHNSTON:       Sometime after her arrest, you

had conversations with her?

       THE WITNESS:      Right.

       MS. JOHNSTON:       I think we're going to need to

know what that question was.

       THE COURT:      Why don't you follow up on the

question of has he learned about a problem that his




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wife may have with drugs from any other sources.

       BY MS. JOHNSTON:

Q.     Have you received information from any other

sources concerning her having a problem with drugs,

cocaine in particular?

A.     Well, how are you defining "problem?"              How are

you defining "problem?"

Q.     Did you learn -- from what sources did you learn

that your wife used cocaine?

A.     Pretty much from the fact that she was arrested.

Q.     In addition to knowing she was arrested for

cocaine, were there other sources that you received

information about her use of cocaine?

A.     No.    No one came to me and told me that they saw

her using cocaine.       So, no, there weren't other course

sources that I could say indicated that other than

conversations that I had with my wife, and that

remains privilege.

       THE COURT:      All right.     We will recess now until

five minutes after 11.        In the meantime, I would ask

the court reporter to locate the portion of the

transcript of the earlier testimony.

       You may also want to look for the question that

you alluded to earlier, if that's possible.               I don't

know if that's possible.




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        MS. JOHNSTON:      I would ask our court reporter to

research yesterday afternoon's testimony --

        THE COURT:     That's what I mentioned.

        MS. JOHNSTON:      -- for the phrase "limited

resources."     I think that will help her in terms of

trying to locate --

        THE COURT:     The first request I think she may be

able to take care of quickly.          The latter one I'm not

sure.

                     (Off the record at 10:52 a.m.)

                     (On the record at 11:13 a.m.)

        THE COURT:     What is the status of things?           I

understand you've had some discussions about this

matter.

        MR. MCKNETT:     Your Honor, I have had occasion to

discuss this matter with my client, and we have

elected to withdraw my objection.

        MS. JOHNSTON:      I am not going to ask that

question.

        THE COURT:     You just sent me on an exciting

foray into the Maryland statutory privilege of husband

and wife, and I was reading an article on Judge

Walters' endless decision in Brown versus State of

Maryland and I was ready to rule on this exciting

issue, and you just took it away from me.




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         MR. WARD:    Your Honor, you can save it.          You

might use it in another case.

         MR. MONTEMARANO:      Maybe you could just tell us

how you would have ruled.

         THE COURT:    Reassert the objection and you will

find out.

         All right, bring them back in.

                  (Witness resumes the stand.)

                  (Jury returns at 11:15 a.m.)

         BY MS. JOHNSTON:

Q.       Mr. Garner, let me go back to the items that

were seized from your residence.

A.       Okay.

Q.       Showing you what's been marked into evidence as

Drugs 33, and showing you P-1I.           That dresser drawer

there.     Was that your wife's dresser drawer?

A.       Yes.

Q.       I mean, night table drawer.         On the photograph

there.

A.       Right.

Q.       That was her night table drawer?

A.       Yes.

Q.       And these items were not your items; is that

correct?

A.       Correct.




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Q.     And they were -- at least according to that

picture, they appear to be in the drawer that was your

wife's night table; is that correct?

A.     Right.

Q.     And in there, there are two little rocks.               Do

you see those?      Two little white chunks of something?

A.     I do see that.

Q.     You don't know what that is?

A.     I do not know.

Q.     And that certainly was not yours.

A.     Right.     That's not mine.

Q.     I want to show you Ali 7.          Again, these baggies.

Are those -- were those your baggies?

A.     No.

Q.     Okay.    Drugs 32 I showed you before.            That was

not cocaine.

A.     No, it was not.

Q.     Likewise, showing you Ali 8.           Do you see Ali 8,

this item here?

A.     I do.

Q.     It was recovered in your bathroom.

A.     Okay.    I was unaware.       Where was that located?

Q.     Okay.    Have you seen this before?

A.     No, I have not.

Q.     Okay.    And so it was not yours.




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A.       Right.

Q.       Drugs 34 is also something recovered from your

bathroom.       Ever see that item before?

A.       No, I have not.

Q.       So it wasn't yours.

A.       Right.

Q.       So, none of these items which were found to

contain cocaine were your items; is that correct?

A.       That's correct.

Q.       And you had no knowledge of them being in your

house; is that correct?

A.       I have no knowledge that those items were in my

house.    Right.

Q.       Okay.    And this jewelry case here, where some of

those items were recovered.          There's a jewelry box --

jewelry chest, I think you referred to it as.               That

was your wife's jewelry chest; is that correct?

A.       That's correct.

Q.       Now, you mentioned that what you and your wife

had purchase -- that you and your wife had purchased

clothes from Ms. Martin?

A.       Yes.

Q.       And the men's clothes came from Kevin Scott?

A.       Some clothes came from Mr. Scott, if that's his

last name.       I remember Kevin.     I wasn't sure what his




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last name was.      Others, Ms. Martin had a catalog, and

if I saw something, I could put in an order.               She

would purchase it at wholesale prices.             So, I was

gaining maybe 60 percent or 70 percent from what it

would cost in a regular store.

Q.       Would you and your wife pay for those clothes

when you -- shoes and items when you got them, or did

you run a tab with her?

A.       No, we ran a tab.      If it wasn't too much, we

paid for it outright.        If not, we ran a tab and we

would pay on it as we got paid.

Q.       Did you have a joint tab, or did you each have a

separate tab?

A.       My understanding was we had a separate tab.              I

never asked Ms. Martin how she was tabulating it

because, essentially, my wife and I had a joint --

well, she had a checking account and all of my funds

went into the checking account, and she paid all the

bills.    So, a check would be written to Ms. Martin,

and I assumed that it would include both of our tabs.

Q.       So you paid Ms. Martin generally by check for

those items?

A.       Well, check and cash.       Check and cash.       It

depends on if we could get to the bank, but it's check

and cash.




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Q.     You don't know of any other tab your wife was

running with Ms. Martin during that time, do you?

A.     No.

Q.     In fact, if you had learned that your wife was

getting cocaine or crack cocaine from Ms. Martin, you

would have stopped going to Ms. Martin's house; isn't

that correct?

A.     If that was true, I would have.            Right.

Q.     So it was important that you not learn of that

kind of a relationship, isn't that correct?

A.     Correct.

Q.     Indeed, if any exchanges were to take place and

you observed anything suspicious, you would have

questioned what was going on; is that correct?

A.     Correct.

Q.     You mentioned that you saw Ms. Lavon Dobie at

Ms. Martin's house on occasion.

A.     Yes.

Q.     Did you ever smoke any marijuana with Ms. Dobie?

A.     No.

Q.     Have you ever been present in the house when Ms.

Dobie got -- smoked marijuana with your wife and Ms.

Martin and other people who were there?

A.     No.    No drugs were ever used in my presence.

Q.     So if Ms. Dobie testified that she shared a




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marijuana cigarette or a joint with you and your wife,

that statement would be --

       MR. WARD:     Objection, Your Honor.

       MR. MCKNETT:      Objection.

       Your Honor, that's not the testimony.

       MR. WARD:     That's not the testimony, and if she

wants it written up and played back we will be glad to

do that.

       THE COURT:      Yeah.    I'm not sure I recall it

either way.

       MS. JOHNSTON:       Your Honor, it's the government's

recollection that Ms. Dobie testified she shared

joints with people at the house, including Ms. Ali and

her husband.

       MR. WARD:     Your Honor, if --

       THE WITNESS:      That's not true.

       MR. MCKNETT:      If we can state our recollection

now.

       MR. WARD:     I will state my recollection, which

it is, and it is not that.         If the government states

that that is its recollection, I ask that it be found

and typed up and prepared.

       MS. JOHNSTON:       I will leave that question and go

on to another area.

       THE COURT:      Yeah.    Leave that and go on.




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       BY MS. JOHNSTON:

Q.     Certainly, you weren't going to be a participant

in the use of any illegal drugs.

A.     No.    If I saw that, I would have said, let's get

up and let's go.      That never took place in my

presence.

Q.     Likewise, any use of cocaine by Ms. Ali would

not have done in your presence, because you were

opposed to drugs; is that correct?

A.     I never saw my wife use drugs.

Q.     And you never saw her with drugs.

A.     I never saw her with drugs.

Q.     And you never saw her give drugs to anyone.

A.     Never saw her give drugs to anyone.

Q.     If you had, it would have caused issues for you

with your wife; is that correct?

A.      We would have dealt with that immediately.

Q.     All right.      So in fact, it was very important

that any of those activities be kept secret from you.

       MR. MCKNETT:      Objection, Your Honor.

       THE WITNESS:      I can't answer that.         You're

asking me to speak for my wife.           You know, I just --

       MR. MCKNETT:      Mr. Garner.

       THE COURT:      Mr. Garner, please understand

something.     I have a role to play here.




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       THE WITNESS:      Okay.

       THE COURT:      When somebody says the magic word

"objection," freeze.

       THE WITNESS:      Fine.

       THE COURT:      You have to wait until I say the

magic words "overruled" and then you can answer.                If I

don't say that, stop --

       THE WITNESS:      Right.

       THE COURT:      -- because when you blurt something

out, it's out.

       THE WITNESS:      I understand.       Thank you.

       THE COURT:      You've got to stop doing that.

       MR. MCKNETT:      Your Honor, I have objected to

the question.

       THE COURT:      Sustained.     Disregard the answer.

       Now let's start with another question.

       BY MS. JOHNSTON:

Q.     We had a conversation before the break about

your testimony yesterday concerning Ms. Martin being a

person of limited resources.          Do you recall that?

A.     I recall you asking me the question.              Upon

further reflection, I recall a question that the

attorney asked me, if I had the resources would I have

invested in the entertainment project and I said not

with my limited resources.         Not with my limited




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resources.

Q.     So you never said that Ms. Martin was a woman of

limited resources?

A.     I don't recall having said that, no.

       MS. JOHNSTON:        Madam Reporter, would you please

read back the question and Mr. Garner's response?

       COURT REPORTER:        Question:     "Is this an example

of what you were describing in a previous conversation

about how the money wasn't working?"

       Answer:     "Yes.     And this was essentially the

nature of most of the conversations I had with Ms.

Martin during this period.         She was in contact with

people every day, and if my wife and I went over, she

would, you know, show me papers and just ask me to

look at it.     As you can tell, I had certain

trepidations about entering into these type of

arrangements, just given what the dollar figures are.

And to my knowledge, Ms. Martin was operating on very

limited resources, and so we were trying to maximize

whatever the investment was."

       THE WITNESS:        Within the context.

       THE COURT:      Wait until she asks you a question.

       THE WITNESS:        Okay.

       MS. JOHNSTON:        In fact, yesterday, you

referenced Ms. Martin as being a woman of "limited




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resources."

         MR. MONTEMARANO:      Objection.

         Mischaracterizes the answer.

         THE WITNESS:     No, I'm not characterizing her.

I'm characterizing the project themselves.              I mean,

there's projects that even Bill Gates won't spend

money on.

         MS. JOHNSTON:     You believe a woman of -- is a

woman of limited resources who stores almost --

         MR. MCKNETT:     Objection, Your Honor.

         It misstates the testimony.

         THE COURT:     Overruled.

         MS. JOHNSTON:     You believe a person is of

limited resources, when they store roughly $129,000 in

cash in your apartment; is that correct?

         MR. MCKNETT:     Objection.

         MR. MONTEMARANO:      Objection.

         Basis for knowledge.        He had no knowledge of the

money.    Therefore, he could not begin to formulate

such an answer.

         THE COURT:     If he had no knowledge, he can so

state.

         THE WITNESS:     I had no knowledge.

         BY MS. JOHNSTON:

Q.       You had no knowledge of that yesterday when you




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testified that that's what was in that suitcase; isn't

that correct?

A.       No.     No.   The amount of money just came to bear

today.    I had no knowledge.        I had knowledge of what

the agent told me when he was leaving the house on a

document that's not the same document that you

presented to me.

Q.       Okay.     So you had knowledge, when you testified

yesterday, that roughly -- I'll use the figure you

gave us before the break -- that there were

approximately $120,000 of currency that Ms. Martin was

storing in your residence when you testified

yesterday.

A.       The officer blurted out something to me.              I

understand that's hearsay evidence.            He didn't sit

there and count it in front of me, ma'am.

Q.       Well, you saw the money.

A.       No.     I saw one package.      I doubt if $129,000

was in that package.

         MS. JOHNSTON:      Court's indulgence.       I have

nothing further with this witness.

         THE COURT:      Any redirect?

         MR. MCKNETT:      Yes, Your Honor.

                        REDIRECT EXAMINATION

         BY MR. MCKNETT:




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Q.      Mr. Garner, when is the first time that you

discovered that there was money in the blue suitcase

that you had stored in your closet at Ms. Martin's

request?

A.      When the agents opened the suitcase.             Prior to

opening the suitcase and yelling out, look what we

found, that was the first time.           I was as surprised as

anyone.     I mean, I was surprised that it was that

amount of money in the suitcase, given the fact that

there are keys, you know, three or four different

people having keys to the apartment.            It wasn't

secure.     Someone could have easily come in -- I mean,

we had problems with a couple of mice, I mean, so

people were coming in.        The maintenance people had

keys.     They could come in at any time during the day.

If I had known, I would have returned it or it would

have been some place far more secure than just in the

closet and in my apartment.

Q.      Mr. Garner, did you ever consider Ms. Martin to

be a person of limited means?

A.      No.    I mean that -- you know, that never entered

my mind.      In fact, I never think of anyone as having

limited means.      I used that term solely in terms of

how much capitol was available to invest in a project.

I mean Dan Snyder goes to the bank and gets a loan to




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buy the Redskins.       He didn't put up $800 million.

Technically, you could say he has limited means,

because he didn't buy the team and pay cash for it.

There are issues in terms of cash liquidity, and I

think all of us understand that.

Q.     So your testimony was that the project you

described had a budge and a limited amount of money

was available.

A.     For that particular budget.

       MS. JOHNSTON:       Objection.

       Counsel is leading the witness.

       THE COURT:      Overruled.

       BY MR. MCKNETT:

Q.     Ms. Johnston asked you a question about

Apartment 415 in your building.           Do you remember the

question?

A.     Yes.

Q.     With reference to June 1st 2004, do you know

where the officers were that morning before they

entered your apartment?

       MS. JOHNSTON:       Objection.

       THE WITNESS:      They broke into 415.

       MS. JOHNSTON:       Objection.

       THE COURT:      Basis?

       MS. JOHNSTON:       It's withdrawn, Your Honor.




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        THE COURT:     All right.

        MR. MCKNETT:     You can answer.

        THE COURT:     You may answer.

        THE WITNESS:     They broke into Apartment 415.

        BY MR. MCKNETT:

Q.      Mr.     Garner, I'm going to show you what's been

marked as Government's Exhibit Miscellaneous Exhibit

56.

A.      Sure.

Q.      I'm going to direct your attention to the last

page.

A.      Okay.

Q.      I will put it on the top, but it's the last

page.   Do you recognize that document?

A.      This is not the document that the people left

with me, no.

Q.      How do you know it's not the document that the

people left with you?

A.      They stipulated other things that are not on

here in terms of U. S. currency.           They clearly stated

how much money they approximately felt was there.

Q.      If you look toward the -- let me put this on the

screen here.      It says at the top "two personal

computers."      Did they show you two personal computers

when they were taking them out of the apartment?




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A.     No.    They took things out.         They did not stop

and have me check off the list that they gave me in

terms of what was departing the apartment.

Q.     So they didn't show you a laptop, either.

A.     They did not show me a laptop, no.

Q.     Did they show what documents they were taking?

A.     They put documents in a transparent cellophane

bag and just said "documents."           I had no idea what

they took out.

Q.     They didn't let you examine the documents?

A.     No.    No.   In fact, I'm still looking for certain

documents.     So, I really don't know what documents

they took out.

Q.     Did they show you what they've labeled here as

"suspected cocaine?"

A.     Well, they came out with one package and said,

-- well around 10 o'clock, they came out with one

package and said, we found cocaine on the dresser.

And I said, no, it wasn't on the dresser.              They came

out around 12 o'clock with two brown bags -- I mean

two transparent bags saying there was hashish, heroin,

and some other suspected capsules which were health

pills that were mine.        I mean, the two capsules and

unknown brown substance.

Q.     You're referring here?         (Indicating.)




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A.     Yeah.    Right at the bottom was in two capsules

which came from a health store.

       They had another bag that was a brown substance.

They said it was hashish or some other kind of drug

which, I mean, you know, none of that was presented in

the evidence that she presented to me.

Q.     I want to come back up to this suspected

cocaine.    You just testified that they told you it was

on the dresser.

A.     At 10 o'clock the gentleman came in, the lead

officer, and that's when he said, your wife has a

severe drug problem.        Did you see the cocaine on the

dresser?    And I just looked at him, because there was

cocaine on the dresser, and if it was cocaine on the

dresser, someone put it there.

Q.     Was there cocaine on the dresser when you awoke

that morning and walked --

A.     There was no cocaine --

Q.     -- excuse me, when you walked past the dresser

on the way to the bathroom?

A.     There was no cocaine on the dresser as I walked

past the dresser on my way to the bathroom.

Q.     There is a line item here for paraphernalia,

baggies, pipes, scales.         Did they show you the

baggies, pipe and scales?




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A.     None of that was ever mentioned to me.              I never

saw anything that had a -- was a baggy.             I never saw

anything that was a pipe.         I never saw any scales.

       And that was not on the document that they left

with me.

Q.     Mr. Garner, I'm going to -- Your Honor, may I

approach and show him some of these exhibits?

       THE COURT:      You may.

       THE WITNESS:      Sure.

       BY MR. MCKNETT:

Q.     First, let me put this exhibit back in the

envelope.

A.     Oh, okay.

q.     I'm returning Exhibit 7 -- miscellaneous Exhibit

7 to the envelope, Your Honor.

       Mr. Garner, I want to draw your attention to

some of the items that were shown to you earlier.

This is Drugs 32.       These were shown to you by Ms.

Johnston; right?

A.     Correct.

Q.     And Drugs 32 is a large plastic bag, and in                the

bottom is a very small plastic bag about 1" or less by

1" or less.     Do you see that?

A.     Right, right.

Q.     It's got a red bag on it, but just ignore the




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tag for now.

       Have you ever seen bags like this?             The small

bag.   Not the big evidence bag, but the small bag.

Have you ever seen baggies like that around your

apartment?

A.     No, I have not.

Q.     I'm not sure if Ms. Johnston showed you this or

not, but I will.      It's been marked as Government

Exhibit --

A.     She did show me that.

Q.     Have you ever seen this item before today?

A.     No, I have not.

Q.     I'm showing you what's marked as Drugs 34 which

appears to be again a large evidence bag with a

photograph -- Polaroid photograph in it and then a

crumbled up piece of tinfoil -- aluminum foil.               Do you

see that?

A.     Yes, I see it.

Q.     Have you ever seen that before today?

A.     No.    No.

Q.     Have you ever seen any items that resembled that

before today?

A.     Not around the house.         No, I have not.       Nor the

apartment at the time.

Q.     I'm showing you what's marked as Exhibit




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Government Drugs 33, which is a large evidence bag

with what appears to be a jewelry box of some sort.

A.     Right.     Some type of, yeah, jewelry.

Q.     Is this -- does this appear to be the jewelry

box that was in the photograph of the dresser drawer

that I showed you earlier today?

A.     Yes, it does appear to be.

Q.     There are two straws in here.

A.     Right.

Q.     Do they resemble, in your opinion, anything

other than ordinary drinking straws?

A.     They're just -- yeah.         It appears to be ordinary

drinking straws, but as I indicated to the --

Q.     Have you seen ordinary drinking straws around

your apartment?

A.     I think in the kitchen we had -- because we

would have kids -- my son would come over, my

grandkids, so we would have straws for them.

Q.     I'm showing you, if I can get them to separate

in this bag -- I'm not having much success, but there

is -- appears to be a napkin in here.             Do you

recognize that?

A.     Yeah.    It appears to be a holiday napkin -- one

of the holidays we had napkins similar to that.

Q.     Does that appear to be the napkin that was also




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in the photograph of the dresser drawer, along with

the jewelry box?

A.      Yes.

Q.      And then also in this exhibit Drugs 33, there

are other smaller plastic baggies Ziploc baggies.                Do

you see them?

A.      I see those.

Q.      There appears to be at least one the same size

as the baggy that was in Exhibit 32 and then a

somewhat larger -- two somewhat larger Ziploc baggies.

Do you see them?

A.      I do see those.

Q.      Have you ever seen these baggies before today?

A.      No, I have not.

Q.      Have you ever seen baggies similar to this

around your apartment?

A.      No, I have not.

Q.      Finally, I'm showing you what's marked as Ali

Exhibit 7 which contains -- appears to be two items,

one of which is hard to see in the bag, but it appears

to be a short piece of straw there?

A.      Right.

Q.      Does that appear to be anything other than an

ordinary drinking straw that's been cut to a smaller

size?




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A.       That's what it appears to be.

Q.       And we also have in here small Ziploc baggies

somewhat larger than Exhibit 32, somewhat smaller than

the larger bags in exhibit Drugs 33.            Do you see them?

A.       Yes, I do.

Q.       Have you ever seen baggies of this sort around

your apartment?

A.       No, I have not.

Q.       Have you ever seen baggies like this before

today?

A.       No.   Today is the first time.

Q.       Mr. Garner, again, with reference to this

suitcase.      There are three book safes here.

A.       Mm-hmm.

Q.       Have you seen these before?

A.       No, I have not.

Q.       There is a piece of paper that indicates there's

$129,600 in this suitcase.         Did you know there was

$129,600 in this suitcase when it was in your closet?

A.       No, I did not.

Q.       There are money wrappers and money envelopes

from Sun Trust Bank.        Did you know that the money in

this suitcase was wrapped in these wrappers that came

in these envelopes?

A.       No, I did not.




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Q.     There is a list from California Security Cans

Company in California dated June 1996.             Have you ever

seen this list before?

       Let me bring it over to you and show it to you.

It's marked as Ali 1E.        Have you ever seen this list

before today?

A.     No, I haven't.

Q.     There are a number of small boxes.             Let me show

these to you.      They appear to be Tanita mini slim

scales and Tanita digital scale professional mini.

       Do you see them in here?

A.     This is the first time I'm seeing those.

Q.     Have you ever seen anything like this -- like

these scales around your apartment?

A.     No, I have not.

Q.     And here is a stack of papers.            It's marked as

Ali 1F.    Are you familiar with these papers?

A.     No.    The only thing I knew is what Ms.- --

Q.     Are you familiar with these papers?

A.     No, I'm not familiar with them.

Q.     Have you ever seen them before today?

A.     No, I have not.

Q.     This is the suitcase that was closed and locked,

and you didn't have a key; correct?

A.     I did not have a key, no.




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Q.       And this suitcase was in your closet because Ms.

Martin, a person you trusted, asked you to hold onto

it for her.

A.       Correct.

         MR. MCKNETT:     Thank you, Mr. Garner.

         THE COURT:     All right.    Any recross?

                       RECROSS-EXAMINATION

         BY MR. MONTEMARANO:

Q.       You visited Ms. Martin's home and you said you

didn't remember the street address because you don't

drive; is that a fair statement, sir?

         MS. JOHNSTON:     Objection.

         Beyond the scope of cross.

         THE COURT:     This is not within the scope of the

cross.

         MR. MONTEMARANO:      He was asked about limited

resources by Mr. McKnett.

         THE COURT:     Sustained.

         MR. MONTEMARANO:      May I approach?

         THE COURT:     You may.

                    (At the bar of the Court.)

         MR. MONTEMARANO:      I have, perhaps, five

questions relating to his having seen this house and

being aware what kind of car she drove, and then I was

going to ask, in terms of the limited resource phrase,




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if he used -- if he considers 50 or 100 or $100,000 a

large amount of money.        They're based on Ms.

Johnston's cross.       She's trying to discredit this man

and make it seem like he's a liar on Ms. Martin's

limited resources.

       THE COURT:      She's not trying to do that.           The

question about the house, he said he had been there

but didn't know the address.

       MR. MONTEMARANO:        His awareness of what the

property looked like and limited resources.

       THE COURT:      She didn't own that house.

       MR. MONTEMARANO:        She did.

       THE COURT:      That one?

       MR. MONTEMARANO:        This is where she lived, the

one she told for the $300,000 profit.

       MS. JOHNSTON:       He testified to that, Your Honor.

       This is way beyond my cross-examination.

       THE COURT:      This is beyond the cross.

       MR. MCKNETT:      If I may be heard on this.           The

witness did testify he visited Ms. Martin at this

address several times a week the first couple of years

that he knew her.       I also asked questions about

limited resources, in response to Ms. Johnston's

question.

       THE COURT:      I'll give you five questions; you




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count them out any way you want.

       MR. MONTEMARANO:        Fair enough.

                     (Back in open court.)

       BY MR. MONTEMARANO:

Q.     Just a very few question, Mr. Garner.

A.     Sure.

Q.     I'd like to show you these photographs.              Look at

all of them, if you would be so kind.

       This is P-4 -- Government's P-4.            I'm going to

get this a little wider.

       This is Government's P-3.

       And last but not least, Government's P-2.

A.     Yes, that appeared.

Q.     That would be Ms. Martin's home that you visited

her at --

A.     Yes.

Q.     -- when you met her?

A.     Yes.

Q.     This is the one that she sold for the large

profit?

A.     Yes.

Q.     When she lived here, she drove a red Mercedes,

did she not?

A.     Yes, she did.

Q.     Would it be fair to say that in your view, 50 or




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100 or $150,000 isn't a lot of money in the concert

promotion business?

A.       No.    No.   Generally, in the projects that we

were discussing, you would need a minimum of 225, 250,

and the bigger the acts up to a million, million and a

half, money up front.        So the idea was that you had to

begin small, making limited profits, build on that so

that you could get the big acts.           At the smaller

venues, really, the promoters don't make that much

money.     The big money comes from being able to be at

MCI Center or Verizon or something like that with

20,000, 30,000 people at $60, $70.            Then you start

looking at gross revenue of $2.1, $3 million, $4

million.       That's where the promoter's money comes

from, not from a 2,000, 3,000 seat place selling

tickets for $40.       The money just isn't there.

Q.       So an investment -- Number five, Your Honor.              An

investment of $150,000 -- no more -- would be in your

view a limited application of resources to a project

such as that?

A.       Really in a small market.        I mean, you can go --

and that was the reason for the father/son, Eddie and

Gerald Levert being in Charlotte or Birmingham and

places like that, because it was a small market area,

and therefore you could at least recoup what you had




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invested.

       MR. MONTEMARANO:        Thank you very much.

       THE COURT:      Any other recross?

       MS. JOHNSTON:       Yes, sir.

                      RECROSS EXAMINATION

       BY MS. JOHNSTON:

Q.     Mr. Garner, was your wife home when Ms. Martin

came over and got things out of her suitcase?

A.     Yes, she was.

Q.     It was always the blue suitcase that she got

things out of?

A.     Yes.

Q.     You don't have a copy of that sheet of paper --

       MR. MCKNETT:      Objection, Your Honor.

       I don't think this is within the scope of my

redirect.

       THE COURT:      Overruled.

       BY MS. JOHNSTON:

Q.     I didn't finish the question.

       You don't have a copy of the sheet that the

officers left you, do you?

A.     No, I don't.

Q.     Finally.     During your discussions with Ms.

Martin about investing the money in the concerts in

2004, did Ms. Martin ever say to you, hey, why don't




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you bring me that $100,000 I have in the closet?

A.     Ma'am --

Q.     Did Ms. Martin ever ask you?

A.     No, she did not.        No.

Q.     In terms of these concerts and starting out

small and moving up until you make millions of

dollars.    None of the concerts that were planned with

Ms. Martin were actually held at any time in 2004;

isn't that correct?

A.     Correct.

       MS. JOHNSTON:       I have nothing further.

       THE COURT:      All right.     Anything further?

       All right, you may step down.           Thank you.

                     (Witness excused at 11:48 a.m.)

       MR. MCKNETT:      Your Honor, is Mr. Garner excused

now?   Can he remain in the courtroom?

       THE COURT:      Any objection from the government?

       MS. JOHNSTON:       No, sir.

       THE COURT:      He may be excused.        He may remain in

the courtroom.

       MR. MCKNETT:      Thank you, Your Honor.

       Your Honor, the defense would now call Ms. Ali,

but there is one preliminary matter I would like to

address with the court before she takes the stand.

       THE COURT:      All right.     We'll recess -- jury, I




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will excuse you for about five minutes and have you

come right back.

                      (Jury excused at 11:49 a.m.)

         THE COURT:     Mr. McKnett.

         MR. MCKNETT:     Yes, Your Honor.       What is the

court's preference with regard to the lunch break is

concerned?

         THE COURT:     Well, you know, I'd like to break at

or before 1:00.

         MR. MCKNETT:     Okay.

         THE COURT:     Perhaps a little earlier than 1:00.

         MR. MCKNETT:     I'll find an appropriate breaking

point.    Your Honor, the main matter I wanted to ask

the court about is the transcript.            The government

made a transcript B5728.          That's the only purpose I

want to put it in so I can argue that Ms. Ali was

coming over for a legitimate reason, as opposed to a

drug reason, which was the interpretation of their

expert.

         THE COURT:     What is the government's position on

playing that recording?

         MS. JOHNSTON:     Your Honor, I was looking at my

copy of the un-redacted calls.           I think the court was

going to allow them to play it, originally.

         THE COURT:     I wasn't going to allow them to play




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it originally, but I'm convinced unless you tell me

otherwise that -- to put that call into context that I

will tell the jury it's being received for the limited

purpose to allow them to get a context of this               other

call three minutes later.

       MR. MCKNETT:      Your Honor, we do have something

of an administrative problem.

       MR. MONTEMARANO:        It's my fault, Your Honor.

       MR. MCKNETT:      It's not his fault at all.           I

didn't make the decision until last night I wanted to

play this call.      Apparently, Mr. Montemarano has

removed from the building the transcripts that were

extracted.

       MR. MONTEMARANO:        It's a big box.       I thought I

would tidy the courtroom.         It's my mother, the

Registered Nurse in me.

       MR. MCKNETT:      What I thought I would do is play

it for the jury and then let them know we were

providing --

       THE COURT:      Do you need to play it now?

       MR. MONTEMARANO:        It's three-page call.        If Mr.

Krinsky can make us 20 or 30 copies.

       THE COURT:      It can be done in a heartbeat.

       MR. MCKNETT:      I'm sure I can fill the next hour.

       THE COURT:      I'm sure you can.




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       Are we ready to bring the jury in?

       MR. MONTEMARANO:        Your Honor, I was going to

give my copy to Mr. Krinsky, and I will take care of

stapling while Mr. McKnett is finishing.

       THE COURT:      Is he here?

       MR. MONTEMARANO:        He's vanished.      Maybe when he

comes back we can ask him to make 30 copies of this

three-page transcript.

       THE COURT:      You call him.

       MR. MONTEMARANO:        Thank you, Your Honor.          I

apologize for being too -- I'm sorry, Judge.

       THE COURT:      All right.     Let's bring the jury in.

               (Jury returns at 11:57 a.m.)

       THE COURT:      You may proceed, Mr. McKnett.

       MR. MCKNETT:      Thank you, Your Honor.          The

defense would call LaNora Ali to the stand.

Thereupon,

                           LaNORA ALI ,

having been called as a witness on behalf of the

defendant, LaNora Ali, and having been first duly

sworn by the Courtroom Deputy, was examined and

testified as follows:

                       DIRECT EXAMINATION

       BY MR. MCKNETT:

Q.     Good morning, Ms. Ali.




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A.     Good morning.

       COURT REPORTER:       Could I get your name, please,

for the record?

       THE WITNESS:      LaNora Ali Garner.

       BY MR. MCKNETT:

Q.     Ms. Ali, I want to ask you some questions about

your background.      Where were you born?

A.     I was born in Newark, New Jersey.

Q.     How long did you live in Newark?

A.     Until 1971.

Q.     When were you born?

A.     1953 until 1971.

Q.     Did you go to school -- high school in Trenton?

A.     I went to high school in Newark, New Jersey.

Q.     Excuse me.      Newark, New Jersey?

A.     Yes.

Q.     Did you graduate from high school in Newark?

A.     Yes, I did.

Q.     What high school was that?

A.     Weekwake High School in Newark, New Jersey.

Q.     Did you continue your education after high

school?

A.     Yes, I did.

Q.     Where did you go to college?

A.        I attended American University in Washington,




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D. C.

Q.      Did you graduate from American University?

A.      Yes, I did.

Q.      Did you obtain a degree?

A.      Yes.

Q.      In what field was your degree?

A.      A bachelor of arts and science in elementary

education.

Q.      Did you continue your education?

A.      Yes.

Q.      What did you pursue after your got your

bachelors?

A.      I have attended Trinity University, Catholic

University.     In order to teach, I had to get

recertified.     They were not hiring teachers at that

time, so I had to go back to school and take

additional classes, and so I have what you call a

equivalency to a masters degree, and that was from

taking courses at several different universities in

Washington, D. C.

Q.      Were you working while you were approaching that

master equivalency?

A.      Yes.

Q.      Where were you working?

A.      Started out at the National Institutes of




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Health.    I worked there from 1972 until 1977 -- '75.

I worked with the D. C. Public School System.               I

started out --

Q.     Excuse me, Ms. Ali.        Let me interrupt for a

second.

       What did you do for the National Institutes of

Health?

A.     I worked with Dr. Brinzinki [ph.], and we were

one of the first people to start dealing with

cholesterol.     So, I went around to different sites

setting up cholesterol screening in the Washington

metropolitan area.

Q.     How long did you have that occupation?

A.     From 1972 until 1975.

Q.     Was it in 1972 when you graduated from college?

A.     No.    I graduated from 1975, but I had a -- I

worked on a work study program there during my summer

vacations and semester breaks.

Q.     What did you do as far as employment is

concerned after you graduated in 1975?

A.        I entered the D. C. Public School System, where

I subbed for two years, and then I started working as

a temporary teacher in 1977.

Q.     What schools were you teaching in?

A.     I taught at Trusedale Elementary, Takoma Park




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Elementary, Brookland Elementary, Clark Elementary,

Barnard Elementary, Shad Elementary, Louis Elementary

--

Q.     These were all --

A.     Gage-Eckington in Washington D. C, yes.

Q.     These were all substitute teaching positions?

A.     Oh, no.     I'm sorry.     I substituted in Trusedale

-- I substituted all over Washington, D. C., yes.

Q.     Did there come a time when you obtained a

permanent position teaching?

A.     Yes.

Q.     What school was that in?

A.     That was Louis Elementary School, located in

Washington, D. C.

Q.     What grades were you teaching?

A.     Pre-K.

Q.     Did there come -- how long did you have that

position?

A.     From 1980.      The school closed in 1995.          I went

to Gage-Eckington from 1995 to 1998, and then I went

to Shad Elementary in 1998 as a technology teacher.

Q.     Were you still working at Shad Elementary as of

June 1st 2004?

A.     Yes.

Q.     Did there come a time when you met a gentleman




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named Ulysses Garner?

A.     Yes, I did.

Q.     Where did you meet him?

A.     I met him at Shad Elementary School.              I was

known as the hospitality person.           The school had just

been reconstituted and reopened the year prior to

that, and I was the one that kind of pulled things

together with my principal, and I noticed we had a new

male gentleman, and I went to him and asked him if he

needed any supplies and I said I was the person he

could contact if he needed anything.

Q.     It was there that your relationship developed

with Mr. Garner?

A.     Yes.

Q.     Ultimately, you wound up getting married to him?

A.     Yes.

Q.     When did that happen?

A.     We got married on July 29, 2000.

Q.     And then you began living together?

A.     Oh, no.     We started living together in October

of '99.

Q.     Okay.     Where were you living -- let me break

this down into periods.         Where were you living when

you met Mr. Garner?

A.     I was living at 620 Sheridan Street, Apartment




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415, Hyattsville, Maryland.

Q.     When you and Mr. Garner began to live together,

where did you reside?

A.     Apartment 415, Hyattsville, Maryland.

Q.     Where did you live after you were married?

A.     Apartment 307.       We moved in 2000.        Apartment

301, Building 620, Hyattsville, Maryland.

Q.     That's one floor down from where you had been

living in 415?

A.     Yes.

Q.     You were living there at the time of your arrest

on June 1st of 2004?

A.     Yes.

Q.     Where was Mr. Garner working -- strike that.

       Did Mr. Garner continue to work at Shad during

the entire time you've known him?

A.     No.    Because of the enrollment change, Mr.

Garner was the last one to come in, so the first one

to leave.     He left Shad and went to Alton Elementary

School about three months after he arrived at Shad.

Q.     When you say he left, do you mean he was

transferred?

A.     Yes.

Q.     He maintained his position as a teacher?

A.     Yes.




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Q.      Ms. Ali, let me finish my question before you

answer so that the stenographer can get it down

quickly, if you would.

        Can you describe an average day as a teacher

during the time you were married to Mr. Garner?

A.      Yes.   We would arrive at work around -- I would

drop Mr. Garner off.        He worked, like, five minutes

away from me, so I would arrive at my school about

8:30.   I would work from 8:30 until 12 o'clock.

Teachers would get a half an hour lunch, sometimes an

hour lunch.     It was according to the weather, what

schedule you were on, how many teachers were

available for recess duty.

Q.      Excuse me.     Recess duty?      What does that entail?

A.      Indoor duty with the children in the cafeteria

or outside duty with the children.            You did duty every

week.   It was according to how large your staff was or

how small your staff was if you received an hour or an

hour and a half, I mean, or an hour.            Most of the

times it was just a half an hour.

        The school ended for teachers at 3:30.             From

3:30 I would leave my classroom and attend the after-

school program.      I was the coordinator for the after-

school program.      From 3:30 to something to seven --                7

o'clock, according to how many children were left, I




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would be at Shad Elementary school.            Prior to -- I

didn't do that the first year of our marriage.               I

worked six days a week.         We didn't have after-care.

We had Saturday school.         So I was there every

Saturday.

Q.     What hours did you work on Saturday?

A.     From 8 o'clock to 1 o'clock.

Q.     Back to when you were working at Shad.

       During the normal school days Monday through

Friday, what were your hours again?

A.     From 8:30 to 3:30.

Q.     Did you have classroom assignments during that

entire period?

A.     Yes.

Q.     Was there ever a time -- strike that.

       Were you accountable to anyone at the school to

insure you were present at the school?

A.     Yes.    My principal.

Q.     Was there ever an opportunity for you to leave

the school during the class time?

A.     No.    Lunchtime.     If you had enough time to go

somewhere within a half an hour.

Q.     You had to be back within that half hour because

classes started again; is that correct?

A.     Yes.




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Q.     On those days when you had recess assignment,

you couldn't leave at all; correct?

A.     That was when we had the half an hour break,

yes.

Q.     Were you ever reprimanded or corrected in any

way for unauthorized absences from school while you

were working?

A.     No.

Q.     You mentioned your after school obligations.

What did they entail?

A.     I was in charge of anywhere from eight to ten

facilitators an aids, and anywhere from 80 to 110

children.     It started out as 50, 60, and the

enrollment increased gradually.           We had a program that

consisted of sports activities, community service,

academic pieces, a technology piece, and an arts

program.     The children would go from class to class,

whichever way the schedule was set up, and they would

participate in the activities.

Q.     Where was Mr. Garner while you were

participating in these after-school activities?

       MS. JOHNSTON:       Objection.

       THE COURT:      Overruled.

       THE WITNESS:      For two -- two or three years, Mr.

Garner worked in my after-school program.              We would




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have someone pick him up and bring him to my school so

he could be there at least by a quarter of four.

After that, he was employed in the after-school

program at his school.

Q.     You said you would have someone pick up Mr.

Garner.    Why was that?

A.     Because Mr. Garner does not drive.

Q.     At the end of the day, when you were finished

both your daytime teaching and your after-care

efforts, what did you do then?

A.     Can I back up?       Someone picked Mr. Garner up,

because I could not leave the facility because of the

children -- the aids -- I could leave my classroom to

go down and receive the classroom.            There was no one

there to receive the children, because they didn't

report until 3:30 so I would be there, and then I

would have someone go pick Mr. Garner up.

       Can you repeat your question again, please?

Q.     At the conclusion of the after-care sessions,

what would you do then?

A.     A lot of times I would drop children off,

because parents did not show up to pick them up prior

to dropping them off because the neighborhood wasn't a

very safe neighborhood.         At times I would go get Mr.

Garner first, and we would take the children home, and




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then we would go home.

Q.     So you went to get Mr. Garner.            Where was he?

A.     Alton Elementary School, about five minutes away

from Shad.

Q.     So this was after he had been --

A.     Yes.

Q.     -- detained at his after-care program at Shad?

A.     Yes.

Q.     And he participated in an after-care program at

his new school?

A.     Yes.

Q.     What time would it be when you picked him up?

A.     It varied.      It could be 6:30, quarter to seven,

7 o'clock, 7:15, according to if children were left

there unattended and I had to stay.            I had to stay at

least until 7 o'clock.

Q.     After you were finished dropping the kids off,

what would you do then?

A.     When he was with me, or if he was at Alton?

Q.     First, when he was with you.

A.     He was with me -- if we had to take children, we

would take children home.         If we didn't, we would

sometimes go to Ms. Martin's home after I picked him

up.

Q.     What would you do when Mr. Garner was at Alton?




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A.     I would go and pick him up, and then if we had

children to take home, I would take -- we would take

the children home.       If not, we would go home to do our

errands, or we would go to Ms. Martin's home.

Q.     Ms. Ali, I want to turn your attention now to

Ms. Martin.     You mentioned that you would sometimes go

to Ms. Martin's home.

       Who was Ms. Martin?

A.     Paulette Martin.

Q.     Do you see her today in the courtroom?

A.     Yes, I do.

Q.     How did you know Ms. Martin?

       First of all, how did you meet Ms. Martin?

A.     I met Ms. Martin for the first time -- maybe for

the second time in 1997 or '96.           I'm not certain, but

it's somewhere in that time frame.

Q.     Where was she living at that time?

A.     She was living in her studio.           She had a bed and

a couch and a lot of Christmas gifts in her studio.

The studio, Paula's School of Performing Arts on South

Dakota Avenue.

Q.     When was that that you met her?

A.     It was either 1996 or 1997, I'm not certain.

Q.     After you met Ms. Martin, did you develop a

relationship with her?




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A.     I didn't see Ms. Martin again until she moved

into her home, and I don't know what year I gauge it,

because we had a very close relationship with her

granddaughter, and I know her granddaughter was born

in 1998, if I'm correct, and I started a relationship

with Ms. Martin that year.         I also know, because I

moved to a new school, Shad Elementary, and I had

never seen anything like that before in my life, and I

used to go by Ms. Martin's house.

Q.     What do you mean?

A.     The school was very different.            It's very

stressful.     I had never seen children like that

before.

Q.     Could you be more specific as to what you mean?

       MS. JOHNSTON:       Objection.

       Relevance.

       THE COURT:      Overruled.

       THE WITNESS:      The children were out of hand.

The school had been closed down and reconstituted.

Everyone in the school had been let go.             No one that

worked there could come back.          They started a new --

started up with a new principal, faculty, the entire

staff, the maintenance and the cafeteria staff, and I

voluntarily transferred with my principal who came out

of retirement to take the school over.             It was a very




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-- we would stay up late at night trying to go out and

buy supplies for the school.          I mean, the school was

just in a wreck.      The children were just off the hook.

I had never seen anything like that on TV or anything.

They were out of control.         I would often leave there,

and I had started a relationship with Ms. Martin and

go to Ms. Martin's house and sit and talk to her about

the school and actually sit down and cry.

       BY MR. MCKNETT:

Q.     What time period was this again?

A.     1998.

Q.     Would Mr. Garner be with you when you went to

Ms. Martin's house?

A.     No.

Q.     Did your relationship with Ms. Martin continue

to develop socially after that?

A.     Yes, it did.      We became very close.         I talked to

her, and she would talk to me.           I was a single person.

I did not get married until I was 47.             My friends were

married and had children and they had young families,

so I didn't have a lot of time that I spent with them.

Ms. Martin became a person that I sat down and started

talking to a lot.

Q.     You mentioned Ms. Martin was originally living

at her studio; correct?




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A.       Yes.

Q.       Do you know when she moved out of the studio and

went to her home?

A.       I don't recall, no.

Q.       Do you recall the address of the home she moved

into?

A.       Not the exact address, but I know it's Bexhill

Court.     It was on Bexhill Court.

Q.       Did you ever visit Ms. Martin at Bexhill Court?

A.       Numerous of times.      Yes.

Q.       Can you describe to us the appearance of the

residence at Bexhill Court?

A.       It was a very lovely home.         You walked into the

foyer, and to the right was a library room; to the

left, a living room.        In front of you was the kitchen,

and the family room to the right.

Q.       Can you describe the furnishings?

A.       I can't describe it, but it was a custom-made

kitchen.     She had a lot of Danker's furniture in her

home.

Q.       A lot of what?

A.       Danker's furniture, Louis XIV, things like that.

Very elegant furniture.

Q.       Did you ever have occasion to form any opinions

about Ms. Martin's sources of income during that time




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period?

A.     No.    No, I didn't.      I just -- I knew she said

she worked -- well, I knew she worked with Danker's at

times was an interior decorator assisting people in

decorating their homes.         I knew she wrapped gifts, and

she would charge -- she wrapped beautiful gifts, not

just during the holidays but for special occasions,

for people.

       I would often travel with her to Annapolis,

Maryland.     She would -- had a license to buy clothing,

and she would purchase clothing for children -- for a

children's line, and they would have their line out in

the spring, and we would go there and she would let me

purchase some of the children's clothing.

       She used to do a lot of catalogs.             She would

have catalogs around the house where you could

purchase things from the catalogs and you could get

them for discount prices or wholesale prices.               I know

Ms. Martin was a hard person to buy something for.

When you would buy something for her, she -- I know

she had these large books in the home and she would

look up the manufacturer that produced the product,

and the next day she would have a box of something.

For instance, I was in Vegas, and I purchased some

money toilet tissue paper for her.            The next thing,




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Ms. Martin found out the company and she was buying

the paper and she was selling the paper to us.

Q.     Do you know anything about Ms. Martin's

inheritances?

A.     Yes, I do.

Q.     What do you know about that?

A.     I was there quite often when Ms. Payne was in

her home.    I was also there when she talked about, you

know, Ms. Martin inheriting Lucille's money and --

Q.     Excuse me?

A.     Lucille was a very close friend of Ms. Payne's,

and Ms. Martin was -- the money went to Ms.- --

       MS. JOHNSTON:       Objection.

       She's giving us hearsay testimony.

       MR. MCKNETT:      I don't think she is.

       THE COURT:      Well, just make sure she testifies

from her personal knowledge.

       THE WITNESS:      It's personal knowledge.          I've

been in the apartment.        Mr. Shannon probably didn't

remember, but --

       BY MR. MCKNETT:

Q.     Mr. Shannon?

A.     Is the attorney who was here the other day, yes,

and how the money -- it went from Lucille to Ms. Payne

to Ms. Martin.      Ms. Martin kept Ms. Payne, even -- we




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would often -- my husband and I would also go see Ms.

Payne in the nursing home when she was placed in the

nursing home, and we also attended her funeral, and

Lucille's.

Q.     You said Ms. Martin kept Lucille.             What did you

mean by that?

A.     She took care of her.

Q.     Did Ms. Payne live with Ms. Martin?

A.     Yes, she did.

Q.     For how long?

A.      I really don't -- maybe a year or so.              Ms.

Payne was supposed to attend our wedding, but she

could not attend our wedding --

Q.     You got married when?

A.     2000.

Q.     Do you know how much money Ms. Martin inherited

from Ms. Payne and Lucille?

       MS. JOHNSTON:       Objection.

       THE COURT:      If she has personal knowledge.

       BY MR. MCKNETT:

Q.     If you know from your own personal knowledge.

A.     No, I don't.      I just know about the car that she

got.   I don't know how much money.           I just know that

the car was a part of it.

Q.     What do you know about the car?




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A.       I was there when Mr. Shannon brought the car

over to her.

Q.       That's the car he talked about that had been his

car --

A.       Yes.

Q.       -- and he transferred it to Ms. Martin?

         During this time period -- let me narrow down

the time period.      You were married in 2000; correct?

A.       Yes.

Q.       And Ms. Payne was supposed to attend your

wedding but was unable to; correct?

A.       Yes.

Q.       Was she still alive at the time of your wedding?

A.       Yes, she was, because I think she was -- I know

she died around Thanksgiving, because my mother also

attended the funeral.

Q.       When was your anniversary again?

A.       July 29.

Q.       July 29.

         You heard testimony from Mr. Garner about a

boutique that Ms. Martin had.          Do you remember that?

A.       Yes.

Q.       Can you describe that boutique for us, please?

         First of all, when did the boutique exist?

A.       Well, when I met her -- she had clothing in the




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studio when I met her between 1996 and 1997; and the

home on Bexhill Court she would receive the children's

clothing, and it was so much that she did not display

it all.    A lot of the things were kept in boxes, and

she had things on hangers, and so she didn't pull out

every size.     She would have it on the box or on a

hanger to represent what was in the box.              She also had

female clothing down there, also.

Q.     Did you buy clothing from her?

A.     Yes, I did.

Q.     How often did you buy clothing from Ms. Martin?

A.     Whenever she had something available that was in

my size or something that I admired.            I couldn't say

how often.

Q.     What would your size have been?            I'm talking

when you first met Ms. Martin.

A.     At that time?       A size 6.

Q.     As happens to all of us, that changed over time;

is that correct?

A.     My husband and I -- you heard my husband

testify.     He's a gourmet cook.        Ms. Martin was more of

a soul cooker, and so I -- between the two homes, I

gained numerous pounds.         I'm now -- I went from a 6,

to a 8, to a 10, to a 12.

Q.     When you bought clothes from Ms. Martin, did you




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pay cash?

A.     Sometimes.      It was according to my funds.           You

know, my mother used to say that -- well, I can't

repeat hearsay, but I didn't have as much money to --

teachers don't make that much money, so I would often

have a tab, and she would allow me to purchase things

on a tab.     Sometimes I paid her cash and sometimes I

would just -- she would just place it on the tab.

Q.     You've talked about a teacher's salary.              When

you first began teaching, how much money were you

making?

A.     Oh, gosh.     I don't recall.        Maybe $25,000, if

that much.

Q.     By the time of your arrest in this case, how

much were you making?

A.     Two years ago?       Sixty-something-thousand, not

including my after-care.         I don't recall.       I would

have to see my income tax papers.

Q.     Was it roughly $60,000?

A.     Sixty to sixty-five, yes.

Q.     That was exclusive of income from after-care?

A.     That was with the after-care.

Q.     I want to be clear.        Mr. Garner was working

similar jobs.

A.     Yes.




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Q.     Do you know what he was making?

       MS. JOHNSTON:       Objection.

       Relevance.

       THE COURT:      What's the relevance of this?

       MR. MCKNETT:      Should I approach, Your Honor?

       THE COURT:      Yeah, approach.

                  (At the bar of the Court.)

       MR. MCKNETT:      Your Honor, my client's been

accused of selling drugs.         I want to introduce to the

jury the total household income to show that she had

no need to make money by selling drugs, particularly

in the quantities that she's been accused of selling,

which is buying eight balls and selling smaller

quantities than eight balls for $10, $20 and $50 bags.

I can show that the household income was such that

that was not -- it's not logical to assume she would

be selling drugs at that level when making over

$100,000 a year.

       THE COURT:      All right.

       MS. JOHNSTON:       Your Honor, that's fine.         It's

just opening the doors to other things that I don't

know that Mr. McKnett is fully aware of.

       THE COURT:      All right.     Move on.     Thank you.

                     (Back in open court.)

       BY MR. MCKNETT:




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Q.     You can answer that question, Ms. Ali, if you

can remember it.

A.     Could you repeat the question, please?

Q.     Do you know how much Mr. Garner was making as a

teacher?

A.     Yes.    It was in the fifties.         $55,000, maybe?

Q.     So the total household income was in excess of

$100,000 a year?

A.     Yes.    During that time, yes.

Q.     It was just the two of you?

A.     Yes.

Q.     With no children?

A.     Well, my husband has children -- a child that we

pay child support to.

Q.     You don't have any other dependents that are --

that you have to pay money for?

A.     No.

Q.     When you first met Ms. Martin, from that time

until you met Mr. Garner, how often were you visiting

Ms. Martin?

A.     Sometimes in the -- in 1998, the first part of

19- -- the last part of 1998, September, it might have

been three times, four times a week after work.

Q.     Once your relationship with Mr. Garner

developed, how often would you visit Ms. Martin?




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A.       Maybe two or three times a week.          Mr. Garner

became very attached -- we both did -- to her

granddaughter, and we would just stop by to see her.

And because we worked such late hours, Ms. Martin used

to cook for us, and we would stop by just to pick up

food so we would have it for lunch the next day at

work and to eat that night so we wouldn't have to

cook.    She just loved to do that for people, not just

us.

Q.       Can you tell us what kinds of things Ms. Martin

would cook for you?

A.       Teriyaki turkey wings, pig's feet, sweet potato

pie, orange muffins.        She used to make a cake, it was

a green cake, a pistachio cake, that she just loved to

make.    Vegetables.     She used to make homemade ice

cream.    She fried fish.       She just cooked numerous

numbers of things.

Q.       When Ms. Martin cooked, what quantities of food

would she cook?

A.       A lot.

Q.       I'm talking when she lived at Bexhill.

A.       When she lived at Bexhill, she cooked a lot of

food.    We would take food home in containers this

tall.    Beans and --

Q.       We can't see what you're --




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A.     Containers, I guess, of half gallons or pints

and stuff.     We would -- she just cooked a lot of food.

She cooked a lot of food.         She even cooked crab cakes.

Anything you wanted or requested, she cooked.

Q.     It was all good?

A.     It was all good.

Q.     Now, this was when she was at Bexhill?

A.     Yes.

Q.     Do you remember when it was that she moved out

of Bexhill?

A.     She moved out of Bexhill in 2002.

Q.     Where did she move to?

A.     She moved to Annette's house on Sargent Road.

Q.     Where is Sargent Road?

A.     Northeast Washington, D. C.

Q.     How long did she stay there at Annette's?

A.     Not very long.       I don't recall how long, but not

very long.

Q.     Was she renting a room there?

A.     I have no idea if she was renting.             I just know

she was staying there.

Q.     Did you visit her there?

A.     I don't recall if we visited or if the one time

we did go was when we helped her move out.              I don't

recall.




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Q.      Do you recall when it was that she moved out of

the Sargent Road address?

A.      No, I don't.

Q.      Do you know where she moved to from the Sargent

Road address?

A.      Yeah.   She moved to Granny's.

Q.      Who is Granny?

A.      I can't recall the name right now.            If you would

give me the name, I'd probably remember, but I can't

recall her real name right now.

Q.      Was she an older woman?

A.      Yes, she was.

Q.      Do you know where she lived?

A.      Nicholson Street, Northeast.          I think that's the

address.

Q.      Do you know how long Ms. Martin lived on

Nicholson Street?

A.      Maybe a year.      I'm not certain, but maybe a

year.

Q.      When Ms. Martin lived on Sargent Road and then

on Nicholson Street, was she able to maintain the same

lifestyle that she had at Bexhill?

A.      I don't know about Sargent Road, but at

Nicholson she had a room at Granny's and she was --

she utilized the basement where she had some of her




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clothing there.       She didn't cook as often, but she did

cook.    She would cook during the holidays and maybe on

Sundays, but she didn't cook as much as she did.

Q.       If you know, was she still selling clothes?

A.       Yes.

Q.       Was she still wrapping packages for people for a

price?

A.       I don't know about the packaging, because it

wasn't that much room there.          I don't know if she was

still doing the gift wrapping.

Q.       Coming back to clothing business.           Can you tell

us some of the prices that she was charging for the

clothes?

         MS. JOHNSTON:     Objection.

         Can we have a time frame?

         THE COURT:    Give a time frame, if you would.

         BY MR. MCKNETT:

Q.       During the time that Ms. Martin was selling

clothes which, I believe, you said had started by the

time you met her; correct?

A.       Yes.

Q.       And it continued until the time she was

arrested; is that correct?

A.       Yes.

Q.       During that time period, what kind of prices was




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she charging for clothes?

A.     They were very high end clothing.             Maybe the

cheapest thing would be a tie or a wallet, and that

would be $50, and it would escalate, $100, $150, $200,

$300 according to what you were purchasing.               She had

St. John's which were very expensive, and the prices

ranged.     They varied.

Q.     What kind of prices did you pay?

A.     Anywhere from $50 up to -- I purchased a fur

coat from her that she got from Jonathan's in New

York, and that was like $2,000 or $3,000.

Q.     When did you buy that?

A.     2003.

Q.     That was after you were married?

A.     Yes.

Q.     And you were making about $65,000 a year

yourself?

A.     Yes.

Q.     How often did you buy clothes from Ms. Martin?

A.     It was according to what she had, what time of

year it was, or what my needs were.            I purchased

things for different reasons and different occasions.

Q.     Did you buy things as gifts for other people?

A.     Yes, I did.

Q.     Did Mr. Garner buy clothing and other items from




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Ms. Martin?

A.     Yes, he did.

Q.     How often did he buy items from Ms. Martin?

A.     Again, it's according to what she had and what

our funds were like.        You know, even though she put

pus on a tab, you didn't want to take advantage of

things and not give -- you know, not paying someone

their money.     So, it was according to what was

available at that time.

Q.     You said that she would put you on a tab.               What

do you mean by that?

A.     Sometimes I would purchase items with Ms. Martin

and didn't have all the funds, and she would -- I

would give her part of funds and we would pay her when

we got paid.

Q.     Ms. Ali, I want to show you a chart that's been

marked as CH-1.

       If I may, Your Honor, I will set it up and ask

Ms. Ali to come down.

       THE COURT:      Yes, you may.

       BY MR. MCKNETT:

Q.     Ms. Ali, can you come on over, please?

       Ms. Ali, if you could stand over there where

your husband was standing yesterday.            Careful of the

ledge there.     As I did yesterday with your husband,




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I'm going to ask you about these people and whether or

not you know them, and I may ask you now a couple of

questions about how you know them.

A.     Okay.

Q.     Do you know Moises Uriarte?

A.     No.

Q.     Do you know William Turner --

A.     No.

Q.     -- also known as Dog?

       Let me ask first, then answer, please.

       Do you know Gwen Levi?

A.     Yes.

Q.     How do you know Gwen Levi?

A.     I met Gwen Levi at Harvey S's fashion show in

November of 2003, and I've been at Ms. Martin's house

where she's been maybe once or twice.

Q.     When you were at the fashion show that you

referred to -- Harvey Star Washington's fashion show,

were there any drugs involved with the show?

A.     No, not that I know of.

Q.     I'm only asking you what you know of your own

personal knowledge.

       When Ms. Levi came to Ms. Martin's house on

those couple of occasions and you met her there, to

the best of your knowledge was there any drug activity




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going on?

A.     No.     She was always with Kevin.         No drugs that I

know of.

Q.     You mentioned Kevin.         And can you speak up a

little bit?

A.     Kevin was someone that had men's clothing that

my husband purchased clothing from.            I learned here in

court that that was her son or stepson.             We had no

knowledge of that prior to being in court.

Q.     Maybe I should ask you to use your "recess"

voice when you're talking here.

A.     Okay.

Q.     Do you know Steve Brim?

A.     I met Steve Brim one time.           I was entering

Paula's house, and she introduced me to him as

Estelle's wife.      Estelle was with him.

Q.     Who is Estelle?

A.     Estelle was a very good friend of Ms. Martin's.

She lives in Washington, D. C.

Q.     Other than their friendship, do you know

anything about their relationship between Ms. Martin,

Mr. Brim and Estelle Brim?

A.     No, I don't.

Q.     Do you know Pernell Philpot?

A.     Yes.     Pernell Philpot used to be at Ms.




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Martin's, and my husband and I would sit down and talk

to him and eat with him.         As my husband said, he loved

to eat.

Q.     Did you talk about drugs with Mr. Philpot?

A.     No.    I haven't seen Mr. Philpot since Ms. Martin

moved out of her house.

Q.     Out of the Bexhill Court?

A.     The Bexhill Court house, yes.

Q.     What did you talk about with Mr. Philpot?

       MS. JOHNSTON:       Objection.

       Relevance.      Hearsay.

       MR. MCKNETT:      I didn't ask what he said.           I

asked what they talked about, the topics.

       THE COURT:      Just the subject matter.          That's

all.

       MR. MCKNETT:      Subject matter.

       THE COURT:      Overruled.

       THE WITNESS:      I'm known as the motherly person.

Mr. Philpot had a lot of girlfriends, and I was

advising him, since he was --

       BY MR. MCKNETT:

Q.     Keep your voice up.

A.     I was advising him, since he wasn't married,

that that was something that he needed to consider and

to stop doing, and that's what my conversations with




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Mr. Philpot would always be about.

Q.      Have you ever met Luis Mangual, Jr., this

gentleman here?

A.      No.

Q.      Have you ever met Juan Encarnacion?

A.      I met him in Ms. Martin's kitchen.            My husband,

during the holidays, cooks these bourbon balls, and

Ms. Martin gave him a bourbon ball, and he was kind of

-- it has liquor in it, so it was something that I

don't think he really liked.

Q.      Is that the only time you've met him?

A.      Yes.

Q.      And this gentleman.       He goes by the name of

Cuba.   Do you know anybody named Cuba?

A.      No.

Q.      Do you know a gentleman named Steve Campbell

from Houston, Texas?

A.      No, I don't.

Q.      Have you ever been to Houston, Texas?

A.      Yes.

Q.      When was that?

A.      Maybe 1998-1999.       I visited Houston, Texas with

a friend of mine.

Q.      Vacation?

A.      Weekend vacation, yes.




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Q.       Do you know anybody named Kelly from El Paso,

Texas?

A.       No, I don't.

Q.       Do you know Michael Thurman?

A.       No, I don't.

Q.       Do you know Tiffany Vessels?

A.       No, I don't.

Q.       Do you know Xavier Moore?

A.       No, I don't.

Q.       Do you know John Irby?

A.       Mr. Irby, I think, was at a concert that we went

to at Carter Baron.       I'm not sure if that's him.           I

don't know him by name.         I don't know if that's him or

not.

Q.       Does he look familiar?

A.       Yes, he does.

Q.       Who was at the concert?

A.       Ms. Martin, Teresa --

Q.       Who's Teresa?

A.       Ms. Martin's daughter.       Gene Bird, Mr. Goodwin,

myself, my husband, and other people I can't recall at

this time.

Q.       Do you know anyone named Alton McKenzie, also

known as Doug?

A.       No.




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Q.       You do know Ms. Martin.        We will get back to

that again.

A.       Yes.

Q.       Do you know Mr. Goodwin?        I think you just said

you did.

A.       Yes.

Q.       How do you know Mr. Goodwin?

A.       I was introduced to Mr. Goodwin as Ms. Martin's

"play brother."      We've been to concerts together,

fashion shows together, celebrated his birthday at a

seafood restaurant, and he's been over Ms. Martin's

house.

Q.       And then you, of course.

         Claude Arnold, aka Skip.        Do you know him?

A.       I know a Skip.     That doesn't look like him, but

I know a Skip.

Q.       Do you know Derrick Bynum?

A.       Yes.   Derrick is a great cook, and he's also the

father of Adaye Bynum.

Q.       Who is Adaye Bynum?

A.       Ms. Martin's granddaughter.

Q.       Have you met Mr. Bynum?

A.       Yes.

Q.       Where have you met him?

A.       At Paula's house.




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Q.     Eugene Bird.      Is this the Gene Bird you

mentioned you saw at a concert?

A.     Yes.

Q.     And you may have seen Mr. Irby there?

A.     Yes.

Q.     Do you know Mr. Bird from circumstances other

than that one concert?

A.     Yes.    I met Mr. Bird back in 1985, and I was a

friend of his wife.

Q.     What's his wife's name?

A.     Michele Bird.

Q.     You knew Mr. Bird socially?

A.     Yes.

Q.     And you knew his wife socially?

A.     Yes.

Q.     Do you know Lavon Dobie, also known as Becky?

A.     Yes.    I met Becky in about 2003 at Jackie

Terrell's, where Paula resided in the basement.                Ms.

Martin resided in the basement.

Q.     How often have you seen Ms. Dobie since you

first met her?

A.     Maybe three, four times.

Q.     When did you meet her?         What year was that?

A.     2003.

Q.     Okay.    Before this trial started, did you know




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Ruby Hardin?

A.     No, I didn't.

Q.     Do you know George Harris?

A.     I've seen George Harris.          I don't know him.

Q.     Where have you seen him?

A.     At Ms. Martin's.

Q.     What was he doing there?

A.     He would just stop by.         She would give him food,

too.   I've seen her give him food.

Q.     Do you know Larry Lane?

A.     Yes.    I met Larry celebrating -- he was Mr.

Goodwin's stepson, and I met him at dinner, Mr.

Goodwin's birthday dinner.

Q.     Where was that?

A.     A seafood restaurant on Georgia Avenue in Silver

Spring, Maryland.

Q.     Other than that dinner, have you met Larry Lane?

A.     No.

Q.     John Martin.      Do you know John Martin?

A.     He was a boyfriend of Ms. Martin.

Q.     When did you first meet John Martin?

A.     It's hard to say.        Ms. Martin and John were off

and on, so I don't recall the year that I met him.

Q.     You mean off and on in the sense of --

A.     The relationship was off and on, yes.




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Q.     Where would he be when you would meet him?

A.     At the house.

       Yes, I do recall the first time I did meet him.

It was at the studio.

Q.     When was that?

A.     Either 1996 or 1997.

Q.     How often have you seen Mr. Martin?

A.     A lot of times.       Numerous of times.

Q.     Always at Ms. Martin's residence?

A.     Yes.

Q.     Larry Nunn.      Do you know Larry Nunn?

A.     No, I don't.

Q.     Do you know Milburn Walker, aka Bruce?

A.     Yes.

Q.     How do you know Mr. Walker?

A.     I dated Mr. Walker.

Q.     When was that?

A.     1997, maybe.      I met him prior to 1997.          199- --

I can't remember the date, the year.

Q.     Mr. Walker played a part in you meeting Ms.

Martin; right?

A.     Yes.

Q.     And Reece Whiting.        Prior to this trial, did you

know Mr. Whiting?

A.     Yes, I did.




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Q.     How you know him?

A.     I met him in 1999 at Paula's house, and I had

prior -- I don't recall, but -- we had mutual friends,

and I don't know if I met him at that mutual friend,

but we had mutual friends.

Q.     How often had you seen Mr. Whiting after you met

him?

A.     I used to see him quite often when I would first

go to the house on Bexhill Court.            After she moved in

2002, I hadn't seen Mr. Whiting since then.

Q.     Of the people on this chart, whom do you see in

the courtroom today?

       MS. JOHNSTON:       Your Honor, we will stipulate

that she's seen the defendants and that she's

identified on the chart that they're the same people

who are in the courtroom.

       MR. MCKNETT:      Thank you, Ms. Johnston.

       Ms. Ali, you can return to the stand if you

would, please.

       Your Honor, I know it's a little bit early, but

this would be a logical place.

       THE COURT:      Keep going, because I've got a thing

that will mess me up if you break now.

       BY MR. MCKNETT:

Q.     Ms. Ali, have you ever met a woman named Martha




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Jean West?

A.       Yes.

Q.       How do you know Ms. West?

A.       She was a friend of Ms. Martin's.

Q.       Do you know anything about the nature of the

relationship of their friendship?

A.       I know that Ms. Martin used to talk to Martha

Jean -- Ms. Martin used to talk to Martha Jean West on

the phone lot, and Ms. West would send her catalogs

and magazines with clothes in it, and Ms. Martin would

receive clothes from Ms. West.

Q.       By "received," you mean buy?

A.       I don't know.     I've never seen them exchange

money.

Q.       Okay.   Ms. Ali, I mentioned to you -- you

identified Milburn Walker on the chart, and I asked

you if he played a part in your meeting Ms. Martin,

and I think you said he did.

A.       Yes.

Q.       Would you explain to us please when -- did Mr.

Walker introduce you to Ms. Martin?

A.       I had met Ms. Martin prior to that.           I think --

it was at one of Harvey Star Washington's shows.                I

also taught Harvey Star Washington, so I was in

contact with him prior to meeting Ms. Martin, but I




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didn't come in contact again with her until I met her

through Bruce walker.

Q.       Harvey Star Washington is the producer of the

shows?

A.       Yes.

Q.       Did you say he was a student of yours?

A.       Yes.   When I first started subbing, I subbed

working at Trusedale Elementary School.

Q.       Was he as entertaining then?

A.       He was the same as he is now.         He hasn't

changed.

Q.       There came a time -- after you met Ms. Martin at

that show, when is the next time you saw her?

A.       The year -- if I'm correct, like, 1996-1997, at

her studio.

Q.       How is it that Mr.      Walker introduced you again

to Ms. Martin?

A.       We went to her studio and he purchased some

sunglasses from her.

Q.       When was that again?

A.       1996-1997.

Q.       When you renewed your -- did you recognize Ms.

Martin as someone you had met before?

A.        We couldn't -- we couldn't put it together.

Finally, after we started talking, we realized where




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it had been, after we started talking, where she used

to live and what school I taught at and things like

that.

Q.      When did you next meet Ms. Martin?

A.      I didn't see Ms. Martin again until she moved

into her home.

Q.      The home on Bexhill?

A.      Yes.

Q.      Do you remember when it was that you met her for

the first time at her home on Bexhill?

A.      I'm again going to say maybe 1998 -- the early

part of 1998 or middle part.

Q.      What was it that caused you to meet her at her

house on Bexhill?

A.      I remember -- she had given me her card when I

was at the studio, and I remember she said she's

selling clothes, so I called her up to see what she

had for purchase.

Q.      Did you visit her at that point?

A.      Yes, I did.

Q.      Did you buy anything from her at that point?

A.      I don't recall.

Q.      When did -- did the relationship between

yourself and Ms. Martin develop beyond that of simply

customer-seller of clothing?




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A.       Like I said, I was single, and I don't like to

cook -- I don't cook, and she would always have food

available, and I would sit there and we would just sit

and talk and I would eat, and I would also take food

home.

Q.       How often would you visit her in that context?

         MS. JOHNSTON:     Objection.

         Asked and answered.

         THE COURT:    Sustained.

         BY MR. MCKNETT:

Q.       So you continued to visit with Ms. Martin, not

just to buy clothes but also to eat and to visit.

A.       Yes.

Q.       As friends.

A.       Yes.

Q.       And the friendship developed over time; is that

correct?

A.       Yes.

Q.       To the point --

         MS. JOHNSTON:     Objection.

         Your Honor, we've been over this now three

times.

         THE COURT:    Overruled.

         Let him finish the question.

         BY MR. MCKNETT:




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Q.       Did there come a time -- was this the time when

you were dating Mr. Walker?

A.       No, I don't think so.       My relationship with Mr.

Walker was off and on, and I don't think it was.                It

might have been.      It might have been, but I can't give

for certain what year it was or what time it was.

Q.       Did there -- I want to ask you a little bit

about your relationship with Mr. Walker.

         MS. JOHNSTON:     Objection to relevance.

         MR. MCKNETT:     Mr. Walker is on the chart, Your

Honor.

         THE COURT:     Overruled.

         BY MR. MCKNETT:

Q.       It was a romantic relationship, I take it.

         MS. JOHNSTON:     Objection.     Leading.

         BY MR. MCKNETT:

Q.       Is it accurate to say that you had a romantic

relationship with Mr. Walker?

         MS. JOHNSTON:     Objection.     Still leading.

         BY MR. MCKNETT:

Q.       Please describe the nature of your relationship.

         THE COURT:     Now you got it right.

         BY MR. MCKNETT:

Q.       Please describe the nature of your relationship

with Mr. Walker.




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A.     I don't know what kind of relationship you would

call the relationship I had with Mr. Walker.               It

wasn't a romantic relationship.           I think that's one

reason why I was going by Ms. Martin's house a lot to

talk about that too, because it wasn't the type of

relationship I was looking for, but for some reason I

couldn't seem to get away from it.            I don't know if it

came out of being alone, the loneliness, but it wasn't

a healthy relationship, let's put it that way.

Q.     You were dating Mr. Walker?

A.     Yes.

       MR. MCKNETT:      Your Honor, I'll ask again, would

this be an appropriate time?          I'm about to make a --

       THE COURT:      Still too early.

       MS. JOHNSTON:       Your Honor, can we -- I'll

withdraw my comment.

       BY MR. MCKNETT:

Q.     Ms. Ali, there came a time in your life -- did

there come a time in your life when you were exposed

to drugs?

A.     Yes.

Q.     Did there come a time in your life where you

made a decision to use drugs?

A.     Yes.

Q.     When did that happen?




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A.       I started using drugs in about -- when I --

after my late 30s.       It wasn't a continuous thing.             I'd

stop and I'd start, and I'd stop and I'd start.

Q.       What drug did you first use?         I'm talking about

illegal drugs, not prescription drugs.

         What illegal drug was the first illegal drug you

started to use?

A.       Marijuana.

Q.       Did there come a time when you began using other

drugs?

A.       Yes.

Q.       What other drugs?

A.       Cocaine.

Q.       Other than marijuana and cocaine, have you used

any other illegal drugs?

A.       No.

Q.       With regard to cocaine, did you use powder

cocaine or crack cocaine?

A.       I used powder cocaine.       I never used the term

crack cocaine, because I always thought crack cocaine

was something that you purchased on the street.                I

learned --

Q.       We'll get there.

         MS. JOHNSTON:     Objection to counsel interrupting

his witness's answer.




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       MR. MCKNETT:      I was trying to --

       MS. JOHNSTON:       She was explaining her answer.

       THE COURT:      Keep her on track.        You may proceed.

       BY MR. MCKNETT:

Q.     So, the first form of cocaine you used was

powder cocaine?

A.     Yes.

Q.     Was your use of powder cocaine a factor in your

relationship with Mr. Walker?

       MS. JOHNSTON:       Objection.

       He's leading the witness.

       THE COURT:      Ask it in a non-leading way.           You

can do it.

       BY MR. MCKNETT:

Q.     Did Mr. Walker use drugs?

A.     Yes.

Q.     Did Mr. Walker use drugs when you were dating

him?

A.     Yes.

Q.     Did you use drugs when you were dating Mr.

Walker?

A.     Yes.

Q.     Did you and Mr. Walker use drugs together?

A.     Yes.

Q.     Was that part of the problem with your




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relationship with Mr. Walker?

         MS. JOHNSTON:      Objection.

         Again, counsel is leading the witness, Your

Honor.

         THE COURT:     Overruled.

         THE WITNESS:      Yes.

         BY MR. MCKNETT:

Q.       What time period was it you started using powder

cocaine?

A.       Like, when I was 35 -- 35.          After my late 30s.

Like I said, it wasn't often, you know.             It wasn't

often at all, and it was a stop and go period.               Stop.

Go.   Stop.

Q.       Under what circumstances would you use powder

cocaine?

         MS. JOHNSTON:      Can we have a time frame, Your

Honor?     Late 30s, or 50?       What?

         THE COURT:     What period are you talking about?

         THE WITNESS:      Late 30s.      Same as always.

Weekends.      Holidays.    Stressful moments or time,

periods of my life.

         BY MR. MCKNETT:

Q.       Did your usage of powder cocaine -- the

regularity, the frequency of your usage of powder

cocaine.      Did it change over time, or did it stay




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relatively constant?

A.       It stayed constant for a long period of time.

And powder -- it could stay constant, you know.                It

was on the weekends, holidays, and it wasn't every

weekend.       It was when I felt like it, or if I had the

time.

Q.       How much -- were you buying any particular

quantities of cocaine -- powder cocaine when you

started it?

A.        I wasn't buying it at that time; it was given

to me.

Q.       Who was it given to you by?

A.       From a friend.

Q.       Do you know the quantities?

A.       Well, sometimes it wasn't a quantity.            It was

just, you know, maybe something that they would give

me out of their package or something.             But what I -- I

don't know.       You know, it might sound ignorant to you

-- to some people after hearing a lot of statements in

this courtroom, but I would always see a small bag and

I would know that to be as half a gram or $50 worth.

Q.       You were about to continue.

A.       I'm sorry.    No.

Q.       Did you ever actually weigh the cocaine?

A.       No.    I don't know how to weigh cocaine.          No.




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Q.       When did you start to buy cocaine?

A.       1998.

Q.       Let me back up just a bit.         You mentioned that

you were first getting cocaine -- powder cocaine from

someone -- a friend who was giving it to you?

A.       Yes.

Q.       Did that friend have anything to do with this

trial?

A.       No.

Q.       Did it have anything to do with any of the

people who were on trial?

A.       No.

Q.       In 1998, when you started buying powder cocaine,

for what purpose were you buying it?

A.       To use.

Q.       To use?

A.       Yes.

Q.       Did you ever in your life buy cocaine in any

form to sell?

A.       No.

Q.       Did you ever in your entire life buy cocaine in

any form to give away to anyone else?

A.       No.

Q.       Did you always -- all the cocaine that you've

bought in your life, did you use it yourself?




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A.     Yes.

Q.     Did you ever in your entire life buy crack

cocaine?

A.     No.

Q.     Did you ever in your life use crack cocaine?

A.     Well, you used the term again "crack cocaine."

Freebase?     Yes, I freebased.       I consider freebasing

not crack cocaine.

Q.     What do you mean by the term "freebasing?"

A.     I learned how to cook it.          I learned that you

use baking soda -- cocaine was my private drug.                My

company.     It was a secret that I kept amongst myself.

My friends, my family -- my friends and my family, my

husband, no one knew about it but me and the person

that I got it from or purchased it from.

Q.     Do you need a napkin, Ms. Ali?

       Did you ever tell anyone -- well, obviously, the

person from whom you were buying or getting the

cocaine knew.

A.      Yes.

Q.     Did you ever tell anyone else --

A.     No.

Q.     -- that you were using cocaine?

A.     No.

Q.     How were you able to keep other people from




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finding out?

A.      Because I didn't purchase it on the street.                 I

didn't deal with anyone except maybe the person that I

was dating.     It was something I did in the privacy of

my home.

Q.      That was before you were married, and you were

living alone.

A.      Yes.

Q.      So it would be easy the keep it private.

A.      Yes.

        And with my husband -- my husband worked two

jobs, and he also had to go back -- he went back to

school to take some classes, and he would -- was a

very hard sleeper.       Once I learned that, and I guess

maybe, too, he wasn't paying a lot of attention to me

because he was working so hard and, you know, he was

in school, and I picked the habit back up again.                Our

apartment was very large -- extremely large.               It was a

two bedroom apartment, and our bedrooms were in the

back.

        My husband, as you heard in the courtroom, was a

great cook, but a sloppy person in the kitchen.                So

when he would go to sleep, you know, I would go into

the kitchen and clean up and do other things around

the house, and then I would go to bed and get ready




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for the next morning.

Q.       How is it -- I don't think you precisely

answered my question, or I didn't even ask the

question.      Let me ask it now.

         After you were married, how were you able to

keep your cocaine usage a secret from your husband?

A.       I didn't do it around my husband.           I didn't do

it in the daytime.       It was always in the evening.           I

didn't leave anything around the house for him to

discover.      So, I was -- I concealed it.

Q.       How did you conceal it?

A.       By hiding it.     Hiding it in my house, in drawers

in my bedroom.

Q.       Did you ever have any large quantities of

cocaine in your house?

A.       No.

Q.       Did you ever buy more cocaine than you intended

to use on a particular occasion?

A.       No.   I've never purchased more than three bags.

And sitting in this courtroom, again, I've learned

that three bags -- to me they were $50 a piece.                Ms.

Dobie made it clear that it was a sixteenth.               I didn't

know it was a sixteenth, but I knew it was three bags,

and --

         MS. JOHNSTON:     Objection as to what Ms. Dobie




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said and what Ms. Dobie made clear.

       THE COURT:      Yes.

       BY MR. MCKNETT:

Q.     You were talking about three bags.             You were

here when I was showing the exhibits to your husband.

Actually, could I have the Ali exhibits?

       I think they're in here somewhere, Ms. Ali.

I'll be right with you.

       Ms. Ali, I want to show you what's been marked

as Drugs 32 -- Government Exhibit Drugs 32 which there

has been testimony about concerning this exhibit being

recovered from your apartment on June 1st of 2004.

       Do you see that there?

A.     Yes.

Q.     In this large envelope is a very small 1" or

less square envelope.         Do you see that?

A.     Yes.

Q.     This one has a red tag on it.           Do you see that?

A.     Yes.

Q.     Without reference to the red tag, is that the

size of the bag that you're talking about?

A.     That's a 50, yes.

Q.     What you were buying was not -- didn't have a

red tag on it.

A.     No.




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Q.     So this was what you would buy for $50?

A.     Yes.

Q.     And you would get three of these for how much?

A.     For $125.

       MR. MCKNETT:      May I publish this, Your Honor?

       THE COURT:      You may.

       BY MR. MCKNETT:

Q.     When did you -- strike that.

       I'm going to ask you, while I have it here,

about the other exhibits, the exhibits that were --

the drug exhibits that were seized at your apartment.

       I'm showing you what's marked as Ali 7, which

appears to be a section of a plastic straw with one of

those red tags on it.

A.     Yes.

Q.     Do you recognize that?

A.     It is a straw.       It could be mine.        It's a straw.

Q.     Assuming that it was recovered from your

apartment, what purpose would this straw have served

if any with regard to you using drugs?

A.     I snorted drugs, too.         It was cocaine.

Q.     When you say you snorted drugs, what do you mean

by that?

A.     I put it up my nostrils.

       MR. MCKNETT:      May I publish, Your Honor?




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        THE COURT:     You may.

        BY MR. MCKNETT:

Q.      I forgot to ask you something, Ms. Ali.

        Also in Ali 7, there appears to be -- there

appears to be some smaller envelopes.             Do you see

them?   They're behind the sticker here, and I can't

seem to get them to slide out in plain view.

        Do you see them up here?         They have a red strip

across the top, and they're attached to what appears

to be envelopes.

A.      Yes.

Q.      Do these look familiar to you?

A.      It could be bags that I've used that were left

in my home in a drawer or something, bags that had

cocaine in it at one time.

Q.      Bags that contained cocaine that you used?

A.      Yes.

Q.      Not cocaine that you intended to sell.

A.      Yes.

        MR. MCKNETT:     May I publish, Your Honor?

        THE COURT:     You may.

        BY MR. MCKNETT:

Q.      Ms. Ali, I want to show you Drugs 34, which is a

small piece of crumbled up aluminum foil -- tinfoil

with one of those red tags on it.




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       Do you recognize the aluminum foil?

A.     No, but it's not -- it could be mine, but I'm

not saying it is.       But, no.

Q.     What -- let's assume that it is yours, for the

sake of questioning.        What use would that aluminum

foil have been put to?

A.     Once I cooked the cocaine, I could have placed

it in there.

Q.     I'm showing you now Drugs 33.           Do you recognize

the contents of this evidence bag?

A.     Yes.    That's a jewelry box from Nordstrom's.

Q.     You've heard testimony that this jewelry box was

recovered from a drawer in your bedroom.

A.     No, it was not recovered from a drawer.              It was

on top of a dresser.

Q.     The jewelry box was?

A.     Yes.

Q.     Now, there's also -- well, let me show you a

photograph.     I want to show you Photograph P-1.             Do

you see that?

A.     Yes.

Q.     I want to put it on the viewer.            Are you

familiar with it?

A.     Yes.

Q.     There appears to be a jewelry box in this




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photograph, P-1.      Do you see that?

A.     Yes.

Q.     Is that the same jewelry box that you identified

in Drugs 33?

A.     Yes.

Q.     Was this jewelry box in the same location in

that drawer when you last saw it?

A.     No.

Q.     Where was it?

A.     On my dresser drawer, with the rest of my

jewelry.

Q.     Was there jewelry in this box?

A.     It could have been.        Not necessarily.

Q.     With regard to that drawer.           Is that how the

drawer looked the last time you saw it?

A.     No.    In that drawer -- that's a bed -- night

stand, and I don't -- well, I never kept a neat drawer

like that.     That drawer had books, paper, a phone

book, pencils, junk, buttons, everything you can think

of that you would shove -- money -- everything that

you can shove into a drawer that's next to your bed.

Q.     When is the last time you looked in that drawer

before your arrest?

A.     I don't recall.

Q.     Would it have been the day before?             The week




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before?    The month?

A.     It could have been any time, because I kept

pencils in there.       I would write, you know, if I wrote

anything down or did a puzzle or took a phone number

down, but I have never kept a neat drawer like that.

Q.     I'm sorry?

A.     If you see that closet, like the officer --

well, if you see the closet where we had all of those

coats, you know -- you know my drawer did not look

like that, if you saw that closet.

Q.     In exhibit Drugs 33, there is also a folded up

napkin here.     Do you see that in the exhibit bag?

A.     Yes.

Q.     Do you see a similar looking napkin in that

picture?

A.     Yes.

Q.     Was that napkin in your drawer the last time you

looked in the drawer?

A.     I don't recall that napkin being in my drawer,

no.

Q.     In Exhibit 33 there appears to be some drinking

straws.    Do you see that?

A.     Yes.    The straws might have been there.

Q.     Excuse me?

A.     The straws might have been there.




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Q.      And also in Exhibit 33 are a little grouping of

empty plastic bags the same size we saw before, about

1" by 1"?

A.      Yes.   The bags might have been there, yes.

Q.      They may have been in the drawer?

A.      Yes.

Q.      Where was this drawer located?

A.      On the left-hand side -- on my side of the bed

the left-hand side.

Q.      Your husband had a similar dresser -- bed stand

--

A.      Yes.

Q.      -- to the bed on his side --

A.      Yes.

Q.      -- where he kept his things?

A.      Yes.

Q.      Ms. Ali, finally, I want to show you for now Ali

8.   Do you recognize that?

A.      Yes.

Q.      What is that?

A.      That's a homemade pipe that I made out of a

water bottle.

Q.      All of these exhibits have little red tags on

them.   You didn't put them there, did you?

A.      No.




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        MR. MCKNETT:     May I publish, Your Honor?

        THE COURT:     You may.

        BY MR. MCKNETT:

Q.      Ms. Ali, is it fair to say that you did not keep

drugs and drug paraphernalia displayed in a drawer

like this?

A.      Could you repeat the question, please?

Q.      Is it fair to say you did not keep drugs and

drug paraphernalia displayed in a drawer like this?

A.      No, I did not keep it neatly displayed like

that.

Q.      Ms. Ali, before I forget.         On this picture, if

you look right down here, ask -- you see there?

A.      Yes.

Q.      It's very hard to see.        There appears to be a

little envelope there.        Do you see that?

A.      Yes.

Q.      Do you recognize it?

A.      I don't recognize that particular one but, like

I said, in that drawer there was a lot of different

things in there, so it was a lot of things shoved up

in that drawer.

Q.      This envelope -- envelopes of this size?

A.      Yes.

Q.      Is that the size of a package -- strike that.




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I'll come back.

        Did you ever -- when you were buying drugs --

when you were buying powder cocaine, did you ask for a

specific weight?

A.      No.

Q.      Did you ever ask for a specific quantity?

A.      I would say I want $125 worth, maybe, but never,

like, a size.

Q.      So you would order by dollar amount?

A.      Yes.

Q.      And you would get consistently the same amount

of drugs for the -- for instance, you would order $125

worth, and you would get about the same quantity every

time?

A.      Yes.

Q.      If you ordered a dollar amount, you would get

about the same quantity every time?

A.      By looking at it, yes.

Q.      You never weighed it?

A.      No.

Q.      And you never asked for it by volume or by

weight?

A.      No.

Q.      If you ordered a 50, you would get one of those

little packages?




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A.       Yes.

Q.       When you bought a 125, you would get three of

them?

A.       Yes.

         MR. MCKNETT:     I guess I should recover the

exhibits, Your Honor.

         THE COURT:     If you would.

         Now would be a good time.

         MR. MCKNETT:     I saw people looking at the clock.

         THE COURT:     All right.    Why don't we take a

break until 2:00?

         MS. GREENBERG:     Your Honor, the jury is not

done.    We will just republish them after the break, if

that's all right.

         THE COURT:     You may, if you like, unless they're

finished.

         MR. MCKNETT:     I thought they had finished, Your

Honor.

                      (Jury excused at 1:12 p.m.)

                      (Off the record at 1:12 p.m.)

                      (On the record at 2:06 p.m.)

         THE COURT:     On Page 45, I made some minor

corrections to the instructions.           The "ands" that were

are now "ors."

         On Page 94, the "ands" in four different places




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there were changed to "ors."

       MR. SUSSMAN:      Are you talking about Instruction

69 or generally in the page?

       THE COURT:      Pardon me?

       MR. SUSSMAN:      Instruction 69, or the page?

       THE COURT:      No.    I'm giving you page numbers.

       The last one I mentioned to you was in jury

instruction 69, Page 94.         There's four "ands" in there

that were changed to "ors" where it gives the

alternatives to drug quantities.

       If you weren't following me, the other changes

were Instruction 42 on Page 41.           Again, it's "ands"

being changed to "ors."

       On Instruction 45, on Page 59, in the first

paragraph, again "ands" are being changed to "ors."

       Other than that, I have reviewed all the changes

with you and I will have this set docketed so that we

can use this the next time we talk about the

instructions as the "revised set of draft jury

instructions," and I have before me and I'm reviewing

the defendants' motion with regard to a Section 843

instruction.

       Can the government give me something on this on

Monday?    Is that possible?

       MS. GREENBERG:        Your Honor, we did give the




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court a summary of cases with the initial submission

back in mid-July of the cases that supported it, but I

can redo that.

       THE COURT:      If you can tell me why they're

wrong, and I can look at it and decide who's right.

       MS. GREENBERG:       The instruction with the second

element, there were a whole list of Fourth Circuit

cases, and we will we redo that.

       THE COURT:      Anything further?       We will bring the

jury in.

       MR. MONTEMARANO:        One other thing.         Did Mr.

Krinsky manage to make those 30 copies of that

transcript?

       THE COURT:      Yes, I believe so.        Yes.     There you

go.

       MR. MONTEMARANO:        Thank you, Your Honor.

       THE COURT:      Ready for the jury?

       We'll give you the docket number of these as

they go on.

               (Jury returns at 2:11 p.m.)

       MS. GREENBERG:       Your Honor, at this time may we

continue publishing the exhibits to the jury?

       THE COURT:      Does the jury wish to see them

anymore?

       THE CLERK:      They hadn't finished seeing them.




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        THE COURT:     Unless the jury wants to see them.

If the jury wants to see them, we will recirculate

them.

        A JUROR:     (Indicating.)

        THE COURT:     Yes, he would like to see them.

        All right.     You may proceed, Mr. McKnett.

        MR. MCKNETT:     Thank you, Your Honor.

        BY MR. MCKNETT:

Q.      Ms. Ali, we had left off with a discussion of

your personal drug usage.         I want to ask you now, did

there come a time -- well, you described your

relationship with Ms. Martin as one involving food and

clothes, and you were friends.

A.      Yes.

Q.      Did there come a time when that relationship

between yourself and Ms. Martin began to involve

drugs, as well?

A.      Yes.

Q.      When did that happen?

A.      Maybe the latter part of 1998.

Q.      How did that happen?

A.      I approached Ms. Martin.

Q.      What led you to approach Ms. Martin?

A.      You know -- well, we were just talking, and I

just gradually -- I wasn't getting it from the friend




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that I told you that was giving it to me no longer,

and we were just talking and I asked her if she knew

anyone that she can -- I can get some cocaine from.

Q.     Was there some reason that you thought she might

be able to answer that question the way you hoped?

A.     After talking to her, we knew -- found out that

we knew similar people -- not that we had been in

their presence at the same time together -- and I had

knowledge, you know, that they knew something about

it, so I -- -- that's why I approached her.

Q.     Do you remember her response?

A.     She told me that -- to just, you know, wait, and

she can see if that could be possible.

Q.     Did there come a time when it actually did

become possible?

A.     Yes.    Yes.

Q.     When was that?

A.     Sometime the latter part of 1998.

Q.     What kind of drugs were you obtaining from Ms.

Martin beginning in the latter part of 1998?

A.     Cocaine.

Q.     Powder cocaine?

A.     Yes.

Q.     Did you ever obtain any crack cocaine from Ms.

Martin?




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A.     No.

Q.     Were you paying Ms. Martin for the cocaine?

A.     Yes.

Q.     How much money your paying her?

A.     $50.

Q.     How much cocaine were you getting for that $50?

A.     A half a gram.

Q.     Do you know for a fact it was a half a gram?

A.     No, I don't.

Q.     What kind of package was it?

A.     A small package that was shown to me in this

courtroom.

Q.     Do you know -- 1" by 1"?          The plastic envelope?

In fact, we saw one that had a white substance --

powder substance in it.         Do you remember that?

A.     Yes.

Q.     Did that look similar to the package you would

receive from time to time from Ms. Martin?

A.     Yes.

Q.     In fact, was that a package you obtained from

Ms. Martin?

A.     Yes.

Q.     There were other envelopes in the exhibits we

discussed, just before the lunch break.             There were

empty envelopes that you indicated had previously




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contained cocaine.       Do you remember them?

A.       Yes.

Q.       Were they other examples of packages of cocaine

that you obtained from Ms. Martin?

A.       Yes.

Q.       Did you ever obtain packages of powder cocaine

from Ms. Martin larger than the ones I showed you

today?

A.       No.

Q.       There were envelopes of a larger size, plastic

Ziplocs of a larger size.         Do you recall them?

A.       I don't recall that in the exhibit, but if Ms.

Martin -- if I got three, sometimes they would be put

in that larger packet so they would be -- when you

bought the larger quantity, you would buy just

multiples of the same size; correct?

A.       Yes.

Q.       And she would put them sometimes in a larger

envelope?

A.       Yes.

Q.       What's the largest amount of money you ever paid

Ms. Martin for powder of cocaine?

A.       $125.

Q.       Can you estimate for us how often you were

buying powder cocaine from Ms. Martin?




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A.      No.    It varied.    It could have been once a week,

twice week.     It varied according to if it was a

holiday, if it was -- it just varied.

Q.      Ms. Ali, I want to show you an exhibit, Hayward

7.   I'm going to turn to a couple of pages in Hayward

7.   If you recall -- and I will put it on the screen

here.

        Do you recall Hayward 7?         It was a notebook

seized at the Hayward Avenue address.             I'm going to

put up a page here.       Do you see it?

A.      Yes, I can.

Q.      I've highlighted part of it.          These highlights

were not there on the original exhibit.

        At the top, do you see a name written there?

A.      Yes, I do.

Q.      That's Ulysses?

A.      Yes.

Q.      That would be your husband?

A.      Yes.

Q.      And there are some numbers in here below that.

There's what appears to be a date entry of 8/22.                Do

you see that?

A.      That's correct.

Q.      An then there are some numbers, 175, 150, 225,

and then what looks like a total of 570.              Do you see




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that?

A.      Yes.

Q.      And then there's another number over here, 228.

        Do you have any idea what that 228 might be?

A.      No, I don't.

Q.      Do you have any idea what these three numbers

and this total represent?

A.      Purchases that Ulysses and I made from Paula.

Q.      Purchases for what?

A.      Clothing.

Q.      Now, let me see if I can do this logically.

        Below that is another name here, "LaNora."               That

would appear to be you, would it not?

A.      Yes.

Q.      And then there are some other number entries

with 1,481, 228, a total, and then the 8/29 entry

appears to be a calendar entry for August 29.               We

don't know what year this is, do we?

A.      No, I don't.

Q.      You've had what appears to be a payment of $200.

Addition is made, another $200.           Not addition.

Subtraction was done.        More subtraction.        Another

$200.   More subtraction.        Then 10-312.      Then down

here, more subtraction.         Then there's -- I think

that's a 10-31.      Can you see that down here?




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A.     Yes, I can.

Q.     Does that look like 10-31?

A.     Yes, it does.

Q.     And it says, if I read it correctly, "sweater."

A.     Yes.

Q.     Does that help to refresh your recollection at

all as to what year this may have been?

A.     Well, if you keep going I can tell you exactly

what years.     I see some other figures.          That sweater

doesn't -- I don recognize the year by that sweater.

By other figures in the other column, I know.

Q.     The 110 for the sweater adds back in and makes

the total 719.      Then 11-13, a $100 payment.           There's

an entry up here, Ulysses:         Pant.

A.     I can't see that.

Q.     I'm sorry.      It's off the page, that's why you

can't see it.

       Is that better?

A.     Yes.

Q.     And then below that is 11/20 and 619, which

would be the same total at the bottom of this column;

correct?

A.     That's correct.

Q.     So it appears that whoever was keeping this

ledger just carried that total up to here and started




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the next column.

A.      Yes.

Q.      A payment of 244.       Not a payment, but a charge

of 244; correct?

A.      Correct.

Q.      That would indicate that you bought something

for $244; correct?

A.      Yes.

Q.      And that continues down in similar fashion.

There is a large item here for $3,200.

A.      That's correct.       I told you earlier that we -- I

purchased a fur coat -- a mink coat from Ms. Martin.

Q.      That would reflect the purchase of the mink

coat?

A.      Yes.

Q.      And then a payment of $500.          Would that refresh

your recollection as to what year?

A.      Yes.    It was year 2003.

Q.      2003?    Thank you.

        Now, this column continues in a similar fashion

with payments and charges and other channels through a

total of 4,608, and then we turn the page and that

total is carried up to the top here:            4,608.     See

that?

A.      Correct.




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Q.     It still says "LaNora," so the indication is

that all of these entries on this page relate to you;

is that correct?

A.     That's correct.

Q.     And does this -- do these columns -- do these

sheets of paper in these columns conform to your

recollection of at least this aspect of your

relationship with Ms. Martin?

A.     Yes.

Q.     And this list continues more of the same; right?

A payment of $400, a purchase of $400, a payment, a

purchase of a ring for $150; is that correct?               Am I

reading that right?

A.      Yes.    That's the ring that I spoke about -- was

spoken about in the courtroom, yes.

Q.     Then we come down here, we're now 3-6, which

would be March 6.       So what year would that indicate

that we're in now?

A.     Excuse me.      March 6?     2004.

Q.     Do you see that down here?

A.     Yes.

Q.     And then the total here is 2,558, and it doesn't

seem to carry over.       I skipped a column here.          The

2,558 carries over to this column, and we have more

purchases and more payments and so forth.              1,343 which




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carries over here, and then on 5-28 there is a payment

of $80, a balance of $1,353; correct?

A.     Correct.

Q.     That would indicate that as of the 28th of May

of what year?

A.     2004.

Q.     You owed Ms. Martin $1,353 for clothes.

A.     Correct.

Q.     Now, there is another column on this.              There are

other entries.      Let me look at them.        8-22.     Do you

see that there?

A.     Yes.

Q.     That's the same as the entry here; right?               Do

you see that?

A.     Yes.

Q.     At least as far as this book is concerned, these

are the starting entries -- these columns started on

August 22 of 2003?

A.     Yes.

Q.     It starts out with $50; right?

A.     Yes.

Q.     And then another $50 and a total of $100.               The

next day, $50; total is $150.          Six days later, $50.

I'm not quite sure if that's the same day or not.                  It

looks like a payment, because the total here is 100.




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Do you see that?

A.     Yes, I do.

Q.     It looks like there was a purchase of $50,

making a balance due of $200, and then a payment on

the same day of $100, leaving a balance of $100;

correct?

A.     Correct.

Q.     That carries over to here.           The next entry is

9-15, which would be September 15; correct?

A.     Correct.

Q.     Is that $100 total a purchase of $50 for 150.

On March 19 the purchase of $50, for a total of 200.

       On another date, a purchase of $50 for 250 and a

payment of 90, a balance of 160.           Do you see that?

A.     Yes.

Q.     In the middle here there is a Ulysses, 186.                Do

you have any idea what that's about?

A.     Reference to clothing.

Q.     It does not relate to the numbers in this column

over here; correct?

A.     No, it doesn't.

Q.     Or in this column down here; correct?

A.     No, it doesn't.

Q.     Then the 160 total carries over to here and this

ledger continues in like fashion with, it looks like




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purchases on 10-22, and then there's another date

here.     I can't make it out.       Another date here.        Might

be 10-29, and so forth.         There's purchases of $50,

$50, 125, payment of 30, payment of 30, purchase of

125 and so forth, to a total of 405.

        Do you see that?

A.      Correct.

Q.      Then that carries over to this page and then

these same entries.       I won't go through this whole

column.     It goes down this column, with the total of

325 up to the top here, 325.          Down to the bottom here,

275.    The next page, 275, a purchase on a date which

may be 5-28.      It's not here, but it's on the same

line.     A total of 400.     5-28, a payment of 300.          So,

on May 28 you owed Ms. Martin $100.

A.      Correct.

Q.      Now, you've established that the first column --

the columns on the left down here and here were for

clothes.

A.      Correct.

Q.      What is reflected in these columns down this

side, down here and down here?

A.      Cocaine.

Q.      Powder or crack?

A.      Powder.




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Q.     It would appear that at least from the period

covered by this ledger, which appears to be August 22

of 2003 through May 28 of 2004, which would be three

days before your arrest; correct?

A.     That's correct.

Q.     That the largest quantity that you ever

purchased with dollars.

       MS. JOHNSTON:       Objection.

       Counsel is leading the witness.

       THE COURT:      Overruled.

       BY MR. MCKNETT:

Q.     Does it appear that that's correct?

A.     That's correct.

Q.     And it would appear that the smallest quantity

you bought was $50; is that correct?

A.     That's correct.

Q.     It appears that the most you ever owed Ms.

Martin on this drug ledger was -- let me just check to

make sure -- $465.

A.     That's correct.

Q.     Were you buying cocaine in any form from anyone

else once you started obtaining cocaine from Ms.

Martin?

A.     No.

Q.     Does this ledger accurately reflect the




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frequency with which you were buying cocaine from Ms.

Martin?

A.     Correct.

Q.     Does it reflect the frequency with which you

were buying cocaine from Ms. Martin prior to August 22

of 2003?

A.     I don't -- the 125s might not.            The frequency,

are you saying?      Or the cost?

Q.     The frequency.

A.     Yes.

Q.     When did you start buying the 125s from Ms.

Martin?

A.     I don't recall the date, but within that last

year or so I had a little more money in the bank.                 I

didn't realize that you could get 125 and get three

packets and that you save money that way.              So, maybe

within the last year or two when I had more funds to

spend and the knowledge that I can purchase more for

-- I could purchase more for $125.

Q.     When you bought a 125 from Ms. Martin, did you

always obtain the entire 125 from her?

A.     No.    Sometimes I would get the 125 and -- let me

go back.     Maybe it was more than a year.           Let me

correct myself.      Maybe it was more than a year.            Maybe

I purchased 125 when she was in the house.              I don't




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recall.

Q.       Excuse me.    When you say "the house," which

house?

A.       Bexhill Court.     I'm not certain, but -- I'm not

sure, but I would purchase it but give it to Ms.

Martin because I didn't want it all on me at one time.

So she would hold it for me, and I would make phone

calls or come back to the house and, you know, tell

her to keep half of it or the majority of it, and I

would come back and pick it up.           I found out it was

cheaper to buy three for $125 than to buy three for

$150, so I would let her hold it, and she would hold

it and I would go back from time to time and pick it

up.

Q.       When you started buying 125s, did you ever sell

any portion of the 125?

A.       No.

Q.       Did you ever sell any cocaine in your life?

A.       No.

Q.       In your entire life?

A.       My entire life.

Q.       Did you ever buy crack cocaine?

A.       No.

Q.       In your entire life?

A.       My entire life.




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Q.     I asked you questions -- I asked you to identify

people on this chart, CH-1.

A.     Yes.

Q.     Other than Ms. Martin, were you involved in any

drug activity -- any drug purchasing activity at all

with any of these other people?

A.     No.

Q.     Were you involved in any drug-related activity

at all with any of those people?

A.     What do you mean by "drug-related activity?"

Q.     Did you ever use drugs with any of those people?

A.     Yes.

Q.     Who was that?

A.     Bruce Walker.

Q.     Milburn Walker?

A.     Yes.

Q.     Was the drug usage a part of the problem you

described with your relationship with Mr. Walker?

       MS. JOHNSTON:       Objection.

       Asked and answered before lunch.

       THE COURT:      Sustained.

       BY MR. MCKNETT:

Q.     Did you ever know any -- other than Mr. Walker,

did you ever know any of those people on that chart --

with the exception of Mr. Walker and Ms. Martin, did




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you ever know any of the people on that chart to buy

or sell drugs?

A.     No.    Just reading in the newspaper about

persons.     But, no.

Q.     Don't tell me what you read in the paper.

A.     No.

Q.     Prior to June 1st, did you have any knowledge

that any of those people other than Mr. Walker and Ms.

Martin were involved in the distribution at any level

of drugs?

A.     No.

Q.     Ms. Ali, I want to ask you some questions about

the transcripts that we've had played in this court.

Do you have a transcript book up there?

       I ask the jurors to refer to theirs.

       With one exception, they've all been played, so

I won't be asking that any except that one be played,

but I do want to ask you some questions.

       You've heard Sergeant Sakala testify about them,

and I want to talk to you about some of these same

conversations.      I'd ask you to turn first to Page 30.

Q.     Do you have it there?

A.     Yes, I do.

Q.     I'm going to ask you to turn your attention

specifically to Page 31.




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       Now, this is a conversation between Ms. Martin

and Martha Jean West, and it involves clothing as to

when the detective testified.          Do you recall that?

A.     Yes, I do.

Q.     At the top in the transcript it says -- the

third "P.M." down in the transcript, it says, you know

I ain't gonna spend that kind of money for it, but the

officer -- the sergeant agreed that actually what was

said was, you know LaNora ain't gonna spend that kind

of money for it.

       Do you recall that?

A.     Yes, I do.

Q.     Then later, at the bottom, Ms. Martin says, I'm

pretty sure she's not going to take it, because she's

getting ready to go on a cruise.

A.     That's correct.

Q.     Were you getting ready to go on a cruise?

A.     Yes.

Q.     Was that the cruise that we heard about that --

was it April?

A.     It was the early part of April 2004.

Q.     Were you -- what were you doing to prepare to go

on this cruise?

       MS. JOHNSTON:       Objection.     Relevance.

       THE COURT:      Overruled.




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       THE WITNESS:      Getting my wardrobe ready.           You

know, on a cruise you can dress, and you can take as

many items as you like.         You can change three, four

times a day, or you don't have to change at all.                So,

I was trying to get my wardrobe together, and I was

calling Ms. Martin because, gaining the weight, I

could no longer fit some of my evening attire or

casual attire that we went for dinner.             So I was

trying to locate evening attire and sundresses which I

had outgrown or any -- not just sundresses but any

type of summer clothing items, casual sport items.

       BY MR. MCKNETT:

Q.     Who were you going on the cruise with?

A.     My husband and friends, and my mother.

Q.     Where was the cruise going to be?             What

geographic area?

       MS. JOHNSTON:       Objection.     Relevance.

       THE COURT:      Overruled.

       THE WITNESS:      I think it was the western or the

eastern Caribbean.

       BY MR. MCKNETT:

Q.     Did you actually go on that cruise?

A.     Yes, I did.

Q.     Ms. Martin says toward the bottom, and her money

is funny.    Do you see that?




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A.       Yes.

Q.       Bottom of Page 31.      Do you know what she was

talking about there?

A.       Well, Ms. Martin knew certain high end clothing

I would admire but I didn't purchase, but she also

knew we were going on a cruise.           Basically, when we

went on the cruise, we didn't try to spend a lot of

money beforehand, because we wanted to purchase items

in the Caribbean.

Q.       Let's turn to Page -- call B324 -- excuse me.

Before we do that, let's turn to Page 36, at the

bottom.

         Ms. Martin says, yeah, uh-huh, because LaNora

and them going on the cruise, and all they want casual

stuff.    And Ms. West, at the top of Page 37, says 610;

right?

A.       Correct.

Q.       Do you know who Ms. West was referring to when

she said 610?

A.       The six no longer was me, so -- the ten was, but

not the six.     So, I don't know who the six was in

reference to.

Q.       Go to Page 39, call B463.        This is a call on

March 13, '04 between yourself and Ms. Martin.               In the

middle of Page 39, Ms. Martin says, I need you to go




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ahead and look on the Internet and book my flight to

Kansas City for the 12th of May, me and Goody.

         First of all, who was she referring to when she

said "Goody?"

A.       Learley Good win, her "play brother."

Q.       Mr. Goodwin who is sitting here in the

courtroom?

A.       Correct.

Q.       You've used that phrase twice now.           Her what

brother?

A.       Play brother.

Q.       Her play brother?

A.       Yes.

Q.       What do you mean by that?

A.       A person that you've been knowing so long, and

you don't -- and you consider him as somewhat of a

brother to you.      Someone who is very close to you.

Q.       She's asking you -- it appears to book a flight

to Kansas City.      Do you know what that was for?

A.       Yes.   Ms. Martin was trying to promote some

shows.     If I'm not mistaken, this was the Aretha

Franklin show that -- the show didn't go off, but she

knew that I was -- she wasn't that familiar with the

Internet, and so she asked me to book the flight for

her and Goody to go there.




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Q.       Did you ever do that?

A.       No, I didn't.

Q.       It fell through?

A.       Yes.

Q.       Now, there's four calls in a row I want to turn

your attention to, and they're in the government

transcript book.

         I'm not sure I placed one of them up there.

Have I?

A.       No, you didn't.

         MR. MCKNETT:     If I may do that, Your Honor.

         THE COURT:     You may.

         BY MR. MCKNETT:

Q.       There should be one as an exhibit, Your Honor.

         I'm just going to sit these here on the side,

Ms. Ali.    I want you to take Book 1 and turn to Page

70.   Are you there?

A.       Yes.

Q.       Okay.   Call B566, on Page 70; call B567 on Page

71; call B669 on Page 76, and call a231 on Page 77.                    I

want to address them as a related sequence of calls.

         Call B 566, on Page 70, took place on March 14,

'04 at about 10:11 in the morning, and it appears that

you're calling Ms. Martin.         There's a number at the

top --




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A.       That's my home number.

Q.       Do you know what day of the week March 14 was?

A.       No, I don't.

Q.       If you look in the front of the defendants'

transcript book, you will see a calendar.

A.       On Sunday.

Q.       March 14 was a Sunday?

A.       Yes.

Q.       You're asking Ms. Martin if she's going to go --

if she's going back home when you leave there.               You

must have been calling -- is it fair to assume you

were calling Ms. Martin on her cell phone?

A.       Yes, it's fair to say that.

Q.       Do you know?

A.       No, I don't.

Q.       And then she says she's not sure yet; she may go

walking.     You say, 'cause you know, cause, no,            just

one.

         Then the next call, which is one minute later,

Ms. Martin is calling you; correct?

A.       That's correct.

Q.       You can tell that from the heading.           She asks

you, you know, I forgot -- the other day you got the

other day you want me to put that on the, on the books

right?     And you say, no.      I'm gonna, I'm going to the




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bank now; correct?

A.     Correct.

Q.     Do you know what she meant when she said, do you

want me to put that on the books?

A.     Yes.

Q.     What did she mean?

A.     I probably didn't pay her, so she wanted to know

if I wanted her to put it on the books.

Q.     Then you say, I'm going to, I'm goin' to the

bank now.     How were you going to go to the bank on a

Sunday?

A.     Bank card.

Q.     ATM machine?

A.     Correct.

Q.     And then the next day, on March 15.             Now, this

call is at 19:14 -- 7:14 at night; correct?

A.     What page is that, sir?

Q.     On Page 76, excuse me, call B 669.

A.     Correct.

Q.     And you say, yeah, one.          All right, call me.

I'll bring it downstairs so don't have to come up.

       And then the next call is on Page 77, call A231

at 7:23, which is nine minutes or so after the

previous call.      Ms. Martin is telling your husband he

can come down to the door.         Do you see that?




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A.     That's correct.

Q.     On call B669, Page 76, what was it that you were

going to bring downstairs so Ms. Martin didn't have to

come up?

A.     I'm assuming money.

Q.     These calls, call B566, call B567, call B569 and

call A231.     What were they about?

A.     Purchasing cocaine.

Q.     When you say "just one," what were you referring

to?

A.     The $50 package.

Q.     Ms. Ali, would you turn to -- in the defendants'

book, would you turn to Page 45, please?              I want you

to look at call B634 on Page 45 and then call B638 on

Page 47.     I want to address them together as a unit.

       In call B634, at 1:39 on the 15th of March, '04,

Ms. Martin is talking to someone named Cathy.               Do you

see that?

A.     That's correct.

Q.     She asks, did you get rid of those sundresses?

       MS. JOHNSTON:       Objection.

       This witness is not a party to this call.

       THE COURT:      He's reading what it says.

       MR. MCKNETT:      Excuse me, Your Honor?

       THE COURT:      Overruled.




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       BY MR. MCKNETT:

Q.     That's what it says; correct?

A.     That's correct.

Q.     At the bottom of the page, Ms. Martin says,

someone was here and I was telling her about them, and

she was interested.

       Do you have a basis for knowing who Ms. Martin

was talking about?

A.     Yes.

       MS. JOHNSTON:       Objection.

       THE COURT:      See if you can establish that she

has a basis for knowing.

       MR. MCKNETT:      I asked her if she had a basis for

knowing.

       THE COURT:      All right.     Ask her what it is.

       BY MR. MCKNETT:

Q.     What is the basis for knowing who Ms. Martin was

talking about?

A.     I know she could have been talking about me,

because I inquired about sundresses.

Q.     In the next sentence, Ms. Martin says, when you

get some more small sizes like 2 or 4, and a 12 or 14,

let me know.

       Do you know -- do you have a basis for knowing

what Ms. Martin was referring to then?




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       MS. JOHNSTON:       Objection.

       THE COURT:      What is her basis?

       BY MR. MCKNETT:

Q.     What is your basis?

A.     I inquired about sundresses with Ms. Martin, and

she also -- she knew that my bottom was much larger

than my top so I would take anywhere from a 10 to a 12

in a sundress.

Q.     Ms. Ali, I'm just going to skip past the -- let

me ask you -- let me look at one thing here, if you'll

bear with me, Your Honor.

       On Page 49, which is part of call B638, which is

a call made six minutes after the one we just

discussed in the middle of Page 49, Ms. Martin refers

to sundresses.      I just called them back, but they said

they got rid of them.        And then Ms. West says, yeah,

she probably, I'll check.         I can let -- Ralph Lauren

has designer like they tie around the neck.

       Are you familiar with anything that ties around

the neck made by Ralph Lauren?

A.     Yes, but not just Ralph Lauren.            Other

designers, too.

Q.     What is it that you're familiar with that are

made by Ralph Lauren and other designers?

A.     Ms. Martin and I both like sundresses, and we




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like the ones with the halters and the ones that tie

and fasten around the neck, and we were interested in

those because they fit both of us better and I think

they had an A-line shape more to them.

Q.     Are sundresses dresses that you would purchase

and use on a cruise?

A.     Correct.

Q.     Ms. Ali, turn to Page 52 in the defendants'

book, if you would, please, call 835.             It's a call

made at -- on 3 September -- excuse me, March 17,

2004, at about six minutes before six.             This is a call

between you and Ms. Martin; correct?

A.     That's correct.

Q.     Turn to Page 54, if you would, please.              Toward

the bottom of the second paragraph, where you're

speaking, you start out, spring and summer.               Then

there's a second paragraph.          Do you see that?

A.     That's correct.

Q.     Did you -- when we played this transcript

yesterday, did you hear anyone else talking in the

background in that conversation?

       MS. JOHNSTON:       Objection.     The recording speaks

for itself.

       THE COURT:      Overruled.

       THE WITNESS:      Yes, I did, but I don't recall




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right now.       Yes, I did.

         BY MR. MCKNETT:

Q.       Okay.

A.       It was Ulysses in the background talking about

Kevin.

Q.       Kevin was who?

A.       Kevin was the young man that had a clothing

boutique in Baltimore, and Ulysses was purchasing

clothing from him.

Q.       On Page 53, toward the bottom, you say yes, he

talked to Kevin last night.

         Who was it that talked to Kevin?

A.       Ulysses.

Q.       And Kevin was the gentleman who, on Page 54, you

say wants to do a fashion show?

A.       Correct.     He was trying to get his spring line

out there.

Q.       On Page 55, toward the top, you say well, we'll

stop by after it, if it's okay with you.              Ms. Martin

says, okay.       No problem.

         Do you see that there?

A.       Yes, I do.

Q.       Why were you going to stop by?

A.       Just to be stopping by.

Q.       To pick up drugs?




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A.       No.

Q.       Just to visit?

A.       It could have been, yes.

         Or Ulysses might have wanted to go by to discuss

-- Kevin had spoke to her on the telephone.               It could

have been to pick up -- to look at new clothing that

she had, and to eat.

Q.       To socialize?

A.       To socialize; correct.

Q.       In the beginning of this conversation, on Page

52, there was conversation about, Ulysses said you

could take that chocolate Godiva cheesecake.

         What was that a reference to?

A.       Page 52?

Q.       Page 52.

A.       Ms. Martin loved to please her friends, and she

knew that Ulysses loved cheesecake, so she would often

go to The Cheesecake Factory and buy a new cheesecake.

So when Ulysses came over, you know, he can indulge

cheesecake.

Q.       And it says, he will come by and give it to you.

         What was that a reference to?

A.       Sometimes Ulysses would buy cheesecake and they

would share cheesecake, sweet potato pies with each

other.




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Q.      And so it was a reference to chocolate Godiva

cheesecake and nothing else?

A.      Right.

Q.      There's a reference in here to you say on the

same page, 52, we got to go pick this lipstick I left

over here.      He said he'll cut his.        What does that

mean?

A.      I know that I was at a shopping center, and I

don't recall which one right at the moment, and I left

-- I had purchased some lipstick and they didn't place

it in the bag, so I had to go back and pick it up.

And he said he'll cut his.         That's why I'm kind of

confused.     I don't know if she had the chocolate

cheesecake or he had the chocolate cheesecake.               I know

whatever it was, Ulysses was getting ready to get some

chocolate cheesecake or had chocolate cheesecake.

Q.      During the end this conversation --

A.      Excuse me.     I'll go back.      It couldn't have been

Ulysses, because it said we were not at work that

evening, so we wouldn't have had chocolate cheesecake

in the car.      So I'm sure Ms. Martin had it and we were

going to go over there and get a piece.

Q.      Okay.    In the middle of Page 55, the

conversation starts between yourself and Ms. Ali, and

it continues on down to about the middle of Page 56,




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and you're talking about, she ain't going to work

today.    I swear.    She had me, I was going to go to the

store and get me some bubbles and a pack of

cigarettes.     I said, Jackie, I had just come in here

and so forth.

         Who was Jackie?

A.       Jackie Terrell was the owner of the house at

Hayward Avenue in Takoma Park, and Ms. Martin lived in

her basement.

Q.       It appeared -- is it fair to say that in the

conversation, Ms. Martin appeared to be annoyed with

Jackie?

         MS. JOHNSTON:     Objection.     Leading.

         THE COURT:    Sustained.

         Ask another question.

         BY MR. MCKNETT:

Q.       Did you have occasion to observe the

interactions between Ms. Martin and Ms. Terrell --

Jackie Terrell?

A.       Yes.

Q.       Did you have occasion to form an opinion about

the relationship between Ms. Martin and Ms. Terrell?

A.       Yes.

         MS. JOHNSTON:     Objection.     Relevance.

         THE COURT:    Overruled.




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       THE WITNESS:      Yes.    Ms. Martin and Jackie

Terrell had a very good relationship, except Jackie

was annoying to some of us because she didn't like to

leave home once she got there.           So if we called, or

Ms. Martin was going out, or John was going out,

Jackie would constantly ask us to stop at the store

and pick up some bubbles -- champagne -- and

cigarettes for her.       So, sometimes we would tell her

different reasons that we weren't going to stay or we

weren't going in that direction, or we would make up

an excuse because we didn't want to stop at the store.

It got quite annoying, especially if she wanted you to

go back out.

Q.     There's a reference to "bubbles."             Did you say a

reference to bubbles was champagne?

A.     Well, yes.      My bubbles is champagne.          Correct.

Q.     Ms. Ali, please turn to Page 99 in the

defendants' transcript book.

A.     In whose book?

Q.     Defendants.      I'm going to ask you to juggle

books a little bit.       I want you to look in the

defendants' book --

A.     Defendants or government?

Q.     Did I say defendants?         I meant government.        The

first one is in the defendants book at Page 99; the




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second, third and fourth will be in the government's

transcript book at Pages 138, 140, 158.

         I apologize.     I think they're in Book 1, but I

can't swear to it.

         MR. MARTIN:     Yes.

         BY MR. MCKNETT:

Q.       Do you have them there?

A.       138, 140, and what was the other one?

Q.       And 158.

A.       Yes.

Q.       Turn your attention first to the defendants'

book, Page 99, call, B1139.          Do you see that?

A.       Yes.

Q.       Ms. Martin says -- she's talking to her son,

Corus?

A.       Cyrus.

Q.       I'm sorry.     I'm trying to say it right.         I don't

think I've done it right yet, but I'll keep trying.

         Ms. Martin says to her son, I fixed a sweet

potato pie last night.          LaNora and all them came for

dinner.

         Was that correct?

A.       I know we went.        I don't remember who all were

there.    It could have been someone else, and it could

have been someone else before me or after me.




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Q.     Do you remember what day of the week March --

well, the night would have been March 19; correct?

A.     Yes.

Q.     Do you remember what day of the week March 19

was?

A.     No, I don't.

Q.     Would you look at that calendar, please?

       MS. JOHNSTON:       Your Honor, we'll stipulate it

was the same day of the week as it was yesterday when

these questions were asked.

       MR. MCKNETT:      I didn't ask this question of Ms.

Ali yesterday.

       MS. JOHNSTON:       Of the detective, Sergeant

Sakala.

       THE WITNESS:      It's on a Saturday.

       BY MR. MCKNETT:

Q.     March 19?

A.     March 19 was a Friday.

Q.     Do you remember if Ms. Martin fixed a sweet

potato pie on March 19?

A.     Yes, I do.

Q.     Did she?

A.     Yes.    She fixed a complete dinner.

Q.     Turn your attention to the government's

transcript book, please, Book 1, and the first call




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there I mentioned was A 367.

         Do you have that there?

A.       Yes, I do.

Q.       It says at the top -- this is an excerpt.             It

gives the excerpt information and then you say, wait a

minute.     I told her I was coming by to get some pig's

feet because that's all I could think of.              And she

said, oh.     Call me before you come by.

         The government's transcript has you stopping

there.    And then Ms. Martin interrupts and says,

Mm-hmm.     Then the government's book has you starting

again, with quotes, saying, because you know what I

want.

         Do you remember Sergeant Sakala testifying that

first you were making two separate comments, and that

if he were to edit this page now he would take out the

quotation marks because, you know what I want.               Do you

remember that testimony?

A.       Yes, I do.

Q.       Does that fit your recollection of this

conversation?

A.       No, it doesn't.

Q.       What is your recollection of this conversation?

A.       I was calling, talking -- I was talking with

Jackie, and I'm saying that I'm coming by to get some




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pig's feet.     I couldn't think of anything else to tell

her, because that's what I was coming by for, and she

said well, call me before you come by, because you

know what I want.       And that's what she wanted was

always champagne and cigarettes.

Q.     Then later on you say, so if you ain't there, is

it all right if I get some?          Ms. Martin says yeah.

You say, okay.      She says, okay.       And you say, all

right, hon.     And she says, okay.        Then you both say

good-bye.

       When you said, so if you ain't there, is it all

right if I get some, what were you referring to?

A.     The dinner from last night.           The pig's feet by

dinner.     The dinner that we had the night before.

Q.     Leftovers?

A.     Yes.

Q.     At any time in your relationship with Ms.

Martin, did she ever leave a package of drugs with Ms.

Terrell for you to pick up later?

A.     No.

Q.     Was it the nature of the relationship between

Ms. Martin, yourself and Ms. Terrell that either you

or Ms. Martin would trust Ms. Terrell with drugs for

you to pick up later?

A.     That's correct.       We would not trust Ms. Terrell




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with drugs.

Q.       Is it fair to say that these four conversations

related to nothing but you coming over to pick up some

leftovers?

A.       That's correct.

Q.       And then the next -- the third part of this

series, B1233 in the government's book at Page 140, a

call that was placed on March 21 at 1:28 in the

afternoon.       Ms. Martin says, okay.       I fixed your

thing.     I have it with me, so you just call me.

         What was Ms. Martin referring to when she says,

I fixed your thing.       I have it with me, so you just

call me?

A.       That could have been food; could have been

anything.

         MS. JOHNSTON:     Objection as what it could have

been.

         THE COURT:    Sustained.

         BY MR. MCKNETT:

Q.       Do you have a recollection as to what Ms. Martin

was talking about when she said that?

A.       Food.

Q.       Is this the food you were referring to in call

A367 the previous evening?

A.       Correct.




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Q.       Did you in fact go to Ms. Martin's house on the

evening of March 20, if you recall?

A.       I don't recall.

Q.       And then the last call in this set, call A394 in

the government's book, at Page 158 at 5:51 on March

21, which is the same day as the call on which Ms.

Martin says, I fixed your thing.           I have it with me.

Ms. Martin says, I can't wait, LaNora, till I get my

house.     I'm so sick of that.       I don't know what to do,

which appears to be a reference again to Jackie asking

Ms. Martin to run errands for her.

         Is that what it appears to be to you?

A.       Yes.

Q.       Then Ms. Martin says, when you get near, when

you get near the house, it's in the trunk of my car.

Just call me.      I'll come outside and hand you the bag

out of the trunk.       What was she referring to?

A.       In the trunk, I distinctly remember Ms. Martin

did have some sundresses and she knew that there was

one that I admired, and in the bag she was giving me

one of my early birthday dresses and it was a

sundress, a black, white and pink sundress, along with

some food.      That was in the bag in the trunk of her

car.     One bag had food in it, and one bag had a dress

in it.




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Q.      In your relationship with Ms. Martin, when you

were buying drugs from her, did she ever store eight

ball quantities of drugs the size of a Jolly Rancher

candy in the trunk of her car to your knowledge?

A.      I don't know what an eight ball looks like,

except for you described it here in the courtroom

here.   I never purchased anything from her from the

inside of her car or received any drugs from the

inside of the trunk of her car.

Q.      How would you receive drugs from Ms. Martin?

A.      In her home or in the basement.

Q.      She would hand them to you?

A.      Yes.

Q.      The very last part of this conversation -- the

very bottom of Page 158, in any event, you say, that's

okay.   I'll bring your necklace to you.            I got to help

you bring them in too, okay.

        What are you talking about there?

A.      That's the incorrect word.          It's not "necklace,"

it was Nantuckets.

Q.      What are Nantuckets?

A.      They're nectar juices that were sold at

Costco's, and we would go to Costco's and Ms. Martin

-- they were one of Ms. Martin's favorite drink, and

we would pick up those and take them to her house




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after we purchased them.

Q.     Before you get to the last part of that

sentence.     Is that -- further up in that conversation

you say, okay.      Well, I got two juices -- two things

of juices for you, too.

A.     Yes.

Q.     Those are the Nantuckets?

A.     Correct.

Q.     And then at the bottom of Page 158 you say, I

got to help you bring them in, too, okay?

A.     Yes.

Q.     What are you referring to there?

A.     Two cases of Nantuckets.

Q.     How many bottles are in a case?

A.     Well, at Costco's they usually oversize.               So,

maybe 36 or 24.

Q.     They're heavy?

A.     Yes.

Q.     Big?

A.     Yes.

Q.     Ms. Ali, I want to turn your attention now in

the defendant's book to Page 101, call B141.               That's a

call between yourself and -- excuse me, between Ms.

Martin and Martha Jean West on March 23, '04 at 4:43

in the afternoon.       If you look at Page 102, Ms. Martin




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says, I guess I can wear a medium.            Is it running true

to size?     Sergeant Sakala opined yesterday that was a

reference to, if I can paraphrase, different

manufacturers sizes may not -- there is no standards

that sizes may vary from manufacturer to manufacturer.

         Remember that testimony?

A.       Yes.

Q.       Has that been your experience?

A.       Basically, a medium is a size 10 to 12.

Q.       Do you know what she was referring to when she

says, is it running true to size?

A.       If it was a medium, it was true to size.             So if

it was a medium, it was a 10-12.           Or if it was a -- it

could have been pus -- maybe it wasn't true to size.

Sizes vary.

Q.       Would you turn to Page 107, please, in the

defendants' book?       There are two calls, one at 1107

and one at 110.      You recall on 1107, it's call B1567,

which was made on March 5th '04 at about 6:37, and the

call B1568 was made on the same day about 14 minutes

later.     The first one, call B1567 you say to Ms.

Martin, nothing.      Listen.     I've got these two tickets

that I got to get rid of and "inaudible" because

Ulysses and I can't use them.          Then you continue about

D. C. and Tina going to Vegas and so forth.




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        Then on Page 110, call B1568, as I said, about

14 minutes later, you say you called Teresa earlier

but she wouldn't answer the phone.            I told both of

them, and then Ms. Martin says she's at Gene's.                You

say no "inaudible" came home last night.              Oh, good.

Then you say, so she -- they said they would take

them.   Nobody else would seem like they wanted, but

Teresa jumped on them.

        What are you talking about there?            Are you're

talking about tickets that you have to get rid of?

What tickets?

A.      The year prior to that, I also went on a cruise,

and we got bumped off a flight, and we received eight

Air Tran tickets for being bumped off the flight.

Q.      I'm sorry.     Eight what?

A.      Eight Air Tran tickets, airline tickets for

being bumped off the flight.          In total we received 16,

but they were split with another couple, and we had to

use them within a certain time period.             We had two

left.   We were using the ones to go on the cruise

prior, but we had two sets of tickets left.               I offered

them to a friend, Tina, in D. C. and they refused them

for other plans, and I was calling Ms. Martin to find

out if she thought if it would be all right to ask her

daughters if they would like to use the tickets.




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Q.     What ultimately happened?

A.     Her daughter, Teresa, decided that they wanted

the tickets.

Q.     This didn't have anything --

A.     Excuse me.      These tickets were transferable.

Air Tran allows you to transfer tickets.

Q.     So this conversation had nothing to do with

drugs, did it?

A.     That's correct.

Q.     Turn if you would to Page 130 in the defendants'

transcript book, and at the same time to Page 265 in

the government's transcripts.          These relate to the

same call, call B2436, a call made on April 1st 2004

at about 6:42 in the evening.          It's between yourself

and Ms. Martin.      The government's transcript is just

the very end.      They've excerpted that out, so I'd like

you to look first at the defendants' book.

       MR. MARTIN:      What page, Mr. McKnett?

       BY MR. MCKNETT:

Q.     Page 130 in the transcript of the entire call in

the defendants' book.        Ms. Martin says, trying on some

things I had taken up.        You say, oh, the ladies

"inaudible."

       Do you know what that was a reference to?

A.     She had a seamstress that was taking clothes up




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for her.

Q.     Is that the lady?        "The lady" is the seamstress?

A.     Yes.

Q.     Then you say, I'm going to get my toes done.                I

got to have them ready for the cruise.

       Do you see that?

A.     Yes.

Q.     Is this the same cruise you were talking about

before?

A.     Correct.

Q.     The cruise you were buying sundresses and casual

clothes for?

A.     That's correct.

Q.     Then you say, but "inaudible" to call me, I'm

still trying to stop by there.

       What did you mean by that?

A.     That I was going to stop by.

Q.     I stopped too soon.

       But I'm, you know, so I was getting ready to go

get my nails, then I'll be by there later after that.

       Where were you going to stop by?

A.     To Ms. Martin's.

Q.     Were you going to stop by there to get drugs?

A.     Not necessarily, no.

Q.     Let's go down to the top of Page 132 which is




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the section that was transcribed by the government.

You say -- she says, uh-huh.          So just the one

magazine.

        Well, let me put this in better context.              After

you say you were going to get your nails done and then

you will be by there after that, you talk about where

you're going to get them done it appears; is that

correct?

A.      That's correct.

Q.      And then you go back to you're going to stop by

after you get them done?

A.      That's correct.

Q.      So the conversation returns to that.

A.      Yes.

Q.      And then Ms. Martin says, so just the one

magazine?      And that's where the conversation returns

to you going to Ms. Martin's house; is that correct?

A.      That's correct.

Q.      And you say, that's all.         I got to make sure.

And then Ms. Martin says -- in the government's

transcript, Ms. Martin says, I need to know that

'cause I may have some people in here.             But in the

defendants' transcripts, Ms. Martin says, okay.                I

need to know that because I may have to keep it in

here.




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        Which of those two versions most accurately

reflects Ms. Martin's actual words as best you recall?

        MS. JOHNSTON:      Objection.

        THE COURT:     Overruled.

        THE WITNESS:     In the defendants' book?          Okay.       I

need to know that, 'cause I may have to keep it in

here.

        BY MR. MCKNETT:

Q.      She says, just the one magazine.           You say that's

all I got to make sure.

        What are you and Ms. Martin talking about in

that portion of the conversation?

A.      Ms. Martin had a lot of magazines in reference

to clothing, shoes and cosmetic surgery, and I would

often share some of the magazines with her.               She was

in the process of getting cellulite taken care of, and

a lot of times when you came over there, especially

with me, I don't know if she did with other people,

she was always, girl, you need to get this done or

taken care of.      And she would show, you know, written

documentation that was about this, that her plastic

surgeon had given her, and I would share this with

other people, and I would read it myself and magazines

-- she had other magazines.          We also would share Jets

together.    I used to go and get Ms. Martin's Jet




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magazines and read those and take them home.

Q.     If you know, why would she need -- why would she

say, I need to know that 'cause I may have to keep it

in here?

A.     Well, if it's in reference to the cellulite

information, she shared that with everyone.               She

didn't have a lot of pamphlets, and -- if there was a

reference to the Jet magazines, Ms. Martin liked to

talk a lot, and so she would get information to Jets

and share them with other people.

Q.     Let me turn your attention to Page 187 in the

defendants' transcript book.          It's call B3946.

A.     What page is that?

Q.     It starts on Page 187.         It's call B 3946, and it

took place on April 19, '04 at about 5:56, and I want

to turn your attention to specifically Page 191 and

192.   Do you see that?

A.     192 and 193?      Yes.

Q.     At the bottom of 191, Ms. Martin says, I need

something to go work on.         LaNora's not home, her --

a.     I'm sorry.      Is that the defendants' book?

Q.     Yes.

A.     I'm sorry.      I have the wrong book.

Q.     This is a call between Ms. Martin and Martha

Jean West again.




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A.       Okay.

Q.       Ms. Martin says -- at the bottom of Page 191,

she makes a reference to working on LaNora some.                Your

birthday comes up in June.         Was Ms. Martin accurate on

that?

A.       Yes.

Q.       And then she says -- Ms. West says, what size?

Ms. Martin says, LaNora a 10 now?

A.       Correct.

Q.       That was a reference to your clothes size?

A.       Yes.

Q.       If you would, turn to Page 201, please, call

B3956.    This is a call that same day, April 19, about

8:38, and you're calling Ms. Martin and her answering

machine picks up.       Do you see that?

A.       Yes, I do.

Q.       Who is Janice?

A.       A friend.

Q.       You say, Janice on the other end.           What do you

mean by that?

A.       It was a two-way conversation.

Q.       She was wondering if you had any fat people

clothes, like a 16.       What did you mean by that?

A.       Janet asked me to ask Ms. Martin if she had any

fat people clothes.       That's how Janet described it,




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size 16.

Q.     Is Janice a large woman?

A.     Yes, she is.

Q.     Turn to page -- in the defense book -- excuse

me, in the government book, Page 346.             I'm not sure if

we're still in Book 1 now.

       MR. MARTIN:      No.    You're in Book 2 now.

       BY MR. MCKNETT:

Q.     We're in Book 2 now.         Do you have it there?

A.     Yes.

Q.     Page 348.     Then the next call on page 348,

they're calls A1224 and call A1226.            They both took

place on April 21st '04.         The first one took place at

7:12; the second one took place at 9:01.

       In the first one, in the extract, Ms. Martin

asks, you want -- you just wanted one ticket?               And

then you say, that's, you pause, I'm going to make a

phone call.     Ms. Martin speaks simultaneously and

says, okay.     Let me know.      Then you complete the

previous comment, to see.

       Is that what you're saying?           I'm going to make a

phone call to see, okay, and Ms. Martin talks over you

and says, okay.      Let me know.      And then -- what were

you referring to "them?"

A.     You mean the ticket, or the phone calls?




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Q.     The first, with reference to one ticket.

A.     Probably a 50.       One ticket would be a 50.

Q.     And then you say, I'm going to make a phone call

to see.

       What were you referring to then?

A.     Sometimes I would make a phone call to call to

see what my funds were like.          Even though Ms. Martin

made a tab and it was okay, that wasn't the business

that I always wanted to do.          So if I would -- if I had

the money to pay, if it was convenient for me to go

get the money or -- I would do that.

Q.     When you say make a phone call?

A.     Make a phone call or get on the computer either

one to check my account, my bank account.

Q.     Who would you be calling?

A.     The bank.

Q.     To talk to a person?

A.     No.    Automated services.

Q.     Did you do that often?

A.     Yes.

Q.     So you were checking to see how much cash you

had available?

A.     Yes.

Q.     You were going to let Ms. Martin know you wanted

one ticket which would be a 50 or a 125, depending how




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much cash you had available?

A.     That's correct.

Q.     Were you going to call another person to see if

that person wanted to buy something from you?

A.     No.

Q.     Did you ask anybody else to see if they wanted

to buy drugs from you?

A.     No.

Q.     Did anybody ever call you asking to buy drugs

from you?

A.     No.

Q.     Did you ever sell drugs to anyone?

A.     No, I did not sell drugs, Mr. McKnett.

Q.     Turn to Page 350, if you would, in the

government's book.       That's the second call I

referenced, call A1226 about --

A.     Page 350?

Q.     The call starts at 3:49.          It's almost two hours

after that previous call, and starting on Page 350 it

looks like you're calling Ms. Martin back and you say

to her, I just realized.         Remember I told you I wanted

the whole thing, but I only wanted part of it today?

And then there's a conversation about you put the

wrong price in the book.         You put the wrong price in

the book, $1.25.      Oh, you did.       I thought you put 50




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in the book.      Ms. Martin says, you told me you wanted

one of them today.       You say, yeah, yeah.         You say, but

I thought you put the wrong price in the book.               And it

goes on ,I'm just trying to look out for you, and so

forth.

         What was that conversation about?

A.       That was one of the times that I had purchased

$125 worth, which would be three packages of -- three

fifties, and I left it with Ms. Martin, and I would

only -- I went back to get one.

Q.       And the thing about you put the wrong price in

the book, 125, what was that about?

A.       I thought she put a 50 in the book, and she said

she didn't; she put 125 in the book.            So I was trying

to make sure that she wasn't being cheated.

Q.       Is that the book we talked about earlier that

had the columns of numbers and dollar amounts and such

in it?

A.       Yes.

Q.       Would you turn in the defendants' book to Page

-- excuse me, in the governments's book to call B430?

And I have -- it's page 378.          Do you have that there?

A.       The defendants' book?

Q.       No.    I'm sorry, I misstated that.         Government's

book.    Book 2, I believe, Page 378.




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A.       Yes.

Q.       Again, it's an extract of the larger

conversation.      You say, I think we might go get some

crabs.     You want some?     Ms. Martin says, I'm waiting

on -- I'm waiting for my brother to take, take care of

some business.

         First of all, do you know who Ms. Martin was

referring to when she said "my brother?"

A.       Goody.

Q.       Mr. Goodwin?

A.       Mr. Goodwin.

Q.       Do you know what she was referring to when she

said, "to take care of some business?"             I'm waiting

for my brother Goody to take care of some business?

A.       No, I don't.

Q.       Do you know of any -- strike that.           I'll come

back to that issue.

         If you would turn now to the page in the

government's book, Page 382.          No, excuse me.       I made a

mistake here.      Yes, page 382 in the government's book.

This is a call on April 25, '04, about 10:17 in the

morning.

         Do you know what day of the week April 25 was?

A.       A Sunday.

Q.       This is a call between yourself and Ms. Martin,




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and she says at the very beginning of the extract, I

think something went down Friday with them.               And then

you say, Peterson.       And she says, no.        Huh.    Huh.

Gwen.     And you say oh, oh.

        Who was Peterson?

A.      I don't know.      I don't recall.

Q.      And then she says Gwen, and you say, oh, oh.

You say, you ain't talked to her?            She says, I can't

get her.     You say zero.      Then there's a lot of talk

about Kevin and Gwen and Skip.           You ask, who's that?

Who's Skip?     A friend of Gwen, you know, Skip who used

to live with Granny and so forth.            Smack, they call

him Skip.     Smack, whatever.       You ask if he knows her,

Gwen.

        What was this conversation about?            Do you

recall?

A.      No, I don't.

Q.      Let me address your attention to the next call,

Page 0387 in the government's book, call B4430 which

is a call on the same day but about six and a half

hours later, again between you and Ms. Martin.

        You asked, you heard from Gwen?           Ms. Martin

says, she locked up.        You say, really?       Mm-hmm.       You

ask, what happened?       She says, I think she's involved

with that Julio thing.        And the conversation continues




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to the next page where the excerpt ends.

         Does that refresh your recollection about what

the previous call was about?

A.       Yes.

Q.       What was that previous call about?

A.       Listening to this, what you're saying now, I

didn't get a chance to turn to the pages in the book.

Ms. Martin was telling me that Gwen Levi was locked

up, and I listened to her.

Q.       Tell me again how you met Ms. Levi.

A.       I met her at the last fashion show that I went

to, Harvey Star Washington's fashion show.              She was

there.    Then I met her two to three times or -- at

Paula's house with Kevin.

Q.       In the next call -- in that first call, B4393,

is it fair to say that Ms. Martin is telling you

something went down Friday night with them, and when

she says "them" she's referring to Gwen?

A.       Yes.

Q.       Did you have any knowledge of why something

would have gone down with Gwen on Friday night?

A.       No.    I just knew she was concerned.         She hadn't

heard from Gwen, so I knew she was concerned about it.

Q.       Do you recall the next call, I think she's

involved with that Julio thing?




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A.     No, I don't.

Q.     And you said, really?         Then Ms. Martin says, I

think Julio's told on her, I really do.

       Do you know what Ms. Martin was talking about

when she said that Julio told on Gwen?

A.     No, I don't.      I didn't even know that they --

Julio knew Ms. -- knew Gwen.

Q.     Did you know Julio?

A.     Yes.

Q.     Who was Julio?

A.     He was a friend of Ms. Martin that lived with

her at Bexhill Court.

Q.     Then you asked, did you tell Gwen that?              Ms.

Martin says, huh?       I told Gwen a long time ago.           And

you say, did you?       And then, did you know what Gwen

was involved in that could have gotten her locked up?

A.     No, I didn't.

Q.     On Page 383 you say, I liked her too.              Seems

like she's an up front person.           Ms. Martin says, she

wasn't involved in that.

       What was Ms. Martin talking about that Gwen

wasn't involved in?

A.     I have no idea.

Q.     Why were you continuing with the conversation?

A.     I was listening to her, and I was concerned,




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too, about Gwen.      I met Gwen.      She seemed like she was

a okay person.      I didn't know her personally.           So,

after Ms. Martin -- if you know me, I am a very

concerned person.       I explained I'm the mother type of

my family and friends' circle, and Ms. Martin was

talking about her, so I was concerned about her.                  I

asked had she heard from her?          And I just listened to

her and asked questions.

Q.       Ms. Martin continues on to say, she just

introduced him to the people that wanted the recipe to

the sweet potato pie.

         Did you know what Ms. Martin was talking about

there?

A.       No.

Q.       Were you curious?

A.       I don't think so.      I was just listening to her.

You know, Ms. Martin did a lot of talking, and so I

just listened.

Q.       B4480, on Page 231.

A.       In the government's book?

Q.       In the defendants' book, excuse me.

         Do you have it there?

A.       Yes.

Q.       This took place on April 26 at 2:58 in the

afternoon.      You're calling Ms. Martin.         You asked, do




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you have anything that I can wear to a dinner dance,

black tie optional, size 10-12 -- excuse me, size 12,

10 or 12.

       What are you referring to there?

A.     Either I'm calling about myself or someone else

in reference to a black tie/after 5:00 dinner dress.

Q.     Are those your sizes?

A.     Yes.

Q.     Then at the bottom, Ms. Martin says, here.               You

asked, I didn't think so.         What you up to?       She says,

not a thing.     Here sewing some buttons on, tightening

up some buttons on a suit.

       What was she referring to there?

A.     That she was sewing buttons on a suit.

Q.     Did you know Ms. Martin to sew things?

A.     Yes.    Buttons.     And she might tack a hem back or

something.

Q.     Ms. Ali, I'm not going to ask you to look at all

these, but there is a series of calls that have to do

with letterhead.      Do you remember that?

A.     Yes, I do.

Q.     They start -- the series starts at B4662, on

Page 264.     I will read off the numbers and the page

numbers; that's in the defendants' book.              The first

one is B4662, on April 26, '04 at 7:23 in the evening.




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The next one is -- excuse me, I misstated that.                B4662

is April 27, 2004 at 9:48 in the evening.              That's a

call between Ms. Martin and Gill Williams.              The next

one is a call on April 27, '04 at 9:59, a minute later

that evening between you and Ms. Martin.              The third

one is call B4670, the same day -- the next day --

excuse me, the same day, later that evening, later in

the day between you and an unidentified male.

A.     What page is it?

Q.     It's on Page 267.

A.     Yes.

Q.     Do you remember hearing that call?

A.     Yes.

Q.     It says in here, "unidentified male."              Do you

know who that actually was?

A.     Yes.    John Martin.

Q.     Then the next one is call B4671 on Page 270, the

same evening, two minutes after the previous call.                 It

consists of, all right, bye.          Bye.

       Do you know why that happened that way?

A.     It was a continuation of the call, I guess.

Q.     Continuation of the previous call?

A.     Yes.

Q.     You're just saying good-bye to Mr. Martin?

A.     Yes.




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Q.       The next call is B4687, the next day, April 28,

at 7:05 in the morning.         You're calling -- excuse me,

that's not in the sequence.          You can skip that one.

         The next one is in the government's book, call

A1363.     That's the one in which you're talking about

an answering service to be placed.            Do you remember

that?     It's on Page 402.

A.       Yes.

Q.       What were you and Ms. Martin talking about?

A.       Ms. Martin was trying to get the promotion

business off the ground, and she really wasn't into

technology.     She had one fax machine at her home, and

I was trying to get her to purchase a second fax to

place on South Dakota Avenue so when she sent her

faxes out that represented the promotion business,

that the numbers and the fax would come off the same

machine instead of because the fax was on -- the fax

letterhead was the same number that was at the studio.

Q.       Back to the defendants' book, if you would

please, Page 281, call B4722.          That's also on April

28.     It's about an hour and a half after the call in

which you discussed the fax machine.            Ms. Martin says,

you going to fax it?        'Cause ain't gonna be in here

that long.

         Do you see that?




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A.       Yes, I do.

Q.       What is it that you were gonna fax?

A.       The letterhead that I was creating for her.

Q.       You said, that man's at the school doing that

thing.

         Do you know who "that man" was?

A.       Yes.   She often had a piano man go to the school

to tune her two pianos there.

Q.       There's a reference later to the piano man.              Is

that who that meant?

A.       Yes.

Q.       On Page 282, call B4739, which is at 139 in the

afternoon, again on April 28.          That's just a fax tone.

A.       Correct.

Q.       That was from you to Ms. Martin?

A.       Yes.

Q.       What were you faxing?

A.       The letterhead.

Q.       The first draft?

A.       Yes.

Q.       The next call in the defendants' book, call

A1389, again on April 28, and it's about three minutes

after you faxed over the draft letterhead.

         What are you and Ms. Martin talking about there?

A.       I was talking about if there are any faxes need




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to be done, if the letter -- if the letter was too --

letterhead type was too small, or if she wanted to

make -- wanted me to make it larger, and I was

confused about the name, if it was PT -- PMT or PM-1,

and she corrected me on that which was PM-1, same as

her license plate tags.

Q.     About six minutes after that, there's another

fax tone, Page 285.       And then several minutes after

that, there's another fax tone on the same day.                Do

you -- what were you faxing -- these were from you to

Ms. Martin; is that correct?

A.     That's correct.

Q.     What were you faxing to Ms. Martin?

A.     Completed letterhead.

Q.     Call B4766, again on April 28, it's about 6:07

in the evening.      What were you and Ms. Martin talking

about there?

A.     I don't have that one.         Is that in the

defendants' book or in --

Q.     In the defendants' book, Page 287.

A.     I don't have that.        Oh, I see.      I'm sorry.

Asking if she received the fax copies.

Q.     Then on -- in that same call, on Page 289, Ms.

Martin says, I got to go back to the school, let that

man out of the school.        You say, the piano person?




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         Is that the man you were talking about in the

previous conversation?

A.       Yes.

Q.       Page 303 in the defendants' book, call B4906.

A.       343, you say?

Q.       303.   Do you see that there?

A.       Yes.

Q.       Is this more conversation about the letterhead

that you were faxing?

A.       That's correct.

Q.       And then finally in this series of calls, B4907

on Page 305.     Do you see that there?

A.       That's correct.

Q.       What is Ms. Martin asking you to do in the

middle of that page?

A.       She says, do me one saying PM-1 Entertainment

and that black box at the top, too.

Q.       What did she mean by, do me one saying PM-1

Entertainment?

A.       She wanted me to place it at the top -- in the

black box at the top.

         MR. MCKNETT:     May I approach the witness, Your

Honor?

         THE COURT:     You may.

         BY MR. MCKNETT:




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Q.     Ms. Ali, I'm presenting to you what's been

marked as Defense Exhibit Ali 5?

       THE CLERK:      Yes.

       BY MR. MCKNETT:

Q.     Do you recognize that?

A.     Yes.    That's the fax sheet that I completed for

Ms. Martin.

Q.     Is this the second one that she asked you to do

--

A.     Yes, it is.

Q.     -- in that last conversation?

A.     Yes.

       MR. MCKNETT:      May I publish, Your Honor?

       THE COURT:      Yes, you may.

       BY MR. MCKNETT:

Q.     Ms. Ali, did you have anything to do with

preparing time sheets for Ms. Martin's business?

A.     No.

Q.     Did you ever participate in preparing time

sheets?

A.     No, I did not.

Q.     Did you ever have any telephone conversations

with Larry Nunn about preparing time sheets?

A.     No, I did not.

Q.     Did you ever have any conversations with Larry




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Nunn?

A.      No.

Q.      Telephone conversations?

A.      No.

Q.      Your Honor, are we going to keep going?             I want

to turn back a little bit in the defendants' book,

turn Ms. Ali to page -- excuse me, I'm looking at the

-- I'm looking in the government's book.              It's at Page

408, call B4706.

        Do have that there?

A.      Yes.

Q.      This is a fairly lengthy call.           It's from Ms.

Martin to you.      Your husband answers first; correct?

They have him identified as "Ulysses Ali," but that's

not accurate; is it?

A.      No, it's not.

Q.      Your husband never went by the name "Ulysses

Ali," did he?

A.      No.

Q.      So it should be "Ulysses Garner?"

A.      Yes.

Q.      He picks up the phone, and then you get the

phone from him; is that correct?

A.      That's correct.

Q.      Take a look, if you would, and review this




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conversation and tell me if you know what this

conversation is about, specifically what Ms. Martin is

talking about.

A.     Yes.

Q.     What was Ms. Martin talking about there?

A.     She was talking about some people from

California -- I don't know if they were detectives or

what -- who had come around questioning her about

Steve Brim.

Q.     What were they questioning her about with regard

to Mr. Brim?

       MS. JOHNSTON:       Objection.

       BY MR. MCKNETT:

Q.     If you know.

A.     About his death.

Q.     Why would Ms. Martin say, at the top of Page

409, they here, uh-huh.         I got the card and all.         I

show you -- if you know why she said this, Ms. Martin

said, they here, uh-huh.         I got the card and all.            I

show you when I see you.         I just didn't want to say

anything in front of your husband.

       MS. JOHNSTON:       Objection, as to why Ms. Martin

would say something.

       MR. MCKNETT:      I asked if she knew.

       THE COURT:      Sustained.




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       BY MR. MCKNETT:

Q.     Do you have a reason to form an opinion as to

Ms. Martin would say that to you?

       MS. JOHNSTON:       Objection.

       Her opinion is irrelevant.

       THE COURT:      Sustained.

       BY MR. MCKNETT:

Q.     At the bottom of Page 411, Ms. Martin says, she

-- that's why I called Gene.          I called Lou and them.

I said, you all better beware because, you know, you

never know.     And she continues on a little bit.             What

was Ms- -- if you know, what was Ms. Martin

communicating to you?

A.     That she's given up different people's names to

the detectives that had come to see her.              And when I

eventually arrived over there with my husband, she

explained.

       MS. JOHNSTON:       Objection as to what Ms. Martin

told her.

       THE COURT:      Sustained.

       MR. MCKNETT:      Your Honor, the government has

proposed this conversation as being in furtherance of

the conspiracy.      I think my client should be able to

explain --

       THE COURT:      Not with hearsay statements, no.




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        BY MR. MCKNETT:

Q.      We'll move on, Ms. Ali.

        Ms. Ali, please turn to Page 365 in the

defendants' book.

        MR. MONTEMARANO:       Your Honor?

        MR. MCKNETT:     Thank you, Mr. Montemarano.

        MR. MCKNETT:     This was the one that we talked

about earlier today, and I need to pass these out to

the jury.

        MR. MARTIN:     Your Honor, in light of that, my

client wants to know if we can take a break.               He needs

to --

        THE COURT:     We're only going to go to 4:00,

another 15 minutes.

        MR. MONTEMARANO:       When Mr. McKnett is done with

this, can we be heard at the bench, please?

        MR. MCKNETT:     Finished passing these out?

                     (At the bar of the court.)

        THE COURT:     Yes, sir.

        MR. MONTEMARANO:       With regard to that last

conversation, Mr. McKnett was seeking to have his

client explain, and the government sought to admit it,

and the court has admitted it as a statement between

two coconspirators.       We have one of the coconspirators

on the stand.      That person can testify as to what she




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said but not as to what she understood the alleged

coconspirator to be saying.          They cannot seek to

introduce a statement, propose a meaning for it, and

when the defendant then takes the stand preclude,

under the same idea, the explanation of it by that

person.    She is entitled to explain what she

understood this to mean as much as my client could

explain what she understood Ms. Ali to mean if she

were to take the stand.

         MS. JOHNSTON:     The government's objection was as

to what Ms. Martin told her when she went over to the

house.

         THE COURT:    That's what I was sustaining the

objection to, not the conversation but what she said

when she went over to her house.

         MS. JOHNSTON:     To be admissible under the

coconspirators' exception, it has to come in as a

statement against interest, and it comes in as

coconspirators because it's being part of a conspiracy

admission of one is an admission of all, so that

doesn't come in under these circumstances.

         THE COURT:    I think you misunderstood what I

sustained the objection to.

         MR. MONTEMARANO:      That's entirely possible, Your

Honor.




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        THE COURT:     Mr. McKnett, how much more have you

got to do?

        MR. MCKNETT:     I think I can finish up the

transcripts by 4 o'clock, Your Honor.

        THE COURT:     I mean her direct.

        MR. MCKNETT:     Just the transcripts.         There's

more to go.

        THE COURT:     How much more do you have to go?

        MR. MCKNETT:     I have to go into her arrest, and

I have to go into some of the incidents that the

government says was --

        MS. JOHNSTON:      We are going to object to any

questions concerning her arrest.           We have not taken

any testimony regarding her arrest, and so the

circumstances of her arrest are irrelevant here.

        THE COURT:     The only thing you can get out about

her arrest is the time.

        MR. MCKNETT:     That's what I intend to get           into,

where she was, when she was there, and what happened.

        THE COURT:     You've got to move it along.           You're

really dragging.

        MR. MCKNETT:     Your Honor, the government spent a

month on transcripts, and I've spent an hour and a

half.

        MS. JOHNSTON:      Not only that, Your Honor --




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         THE COURT:     You're dragging it out.

         MS. JOHNSTON:     He's gone over calls where

Sergeant Sakala agreed they were clothing calls and

agreed the calls were about the Las Vegas trip.                I

don't understand why we're going through it.

         MR. MONTEMARANO:        The fax calls were about

faxes.

         MR. MCKNETT:     There is a few more calls, and I

will be done about the calls, but the government spent

a month on this.

         THE COURT:     Can Mr. Goodwin wait until 4

o'clock?

         MR. MONTEMARANO:        I think so.

         THE COURT:     All right.     Well, I'm not going to

go much beyond 4:00.

         MR. MONTEMARANO:        I hope.

         MR. MCKNETT:     I hope not to do that myself, Your

Honor.

                      (Back in open court.)

         MS. JOHNSTON:     Your Honor, may we inquire if Mr.

McKnett is finished with those drug exhibits that were

here?

         MR. MCKNETT:     Yes.

         THE COURT:     Okay.

         MR. MCKNETT:     Your Honor, if I may continue.




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       THE COURT:      You may.

       BY MR. MCKNETT:

Q.     Ms. Ali, we've just passed out call B5726, Page

365 in the defendants' book.          It's a conversation

between yourself and Ms. Martin on May 6, 2004 at

about 3:35 in the afternoon.

       Do you recall where you were at the time you

made this call to Ms. Martin?

A.     Yes.    I was at my girlfriend Renee's house.

Q.     There's a reference to Joyce.           Who was Joyce?

A.     A friend of mine.        No.   In reference to this, it

could either be a friend of mine or the person that I

was at her house.       Renee, her mother's name was Joyce.

Q.     Could you pull the mike a little closer?

A.     Yes.    It could have been Renee's mother who

passed on, her name was Joyce, or it either could have

been a friend of mine named Joyce.

Q.     Then you asked Ms- -- toward the end, you asked

Ms. Martin if she talked to Gillie today and she says,

no.

       MR. MARTIN:      Where are you, counsel?

       BY MR. MCKNETT:

Q.     I'm at Page 366.

       Just before that, you say, I'm going to stop by

before I leave -- after I leave here.             Are you going




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to be there?

        Right?    Do you see all that?

A.      Yes.

Q.      And then the government played a two-line

excerpt, call B5728, on Page 455 in the government's

book.

A.      Say that again?      I'm sorry.

Q.      Page 455 in the government's book, Book 3.              That

call was about three minutes after the one where you

said you were at Joyce's house --

A.      Yes.

Q.      -- and you said you were going to stop by.              The

excerpt reads that you say hello.            I guess Ms. Martin

is calling you.      She says, uh-huh.        Did you want

tickets when you came out here?

        Do you remember that?

A.      I don't remember.       I see what's in the

transcript.

Q.      Do you remember what you said?

A.      No.    I didn't say anything.        I don't remember

saying anything.      I was just stopping by to see Ms.

Martin.    It was on the way home.

Q.      Do you remember if you actually stopped by there

and picked up any drugs that day?

A.      I don't recall.




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Q.      Government book Page 497, call B603, a May 11,

call from you to Ms. Martin at about 4:35.              You say on

Page 497, I'm going to come by see you this evening.

Ms. Martin says, okay.        Then there's some more talk

about food and such, Ms. Martin's son.             Then you say

-- on Page 498, you say, all right.            Well, one this

time.     What he got good over there?         He still bringing

clothes?     Ms. Martin asks who, Kevin?

        Do you recall what you were communicating to Ms.

Martin in that conversation?

A.      If I said "one," I was probably speaking of a

purchase of a 50, a half a gram, which is $50 from Ms.

Martin.

Q.      Call A1670 in the government book, on Page 525.

This is the May 16 call at about 5:50 in the evening.

        Do you recall what day of the week May 16 was?

A.      Yes, I do.     I'll just make sure.        Sunday.

Q.      This is a call in which Ms. Martin says she

wants you to assist her in taking something to the

school; correct?

A.      That's correct.

Q.      I'll come back to this incident.

        In the government book, Page 563, call B7224, at

the bottom of the page.

A.      What page is that?




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Q.       563.    At the bottom, Ms. Martin says, I don't

even want to stress that issue with girlfriend

upstairs.

         Do you know what Ms. Martin was communicating to

you?

A.       Yeah.    She was concerned about people talking in

the neighborhood.       And here again, I was asking

questions, did you say anything to Jackie?              And she

says no, she didn't want to stress with her because --

well, I know she didn't want to bring problems -- more

problems go into Jackie's home.

Q.       You're talking about the neighborhood.            Is that

in reference in the middle of the page, you haven't

heard anything about the lady next door or anything?

A.       That's correct.

Q.       And later you say, they didn't have -- you don't

know about the meeting or anything?

A.       That's correct.     They were supposed to have a

neighborhood meeting.

Q.       That was about -- from previous testimony, that

was about concerns about foot traffic in and out of

Ms. Martin's house?

A.       That's correct.

Q.       Page 578 in the government's book, May 21 call,

B7385.    Ms. Martin says to Ms. Dobie, LaNora is




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picking me up.      We going out to Ruth's and eat crabs.

I'm not gonna be here now.

       Then the next call, Page 579, call B7396, same

day, at 5:30, about an hour and a half after the

previous call.      Ms. Martin says to Ms. Dobie, I been

out of here.     LaNora just brought me back, because we

getting crabs to eat this evening.

       Do you know what day of the week May 21st is?

A.     Friday.

Q.     Where would you have been around 4:06 in the

afternoon on a Friday, May 21st?

A.     Either at a meeting, or at the after-care

program.

Q.     So you would not have been going out with Ms.

Martin to eat crabs.

A.     Not during that time.

Q.     In defense book, call B733, on Page 387, do you

see that?

A.     Yes.

Q.     This is a call on May 25 at 4:23 in the

afternoon.     There's a reference -- you say to Ms.

Martin about 2/3 of the way down the page, Ulysses has

something from the -- you say, that's good tonight if

I can get you to do it for me.           Ulysses has something

from the IRS at the post office that's certified.




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       What were you telling Ms. Martin?

A.     That there was a certified letter at the post

office on Holbrook or started at Langley Park, and

because after hours -- late hours that I was not able

to pick it up, and I was asking Ms. Martin if I left

Ulysses' ID and a letter, would she pick the certified

letter from the IRS up for us.

Q.     Did Ms. Martin agree to do that?

A.     Yes, she did.

Q.     You say later in this conversation, I'll

probably drop that by tonight.           What -- that's on Page

389.

       What are you referring to there?

A.     Dropping by the identification and the letter

signed by Ulysses.

Q.     Why couldn't Mr. Garner go get the letter?

A.     Because we both were at work, and the post

office closed, like, between the hours of 5:00 and

5:30, and we weren't able to get it, and we wanted to

get it to see what this certified letter was in

reference to.      We knew it was from the IRS but wanted

to make sure we had the contents of the letter.

Q.     If you turn to the government's book, Page 599,

please.    That's a call the next day, May 26, B7815.

It's at 12:19 in the afternoon.           Do you see that?




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A.     Yes, I do.

Q.     At the top of that conversation, the

government's extracted portion, you say, good.               Good.

Did -- were you able to get -- Ms. Martin interrupts,

says, yeah, I have it "unintelligible" yeah I have it.

A.     I'm sorry, I'm on the wrong page.

Q.     Page 599.

A.     In the government's book or defendants'?

Q.     Government's book.

A.     599?    Call B7815?

Q.     Yes.

A.     Oh, good, good, good.         Yes.    I'm sorry.

Q.     Do you see that?

A.     Uh-huh.

Q.     What were you and Ms. Martin talking about when

you said, were you able to get it and she says, yeah,

I have it.     Yeah, I have it.

A.     I was speaking in reference to the IRS certified

letter at the post office, and she was letting me know

that she had it.

Q.     Were you talking about drugs?

A.     No, I wasn't.

Q.     Were you asking Ms. Martin if she had just

gotten a new supply of drugs?

A.     No.




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Q.     Were you indicating to Ms. Martin that you

wanted to get drugs?

A.     No.

Q.     At the bottom of that page, Ms. Martin says,

okay, now, look.      I may not be here, but I'm going to

leave it.     If I leave if, I leave out for y'all get

here, I'll leave it with Jackie.

       What was Ms. Martin telling you?

A.     That she was going to leave the letter --

certified letter with Jackie.

Q.     Was she saying that she was going to leave drugs

with Jackie for you?

A.     No.    That wasn't the arrangement we made.

Q.     Did you -- did Ms. Martin ever leave drugs with

Jackie for you to pick up?

A.     No, she did not.

Q.     Did she ever leave drugs with anyone else?

A.     No, she did not.

Q.     Ms. Martin, we're almost there.            Ms. Ali, we're

almost there.      Ms. Martin, too, we're almost there.

       Call B7757 in the defendants' book, at Page 391.

This is a call in which you're talking to Gill

Williams on May 25, '04 at 7:57 in the evening.                Do

you see that?

A.     Yes.




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Q.      You're talking about $75.         Tickets.     You say you

got tickets.     He says he was going to call and get you

some.   You said, you get me some 75 top of the line,

I'll sell my tickets at the door.            You say, I got

tickets, and so forth.        It goes on for a while.

        Were you talking about drugs?

A.      No, I wasn't.

Q.      What kind of tickets were you talking about?

A.      Tickets to the Essence Music Festival in New

Orleans, held at the Super Dome.

Q.      Did you attend that festival?

A.      Yes, I did.

Q.      When was that?

A.      July 2004.     July 4th weekend, 2004.

Q.      That was after you were released from custody,

as we heard yesterday?

A.      Yes.

Q.      In the government's book, Page 610.            This is

call B8064.     It took place on May 28, which is three

days before you were arrested, at 9 o'clock at night.

The call is primarily between Mr. Whiting and Ms.

Martin, but you answered the phone.

        Do you remember that?

A.      Yes.

Q.      After you handed the phone to Mr. Whiting, did




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you overhear any of the conversation -- excuse me,

handed the phone over to Ms. Martin, did you hear any

of the conversation?

A.       No.

Q.       What did you do?

A.       I gave the phone to Ms. Martin.

Q.       Then where did you go?

A.       Could have been talking to my husband if there's

anybody else there, or gone upstairs and speak to

Jackie.

Q.       Finally -- I'm sure we're all glad to hear that

word -- B8110 in the government's book, at Page 612.

This is a call on May 29, 2004 at 11:05 in the

morning.       Do you remember what day of the week that

was?

A.       Call B8110?

Q.       Yes.    Page 612 of the government's book.

A.       On a Saturday.

Q.       So on a Saturday morning, you're calling Ms.

Martin; there's some talk about jerk chicken and food

and food in the refrigerator and Mr. Martin eating the

food that Ms. Martin was looking for.             At the top of

Page 613, you say to Ms. Martin, but I need to another

dress.     Okay.    Ms. Martin says, okay.        You say, okay,

yeah.     So, with the ties for, and then you're




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interrupted and Ms. Martin interrupts you by saying,

hey, I've been to school this morning already.               I've

been to school this morning at 6o'clock.              And you say,

were you?

       When I talked to Sergeant Sakala about it, I

asked him if it was possible that you had not finished

your comment when you said, but I need to another

dress, before Ms. Martin said, okay.            It's clear that

when you say so with the ties for her that she

interrupted you.

       What were you telling Ms. Martin in that

conversation?

A.     That I needed another sundress, another dress.

As I told you, she had already given me one dress, a

early birthday gift, and I wanted another dress with

the ties that tied around the neck.

Q.     How do they tie?

A.     Around the neck.

Q.     Similar to the dresses that you were talking

about before you went on your cruise?

A.     That's correct.

Q.     Were you telling Ms. Martin that you needed more

drugs when you said "another dress?"

A.     No.

Q.     When you said, so with the ties for, were you




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telling Ms. Martin that you wanted her to cook you

some crack?

A.       No.

Q.       Did this conversation have anything to do with

drugs?

A.       No, it did not.

         MR. MCKNETT:     Ms. Ali, I think this would be a

good place.

         THE COURT:     That is perfect.

         All right.     Ladies and gentlemen, we'll be in

recess until Tuesday morning at 9:30.             Please

remember, as we get near the end of the trial, it's

especially important that you not begin to talk about

this with anybody or amongst yourselves until the

deliberations actually begin.          We will see you Tuesday

morning.

                      (Jury excused at 4:06 p.m.)




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                           CERTIFICATE



       I, Tracy Rae Dunlap, RPR, CRR, an Official Court

Reporter for the United States District Court of

Maryland, do hereby certify that I reported, by

machine shorthand, in my official capacity, the

proceedings had and testimony adduced upon the Jury

Trial Proceedings in the case of UNITED STATES OF

AMERICA versus PAULETTE MARTIN, et al, Criminal Action

Number RWT-04-0235 on August 4, 2006.



       I further certify that the foregoing 284 pages

constitute the official transcript of said

proceedings, as taken from my machine shorthand notes,

of said proceedings.



       In witness whereof, I have hereto subscribed my

name, this 24th day of April 2008.




                           __________________________

                           TRACY RAE DUNLAP, RPR, CRR
                           OFFICIAL COURT REPORTER




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